Case 1:24-cv-10049-LJL   Document 142-4   Filed 03/19/25   Page 1 of 119




                 EXHIBIT A-3
      CaseCase
          1:24-cv-10049-LJL
               1:25-cv-00163       Document
                                   Document142-4
                                            1 FiledFiled
                                                     02/04/25
                                                         03/19/25Page
                                                                    Page
                                                                      1 of210
                                                                            of 119




                        UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

 JED WALLACE,                               §
 STREET RELATIONS, INC.                     §
                                            §
        Plaintiffs,                         §
                                            §
 v.                                         §   CIVIL ACTION NO. 25-163
                                            §
 BLAKE LIVELY,                              §
                                            §
        Defendant.                          §

 COMPLAINT FOR DECLARATORY JUDGMENT AND DEFAMATION


       TO THE HONORABLE COURT:
       1.     Jed Wallace (“Wallace”) and Street Relations, Inc. (“Street”) (collec-
tively “Plaintiffs”) bring this action for Declaratory Judgment and Defamation
against Blake Lively (“Lively” or “Defendant”) and would show as follows:


                                   I.   THE PARTIES
       2.     Wallace is a citizen of Texas and resides within the Austin Division of

the Western District. He owns a company, Street Relations, Inc. (“Street”), which
is a crisis mitigation firm engaged by clients to help navigate real-life human crisis,
threats, trauma and mental health concerns. It helps primarily families and individ-

uals when they find themselves unjustly attacked, extorted, doxed, swatted,
scammed or need help navigating through the most frightening situations.



Jed Wallace’s Original Complaint                                            Page 1 of 10
    CaseCase
        1:24-cv-10049-LJL
             1:25-cv-00163         Document
                                   Document142-4
                                            1 FiledFiled
                                                     02/04/25
                                                         03/19/25Page
                                                                    Page
                                                                      2 of310
                                                                            of 119




       3.     Street is a corporation organized under the laws of the State of Califor-
nia with its principal place of business in Texas and is therefore a citizen of a state

other than New York.
       4.     Lively is an actress and entrepreneur and is a citizen of New York.


                         II.       FACTUAL BACKGROUND
       5.     On December 20, 2024, Lively filed a Complaint of Employment Dis-
crimination Before the State of California Civil Rights Department (“CRD Com-

plaint”). The CRD named Lively as Complainant and Wallace and Street, among
others, as Respondents and alleged that they “engaged in a variety of conduct in vi-
olation of California Government Code section 12940 (“the FEHA”) and Title VII
of the Civil Rights Act of 1964 (“Title VII”). The CRD Complaint went on to allege
that Plaintiffs’ “conduct includes: sexual harassment, retaliation; failure to investi-
gate, prevent, and/or remedy harassment and aiding and abetting harassment and
retaliation.” Exhibit 1 (CRD Complaint) attached hereto and incorporated herein.
       6.     The CRD Complaint also asked (politely) to “please see attached com-
plaint for specific details”. The attached complaint (which we attach and incorpo-
rate as Exhibit 2) has been described as a “precursor to a lawsuit” (“Precursor”)
although it had all the indicia of a stand-alone legal complaint. Indeed, some media
subsequently published the Precursor under the headline: “Read the Complaint.”
The Precursor named Wallace and Street as Defendants and sought damages for (1)
“Sexual Harassment” under California and Federal Law; (2) Retaliation under Cal-




Jed Wallace’s Original Complaint                                            Page 2 of 10
    CaseCase
        1:24-cv-10049-LJL
             1:25-cv-00163         Document
                                   Document142-4
                                            1 FiledFiled
                                                     02/04/25
                                                         03/19/25Page
                                                                    Page
                                                                      3 of410
                                                                            of 119




ifornia and Federal Law; (3) Failure to Investigate, Prevent, and/or remedy harass-
ment under California law; (4) Retaliation under the California Labor Code; (5) Aid-

ing and Abetting Harassment and Retaliation under California Law; (6) Breach of
Contract; (7) Intentional Infliction of Emotional Distress; (8) Negligence; (9) False
Light Invasion of Privacy under the California Constitution and (10) Interference
with Prospective Economic Advantage.
       7.     On the same day the CRD Complaint with the Precursor attached was
filed (December 20, 2024) the Civil Rights Department issued Lively a “Right to

Sue” letter. See Exhibit 3 attached hereto and incorporated herein.
       8.     Lively or her agents provided the Precursor to various media entities for
out-of-court republication and, because of the allegations contained therein, it made
“headlines around the world” according to Elle Magazine which linked to the Pre-
cursor document as did many other media. See Exhibit 4 attached hereto and incor-
porated herein. The Precursor was followed on or about December 31, 2024, by a
“formal suit” (“Formal Lawsuit”) in the United States District Court for the South-
ern District of New York.
       9.     Wallace and Street were widely reported to be defendants in the Formal
Lawsuit (See Exhibit 4) although they were not, the confusion having been sown by
the Precursor. As Lively later admitted she knew of no facts to support the allega-
tions against Wallace or Street. Indeed, having been the one harassed she knew the
exact opposite. Neither Wallace nor Street had anything to do with the alleged sexual
harassment, retaliation, failure to investigate or aiding and abetting the alleged har-
assment or alleged retaliation. Neither could they have breached a contract with


Jed Wallace’s Original Complaint                                            Page 3 of 10
    CaseCase
        1:24-cv-10049-LJL
             1:25-cv-00163         Document
                                   Document142-4
                                            1 FiledFiled
                                                     02/04/25
                                                         03/19/25Page
                                                                    Page
                                                                      4 of510
                                                                            of 119




Lively because no such contract exists. And they were not involved in any of the
events depicted in either the Precursor (where they were named as defendants) or

the Formal Lawsuit (where they were not named) which could give rise to a duty
toward Defendant (Negligence) or any other tortious conduct (False Light, Inten-
tional Infliction of Emotional Distress or Interference With Prospective Economic
Advantage).
       10.    Then, on January 21, 2025, Lively filed her “Verified Petition For
Rule 202 Deposition” (“202 Petition”) in Hays County, Texas against Wallace

(but not Street) alleging “on information and belief” that Wallace was a “subcon-
tractor” to a company called TAG “to assist them (sic) in their (sic) unlawful retal-
iatory “social combat” campaign against Lively.” The 202 Petition conceded that
Lively has no facts supporting the allegations she made against Wallace and Street in
the Precursor which “made headlines around the world” as she now, apparently un-
der the threat of sanctions from one of Plaintiffs’ attorneys, sought to “investigate
the scope of Mr. Wallace’s conduct.”
       11.    According to the Hays County online court records, Lively non-suited
her 202 Petition today.
       12.    The 202 Petition was a transparent attempt to chill Plaintiffs’ free
speech rights and would have been fodder for a motion to dismiss under the Texas
Citizens Participation Act, Chapter 27, Texas Civil Practice and Remedies Code
(Anti-SLAPP statute) whose purpose is to encourage and safeguard the rights of per-
sons to speak freely.




Jed Wallace’s Original Complaint                                            Page 4 of 10
    CaseCase
        1:24-cv-10049-LJL
             1:25-cv-00163         Document
                                   Document142-4
                                            1 FiledFiled
                                                     02/04/25
                                                         03/19/25Page
                                                                    Page
                                                                      5 of610
                                                                            of 119




       13.    The statements of fact, actual or implied, of and concerning Plaintiffs
in the Precursor and CRD Complaint are false, defamatory, made with either negli-

gence or “actual malice” and have caused millions of dollars in reputational harm
including both general and special damages through emotional harm (Wallace), ac-
tual damages and real and projected loss of business (Wallace and Street) in an
amount that exceeds $1,000,000.


                       III.   JURISDICTION AND VENUE

       14.    This Court has jurisdiction under 28 U.S.C. § 1332 because the matter
exceeds the sum or value of $75,000, exclusive of interest and costs, and Wallace
and Street as plaintiffs are not citizens of the same state as the sole defendant, Lively.
       15.    This Court may exercise personal jurisdiction over Lively because she
has availed herself of the forum by filing a Rule 202 petition in Texas on the subject
matter of this suit. See PaineWebber Inc. v. Chase Manhattan Priv. Bank (Switzerland),
260 F.3d 453, 459 (5th Cir. 2001) (noting the “well-established rule that parties who
choose to litigate actively on the merits thereby surrender any jurisdictional objec-
tions.”); see also Halliburton Energy Servs., Inc. v. Ironshore Specialty Ins. Co., 921
F.3d 522, 541 (5th Cir. 2019) (holding there was no personal jurisdiction because
defendant “never initiated an original action in Texas, which would have subjected
it to personal jurisdiction”). In addition, her defamatory statements were aimed at
Texas where both Plaintiffs reside and they undoubtably caused harm in Texas.




Jed Wallace’s Original Complaint                                              Page 5 of 10
    CaseCase
        1:24-cv-10049-LJL
             1:25-cv-00163         Document
                                   Document142-4
                                            1 FiledFiled
                                                     02/04/25
                                                         03/19/25Page
                                                                    Page
                                                                      6 of710
                                                                            of 119




       16.    Venue is proper because, as Lively alleges in her Rule 202 petition, “a
substantial part of the underlying events that would give rise to the claims being in-

vestigated occurred in Hays County,” part of the Austin Division of the Western
District of Texas. See In re Blake Lively, Cause No. 2025-25-0200-DC (Hays County
D. Ct. Jan. 21, 2025), at ¶36. In addition, a Defamation Plaintiff is accorded great
deference in his choice of forum especially when it is his home venue where the def-
amation is most keenly felt. That meets the standard for venue under the venue stat-
ute. See 28 U.S.C. § 1391(b)(2).


                             FIRST CAUSE OF ACTION
                          (DECLARATORY JUDGMENT ACT)

       17.    The Declaratory Judgment Act allows a Court to conclusively adjudi-

cate and “declare the rights and other legal relations of any interested party seeking
such declaration.” 28 U.S.C. § 2201.
       18.    The purpose of the Declaratory Judgment Act is “to afford one threat-

ened with liability an early adjudication without waiting until his adversary should
see fit to begin an action after the damage has accrued.” Rowan Companies, Inc. v.
Griffin, 876 F.2d 26, 28 (5th Cir. 1989) (quotes omitted). The Fifth Circuit has long

recognized the validity of such anticipatory declaratory judgment actions. See, e.g.,
Kaspar Wire Works, Inc. v. Leco Eng’g & Mach., Inc., 575 F.2d 530, 537 (5th Cir. 1978)
(“[T]he plaintiff in an anticipatory declaratory proceeding is seeking the adjudica-
tion of an issue that would arise in a conventional proceeding brought by the defend-
ant.”). And the Fifth Circuit continues to recognize the issue-preclusive effect of


Jed Wallace’s Original Complaint                                            Page 6 of 10
    CaseCase
        1:24-cv-10049-LJL
             1:25-cv-00163         Document
                                   Document142-4
                                            1 FiledFiled
                                                     02/04/25
                                                         03/19/25Page
                                                                    Page
                                                                      7 of810
                                                                            of 119




such anticipatory declaratory judgment suits. See, e.g., ASARCO, L.L.C. v. Montana
Res., Inc., 858 F.3d 949, 955 (5th Cir. 2017).

       19.    As explained above, Ms. Lively has alleged ten different causes of action
against Wallace and/or Street although she now admits that the CRD Complaint and
the Precursor—which caused great harm to Plaintiffs’ business by way of lost busi-
ness, exceeding the threshold monetary limits necessary for diversity jurisdiction, as
it was reported around the world—was without factual support even though she
now, belatedly, attempts to obtain some through her 202 Petition. See In re Blake

Lively, supra, at ¶38.
       20.    This claim is justiciable and the court has authority to grant the relief
Plaintiffs seek which is that: (i) they did not breach any contract with Defendant for
the reason that, among others, no such contract exists; (ii) they did not engage in any
acts of harassment, retaliation, failure to investigate, prevent and/or remedy harass-
ment or aid and abet the alleged harassment or retaliation for the reason, among oth-
ers, that they were not even present or otherwise involved in the events giving rise
to the alleged harassment nor did they have contemporaneous knowledge of the
alleged events of harassment or retaliation; (iii) they did not have a duty to Defend-
ant which would give rise to a claim for negligence and (iv) they did not engage in
any tortious conduct toward Defendant.
       21.    Plaintiffs seek a declaration pursuant to 28 U.S.C. Section 2201.




Jed Wallace’s Original Complaint                                            Page 7 of 10
    CaseCase
        1:24-cv-10049-LJL
             1:25-cv-00163         Document
                                   Document142-4
                                            1 FiledFiled
                                                     02/04/25
                                                         03/19/25Page
                                                                    Page
                                                                      8 of910
                                                                            of 119




                          SECOND CAUSE OF ACTION
                                      (Defamation)

        21. The Precursor and CRD Complaint named Wallace and Street as Defend-
ants or Respondents and falsely stated that they had engaged in ten illegal acts under
state and federal law. Neither the Precursor nor the CRD Complaint were privileged
because, among other reasons, they were provided by the Defendant or her agents to
third parties including many media outlets. Defendant knew or should have reason-
ably anticipated, indeed she hoped, that these allegations would be republished

“around the world.” As a result, Defendant is responsible for Republication Dam-
ages.
        22. The statements of fact of and concerning Plaintiffs in the Precursor are
false and defamatory (“Statements”). They are made either negligently (if Plaintiffs
are private figures which they are) or with “actual malice” (if Plaintiffs are public
figures which they are not). The Statements have caused (both by the original publi-
cations and the republications around the world) great harm to Plaintiffs and such
damages are presumed (if some or all of the Statements are defamatory per se) or per
quod (if not per se) and, in any event, exceed $1,000,000. In considering whether the
$75,000 jurisdictional amount has been reached the Court can take notice that many
recent awards (Freeman and Moss v Giuliani, $148,000,000) or settlements (Do-
minion/Fox, $787,000,000; Trump/ABC $15,000,000) far exceed that amount.
        23. Although Lively is a public figure Wallace and Street are not. Thus, Plain-
tiffs need prove only negligence to establish liability. However, Plaintiffs also seek




Jed Wallace’s Original Complaint                                            Page 8 of 10
    Case Case
         1:24-cv-10049-LJL
               1:25-cv-00163 Document
                              Document142-4
                                       1 Filed
                                             Filed
                                                02/04/25
                                                   03/19/25Page
                                                             Page
                                                                9 of10
                                                                     10of 119




punitive damages in an amount of not less than $6,000,000 and to satisfy the eviden-
tiary burden in establishing the right to such damages they must demonstrate “actual

malice” that is that Lively either knew the allegations were false at the time she made
them or she acted in reckless disregard of the truth that is she had a high degree of
awareness of falsity and in fact entertained serious doubt about their truth.
       22.    She acted with “actual malice” because she was the one claiming to
have been harassed and retaliated against. She was the one who claimed she had a
contract with Plaintiffs and yet there is no such contract and Plaintiffs were nowhere

near where the alleged harassment/retaliation took place. Lively knew this and it is
not the case that she was harassed by some masked stranger who turned out to be the
Plaintiffs. She knew (and knows) that they were not the harassers/retaliators but
made these allegations anyway, leaked them to the press hoping they would be widely
republished (which they were) but then excluded Plaintiffs from the Formal Lawsuit
(knowing they had nothing to do with the events depicted therein).


                                   IV.    Jury Demand
       23.    Plaintiffs, under Federal Rule of Civil Procedure 38, demand a jury.


                                     V.    PRAYER
       24.    Plaintiffs, therefore, respectfully request that this Court to enter a final
declaratory judgment under 28 U.S.C. § 2201 as requested, supra, and award dam-
ages for Plaintiffs loss of reputation and for further relief at law or in equity as to
which Plaintiffs may be entitled.


Jed Wallace’s Original Complaint                                              Page 9 of 10
    CaseCase
        1:24-cv-10049-LJL
             1:25-cv-00163         Document
                                   Document142-4
                                            1 FiledFiled
                                                     02/04/25
                                                         03/19/25Page
                                                                    Page
                                                                      10 of
                                                                          1110
                                                                             of 119




Dated: February 4, 2025                    Respectfully submitted,


                                                 JACKSON WALKER LLP


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Jed Wallace’s Original Complaint                                           Page 10 of 10
CaseCase
    1:24-cv-10049-LJL
         1:25-cv-00163 Document
                        Document142-4
                                 1-1 Filed
                                      Filed02/04/25
                                            03/19/25 Page
                                                      Page1 12
                                                            of 4of 119




       Exhibit 1
    (CRD Complaint)
           CaseCase
               1:24-cv-10049-LJL
                    1:25-cv-00163 Document
                                   Document142-4
                                            1-1 Filed
                                                 Filed02/04/25
                                                       03/19/25 Page
                                                                 Page2 13
                                                                       of 4of 119




 1                       COMPLAINT OF EMPLOYMENT DISCRIMINATION
                             BEFORE THE STATE OF CALIFORNIA
 2                                        Civil Rights Department
                       Under the California Fair Employment and Housing Act
 3
                                    (Gov. Code, § 12900 et seq.)
 4
     In the Matter of the Complaint of
 5    Blake Lively                                                     CRD No. 202412-27269003

 6                                    Complainant,
     vs.
 7
      Wayfarer Studios LLC
 8
      ,
 9
      Justin Baldoni
10    ,

11    Jamey Heath
      ,
12
      Steve Sarowitz
13    ,
14    Melissa Nathan
      ,
15
      The Agency Group PR LLC
16
      ,
17
      Jennifer Abel
18    ,

19    RWA Communications LLC
      ,
20
      Jed Wallace
21    ,

22    Street Relations Inc.
      ,
23
                                      Respondents
24
25
26                                                   -1-
                                     Complaint – CRD No. 202412-27269003
27
     Date Filed: December 20, 2024
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         CaseCase
             1:24-cv-10049-LJL
                  1:25-cv-00163 Document
                                 Document142-4
                                          1-1 Filed
                                               Filed02/04/25
                                                     03/19/25 Page
                                                               Page3 14
                                                                     of 4of 119




 1
     1. Respondent Wayfarer Studios LLC is an employer subject to suit under the California Fair
 2   Employment and Housing Act (FEHA) (Gov. Code, § 12900 et seq.).

 3   2.Complainant is naming Justin Baldoni individual as Co-Respondent(s).
     Complainant is naming Jamey Heath individual as Co-Respondent(s).
 4   Complainant is naming Steve Sarowitz individual as Co-Respondent(s).
     Complainant is naming Melissa Nathan individual as Co-Respondent(s).
 5   Complainant is naming The Agency Group PR LLC business as Co-Respondent(s).
 6   Complainant is naming Jennifer Abel individual as Co-Respondent(s).
     Complainant is naming RWA Communications LLC business as Co-Respondent(s).
 7   Complainant is naming Jed Wallace individual as Co-Respondent(s).
     Complainant is naming Street Relations Inc. business as Co-Respondent(s).
 8
     3. Complainant Blake Lively, resides in the City of , State of .
 9
10 4. Complainant alleges that on or about December 20, 2024, respondent took the
   following adverse actions:
11
     Complainant was harassed because of complainant's sex/gender, sexual harassment-
12 hostile environment.
13 Complainant experienced retaliation because complainant reported or resisted any form
14 of discrimination or harassment and as a result was other adverse action(s).
15
     Additional Complaint Details: Complainant Blake Lively alleges that Respondents
16   Wayfarer Studios LLC, Justin Baldoni, Jamey Heath, Steve Sarowitz, Melissa Nathan, the
     Agency Group PR LLC, Jennifer Abel, RWA Communications LLC, Jed Wallace, and/or
17   Street Relations Inc. engaged in a variety of conduct in violation of California Government
     Code section 12940 (the "FEHA") and Title VII of the Civil Rights Act of 1964 (“Title VII”).
18   The conduct includes: sexual harassment; retaliation; failure to investigate, prevent, and/or
     remedy harassment; and aiding and abetting harassment and retaliation. Please see
19   attached complaint for specific details.

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                                     Complaint – CRD No. 202412-27269003
27
     Date Filed: December 20, 2024
28
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         CaseCase
             1:24-cv-10049-LJL
                  1:25-cv-00163 Document
                                 Document142-4
                                          1-1 Filed
                                               Filed02/04/25
                                                     03/19/25 Page
                                                               Page4 15
                                                                     of 4of 119




 1 VERIFICATION
 2 I, Esra Hudson, am the Attorney in the above-entitled complaint. I have read the
   foregoing complaint and know the contents thereof. The matters alleged are based
 3
   on information and belief, which I believe to be true.
 4
   On December 20, 2024, I declare under penalty of perjury under the laws of the State
 5 of California that the foregoing is true and correct.
 6                                                                            Los Angeles, CA
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                                     Complaint – CRD No. 202412-27269003
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     Date Filed: December 20, 2024
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CaseCase
     1:24-cv-10049-LJL
         1:25-cv-00163   Document
                         Document 142-4
                                  1-2 Filed
                                         Filed
                                             02/04/25
                                               03/19/25 Page
                                                          Page
                                                             1 of
                                                               1681
                                                                  of 119




                Exhibit 2
               (Precursor)
             CaseCase
                  1:24-cv-10049-LJL
                      1:25-cv-00163   Document
                                      Document 142-4
                                               1-2 Filed
                                                      Filed
                                                          02/04/25
                                                            03/19/25 Page
                                                                       Page
                                                                          2 of
                                                                            1781
                                                                               of 119




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12
     Attorneys for Plaintiff
13   BLAKE LIVELY

14                                                   COMPLAINT FOR DAMAGES FOR:
15
     BLAKE LIVELY, an individual,                    (1) SEXUAL HARASSMENT (CAL. GOV.
16                                                       CODE, § 12940/fITLE VII OF THE
                        Plaintiff,                       CIVIL RIGHTS ACT OF 1964 ("TITLE
17                                                       VII"));
            V.                                       (2) RETALIATION (CAL. GOV. CODE,§
18                                                       12940/fITLE VII);
     WAYFARER STUDIOS LLC, a California              (3) FAILURE TO INVESTIGATE,
19   Limited Liability Company, JUSTIN BALDON!,           PREVENT, AND/OR REMEDY
     an individual, JAMEY HEATH, an individual,           HARASSMENT (CAL. GOV. CODE,§
20   STEVE SAROWITZ, an individual, MELISSA               12940);
21
     NATHAN, an individual, THE AGENCY GROUP         (4) RETALIATION (CAL. LABOR CODE,
     PR LLC, a Delaware Limited Liability Company,        § 1102.5);
22   JENNIFER ABEL, an individual, RWA               (5) AIDING AND ABETTING
     COMMUNICATIONS, LLC, a California Limited            HARASSMENT AND RETALIATION
23   Liability Company, JED WALLACE, an                   (CAL. GOV. CODE, § 12940);
     individual, STREET RELATIONS INC., a            (6) BREACH OF CONTRACT;
24   California Corporation, and DOES 1-100,         (7) INTENTIONAL INFLICTION OF
25                                                        EMOTIONAL DISTRESS;
                        Defendants.
                                                     (8) NEGLIGENCE;
26                                                   (9) FALSE LIGHT INVASION OF
27
                                                          PRIVACY (CAL. CONST., ART. I,§ 1);
                                                     (10) INTERFERENCE WITH
28                                                        PROSPECTIVE ECONOMIC
                                                          ADVANTAGE
             CaseCase
                  1:24-cv-10049-LJL
                      1:25-cv-00163              Document
                                                 Document 142-4
                                                          1-2 Filed
                                                                 Filed
                                                                     02/04/25
                                                                       03/19/25 Page
                                                                                  Page
                                                                                     3 of
                                                                                       1881
                                                                                          of 119



                                                      INTRODUCTION

 2                 1.       On January 4, 2024, prior to resuming filming of " It Ends With Us" (the "Film")

 3   following guild strikes, an "all hands" meeting was convened to address the hostile work environment that

 4   had nearly derailed production of the Film. Attendees of the meeting included: (1) Justin Baldoni, who is

 5   the co-chairman and co-founder of Wayfarer Studios (the owner of the Film), as well as the Director,

 6   Executive Producer, and actor in the lead role of Ryle Kincaid; (2) Jamey Heath, the Chief Executive

 7   Officer of Wayfarer and Producer of the Film; (3) Ange Gianetti, the Film's representative for its

 8   distributor Sony Pictures Entertainment; (4) Alex Saks, a producer on the Film; (5) Todd Black, a producer

 9   on the film; and (6) Blake Lively, who played the role of Lily Bloom in the Film. Ms. Lively also had the

10   agreed-upon right to have a representative present. She chose her husband, given that the meeting was

11   about repeated sexual harassment and other disturbing behavior by Mr. Baldoni and Mr. Heath.

12                 2.       As discussed in detail below, Ms. Lively was forced to address concerns about Mr.

13   Baldoni and Mr. Heath's misconduct with them directly, and began doing so months before filming began.

14   The concerns she raised were not only for herself, but for the other female cast and crew, some of whom

15   had also spoken up. The January 4 meeting occurred only after Wayfarer had rebuffed Ms. Lively's efforts

16   repeatedly.
17                 3.       During the January 4 meeting, the parties discussed in detail the inappropriate

18   conduct that Ms. Lively, her employees and other cast and crew experienced at the hands of Mr. Baldoni
19   and Mr. Heath. After the list below was reviewed and discussed in its entirety, all parties present agreed
20   that the outlined conduct would cease:

21                       1. No mo,e stiowlng nude videos or Images of women, ,nclud g producer's wile, to BL
                            and/or her employ&es.
                         2. No mo,e mentton of Mr Baldorn's o, Mr Heath's previous "pornography addiction· or
22
                            BL's lack of pornography consumption to BL or to o!J\er crew members.
                         3. No mo,e dlscuss,ons to BL and/or her employees about personal experiences with
23                          sex, including as it relates to spouses or others.
                         4. No more mentton to BL or her employees of pe,sonal times that physical consent
                            was not given in sexual acts, as either the abuser or the abused.
24                       5. No more descriptions of their own genitalia to BL
                         6. No more jokes or disparaging convnents to be made to BL and/or her employees
25                          about HR complaints W.ryf'aler has 81ready reoeiwd on set, or about "missing the
                            HR meet111g."
                         7. No mo<e 111qulri8S by Mr BaldM to BL tralne, without her knowledge or consent to
26                          disclose her we,ght.
                         8. No mo<8 mentJOn by Mr Baldon1 of him ·speaking to• BL's dead father.
                         9. No mo<e p,esSAng by Mr Baldoni fo, BL to dlsclose her rehgtOUs bebefs. or
27                          unsoi.cited stianng of his.
                         10.lf BL and/or her Infant ,s exposed to COVID again. BL must be pro11Ided with
28                          lmmechate notJce as soon as Wayfarer or any other producers become aware of such
                            e)(J)OS!A'&, without her needing to uncover days later het'seff.
                         11.An intimacy coord1r111tor must be present at all !Jmes when BL is on set in soenes
                            wrth Mr. Baldon,.

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                                                                                        Page
                                                                                           4 of
                                                                                             1981
                                                                                                of 119




                            12.No more personar. phys,cal touching ol, or sexual comments by, Mr Baldoni or Mr
                              Heath lo be tolerated by BL and/or any of her em~ees, as well as any female cast
 2                            or crew without their axprgs consent.
                            13.No more improvising of kiSS41'1g. All lntrnate touch must be choreographed in
                              advance w rth BL alld an intimacy coordinator. No boting or sucking of lip without B L
 3
                       11     consent And all intimate on camera touch and conversations must be " "' character",
                              not spol<en from Mr Baldon! to BL pefSOnally.
 4                          14.BL to have a representative on set al all limes alld with a monitor during scenes
                              Involving nud ty, sexual activity, or violenoe with Mr Baldofn.
 5                          15.AII actors participating with BL in lntimate scenes involving het" being In ooy state of
                              nudity or smulated nudity must be classified as active, WOl'klng actots. not ~friends"
                              of the dlteetor or producers. and must be pre-approved by BL
 6                          16.No more filming of any BL nud.ty wllhout a fully-exaculed, SAG-comphant nudity
                              rider Ill place. Arty such footage already shot without this nder In place and ,n direct
 7                            vlolatlOf'I of SAG requirements may not be used without BL's and her legal
                              representatives p110r. written consent.
                            17Any scene by BL, or another pec'former deplcttng the character of "uly. • that
 8                            involves nudity or simulated sex must be oooducted strictly 1n aocorc4lnce wrth the
                              above-referenced ovdity rider pnd m1.15t adhere to the BL-approved scnpt.
 9                          18.An intimacy coordinator must be on set for a scenes invotvlng nudrty and/or
                              simulated sex and must have a monitor to ensure comphance.
                            19.No monitors to be VleWed or accessible on set. or remotely, during closed set
                              scenes exoept by BL-apP'Qved essenbal crew and personnel.

11                          2O.No more entering. attempi.ig to enter, Interrupting, preSStJl\ll9 or asking BL to entor
                              her trader or the makeup trailer by Mr Heath o r Mr Baldom Whtie she 1$ nude, for any
12                            reason.
                            21.No more private, multi hour meetings in BL's trailer, with Mr Baldoni crying, with no
                              outside BL appomtod representative to monitor.
13                          22.No more pressing by Mr Baldon, to sage any of BL's employees
                            23.Producer Alex Saks to be given standard rights. 1ncluslon, and authol'lty pet her lob
14                            desonpbon and as represented to BL when signing on.
                            24.Sony must have an active, daily role in overseeing phys,cat production for the
                              remainder of the film to monitor safety for cast and crew, schedule. logistics,
15                            problem solving and creative.
                            25.Engagement of an experlooced producer to supervise the safety of the cast and
16                            crew, schedule, log1st,cs, problem solving and creatwe for the remainder of the
                              shoot (examples: Todd Lieberman, Elaabeth Cantillon, Min Yoon, Lynette Howell).
                            26.Engagement of a BL-approved, A-list S1unt oouble to perlorm Lily in soenes with Mr
17                            Baldon, involving rape and/or violence. BL to perform only close-up work or work
                              from a BL pre-approved shot list 1n scenes with Mr Baldonl Involving sexual violence.
18                          27.No more adding of sex scenes. oral sex, or oo camera climaxing by BL outside the
                              scope of the script BL approved when signing onto the pf0feC1.
                            28.No more as ing or pressuring BL to cross physical picket lines.
19                          29.No more retaliatory or abusive behav10r to BL for raising concerns or requesting
                              safeguards
20                          3O.An In-person meeting before production resumes wrth Mr Baldonl, Mr Heath, Ms
                              Saks, the Sony representative, the new producer, BL. and BL's spouse Ryan
                              Reynolds to confirm and approve a plan for Implementation of the above that will be
21                            adhered to for the phystcal and emotional safoty of BL. her employeos and all the
                              cast and crew moving lorward.
22

23                4.             This meeting was an essential step in a process the parties had agreed to several

24   months before to allow the cast and crew to safely resume production of the Film. In mid-November

25   2023, the parties had agreed in writing to implement a list of protections enumerated in a contract entitled

26   "Protections for Return to Production," attached hereto as Exhibit A, which included seventeen provisions

27   designed to require Wayfarer to cease the on-set behavior of Mr. Baldoni and Mr. Heath . One of those

28   provisions required an "all-hands meeting" to "confirm and approve a plan for the implementation of


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                                                                        02/04/25
                                                                          03/19/25 Page
                                                                                     Page
                                                                                        5 of
                                                                                          2081
                                                                                             of 119




 1   [certain protections] that will be adhered to for the physical and emotional safety of [Ms. Lively], her

 2   employees and all cast and crew moving forward." Exhibit A~[ 17. After receiving the document,

 3   Wayfarer responded that "Wayfarer, Sony and Production respectfully acknowledge that [Ms. Lively] has

 4   concerns regarding safety, professionalism and workplace culture. Although our perspective differs in

 5   many aspects, ensuring a safe environment for all is paramount, irrespective of differing viewpoints.

 6   Regarding your outlined requests, we find most of them not only reasonable but also essential for the

 7   benefit ofall parties involved."'

 8                   5.         At the end of the January 4 meeting, having discussed at length the details of

 9   concerns that had been expressed by Ms. Lively and others, the parties agreed to implement and follow

10   the Protections for Return to Production to ensure that the Film could be completed, marketed, and

11   released safely and successfully. And it was. Production of the Film resumed on January 5, and concluded

12   on February 9, 2024. The Film has been a resounding success.
13                   6.         Leading up to and in connection with the release of the Film, during the summer of

14   2024, Ms. Lively and fellow cast members promoted the Film in accordance with the Marketing Plan

15   created and delivered by the Film's distributor Sony, which is summarized in the "talking points" attached

16   hereto as Exhibit C. Ms. Lively and other cast members were under a contractual obligation to render

17   promotional services in accordance with the Marketing Plan. The Marketing Plan directed the cast to

18   "[f]ocus more on Lily's strength and resilience as opposed to describing the film as a story about domestic

19   violence" and to "[a]void talking about this film that makes it feel sad or heavy [sic]-it's a story of hope."

20   See Exhibit Cat 2. 2

21                   7.         In the days leading up to the Film's release, Mr. Baldoni abruptly pivoted away

22   from the Film's Marketing Plan and the types of publicity activities in which he had previously

23   participated. What the public did not know was that Mr. Baldoni and his team did so in an effort to explain

24   why many of the Film's cast and crew had unfollowed Mr. Baldoni on social media and were not appearing

25   with him in public. To that end, he and his team used domestic violence "survivor content" to protect

26   his public image, as described in further detail below. See <J[<J[ 83-88.

27
     1
       Wayfarer ultimately confirmed its obligation to abide by all of the Protections for Return to Production in a contractual rider
28   executed on January 19, 2024, wh ich is attached hereto as Exhibit B.
     2 Mr. Baldoni himself launched the Marketing Plan by hosting the first press event in early May 2024 (a month before any

     other cast did any promotion of the film).

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                                                                                        6 of
                                                                                          2181
                                                                                             of 119




                     8.         What the public also did not know was that this was the beginning of a multi-tiered

 2   plan that Mr. Baldoni and his team described as "social manipulation" designed to "destroy" Ms. Lively's

 3   reputation. That plan was backed by virtually unlimited resources. Wayfarer' s co-founder, co-chairman

 4   and leading financier is multi-billionaire Steve Sarowitz, who divulged at the Film's New York premiere

 5   on August 6, 2024, that he was prepared to spend $100 million to ruin the lives of Ms. Lively and her

 6   family. With that backing, Mr. Baldoni and his Wayfarer associates embarked on a sophisticated press

 7   and digital plan in retaliation for Ms. Lively exercising her legally-protected right to speak up about

 8   their misconduct on the set, with the additional objective of intimidating her and anyone else from

 9   revealing in public what actually occurred.

                     9.         On July 31, 2024, following the recommendation of their publicist, Jennifer Abel,

11   Wayfarer, and Mr. Baldoni retained a crisis communications specialist named Melissa Nathan, and her

12   company The Agency Group PR LLC ("TAG"). Ms. Nathan delivered a proposal to Mr. Baldoni, which

13   included "[a] website (to discuss), full reddit, full social account take downs, full social crisis team on

14   hand for anything - engage with audiences in the right way, start threads of theories (discuss) this is the

15   way to be fully 100% protected." Ms. Nathan also proposed the "creation of social fan engagement to go

16   back and forth with any negative accounts, helping to change [sic] narrative and stay on track." Per Ms.

17   Nathan, "All of this will be most importantly untraceable." As Ms. Abel described it, the plan was to

18   engage in "social media mitigation and proactive fan posting to counter the negative" as well as "social

19   manipulation."3
20                   10.        This plan went well beyond standard crisis PR.                    What Ms. Nathan proposed

21   included a practice known as "Astroturfing," which has been defined as "the practice of publishing

22   opinions or comments on the internet, in the media, etc. that appear to come from ordinary members of

23   the public but actually come from a particular company or political group."4

24                   11.        On August 2, 2024, TAG circulated a "SCENARIO PLANNING" document to Mr.
25

     3
26     Ms. Lively obtained the communications set forth in this Complaint through legal process, including a civil subpoena.
     4
       Astroturfing. CAMBRIDGE DICTIONARY, https://dictionary.cambridge.org/us/dictionary/english/astroturfing (last visited Dec.
27   16, 2024); see also Astroturfing, WIKIPEDIA, https://en.wikipedia.org/wiki/Astroturfin g (last visited Dec. 19, 2024)
     ("Astroturfing is the deceptive practice of hiding the sponsors of an orchestrated message or organization (e.g., political,
28   advertising, religious, or public relations) to make it appear as though it originates from, and is s upported by, unsolicited
     grassroots participants. It is a practice intended to give the statements or organizations credibility by withholding information
     about the source's financial backers.").

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                                                                02/04/25
                                                                  03/19/25 Page
                                                                             Page
                                                                                7 of
                                                                                  2281
                                                                                     of 119




 1   Baldoni, Mr. Heath, and others, which described preparations and strategy "should [Ms. Lively] and her

 2   team make her grievances public," (the "Scenario Planning Document"), and is attached hereto as

 3   Exhibit D. To "get ahead of this narrative," Ms. Nathan's plan proposed strategies to advance misleading

 4   countemarratives, including pushing Nathan's narrative that Ms. Lively had "less than favorable

 5   reputation," proposing to "explore planting stories about the weaponization of feminism ... ," and

 6   misleadingly blaming Ms. Lively for production members' job losses. See Exhibit D at 2-3.
 7
                                               6:47                                  .,. I

 8

 9

10
                                               Morning
                                               Not 1'1 I0,,e 1.ith the docurr,ent they·
11                                             sent -
                                               Not sure I'm feeling the protection
                                               1felt on the cal

12
                                                      This is the first time l',ie personally
                                                      gone ttv'ough scenario planning
13                                                    with them so I think let's let them
                                                      discuss the thinking behind the
                                                      docurnent and the actual process
14                                                    and protocol of how they
                                                      Implement these things. That's the
                                                      most Important part ol this is how
15                                                    quickly they can shut things down
                                                      and place stories In your favor. Be
                                                      honest on this can and let's give
16                                                    real feedback to each point.


                                               Yea~ . ,Lst feels VN'f much like
17                                             there 1s not much defense ,'.md
                                               .11so them feeling strong like sh('s
                                               going to do someth,ng Just a b it
18                                             concerr11ng ,-.·hat e·,er)·one had




                                           •
                                               or 191n,1Lp thought

19

20

21
                  12.      Initially, Mr. Baldoni expressed concerns that TAG's written plan was
22
     insufficiently aggressive to "protect" him. Writing to Mr. Heath and Ms. Abel, he said he was " [n]ot in
23
     love with the document they sent - Not sure I'm feeling the protection I felt on the call" with Ms. Nathan
24
     and her colleagues. In response, Mr. Heath attempted to reassure Mr. Baldoni that they had found the
25
     right people for his campaign. In Mr. Heath's words, "the most important part of this is how quickly they
26
     can shut things down and place stories in your favor."
27

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                                                                                 03/19/25 Page
                                                                                            Page
                                                                                               8 of
                                                                                                 2381
                                                                                                    of 119



 1                13.              Later that day, Ms. Abel and Ms. Nathan exchanged the following text messages,

 2   expressing that Mr. Baldoni "wants to feel like [Ms. Lively] can be buried." Ms. Abel and Ms. Nathan

 3   agreed that, of course, they would do just that, but could not say so in writing. "We can't write it down

 4   to him. We can't write we will destroy her." "Imagine if a document saying all the things that he wants

 5   ends up in the wrong hands."

 6

 7                From:                      Jennifer Abel (owner)
                  To.                      Mehssa Nathan

 8                You can of course do that but I do think he needs to know. I'm going to confidentially send
                  you something he's texting me and Jamey on the side just to arm you before this call. I think
                  you guys need to be tough and show the strength of what you guys can do in these
 9                scenarios. He wants to feel like she can be buried ...
                  Priority: Normal
10                                                                                             02/08/2024 13:47:25{UTC+0)


11

12

13                       From                   Melissa Nathan
                         To.                  JeMifef Abel (owner)

                         Of course- but you know when we send over documents we can·t send over the work we will
14                       or could do because that could get us in a lot of trouble
                         Pnonly:Normal
15
                                                                                                02108/2024 13.47:55(UTC+0)

16

17

18                      From.                  Melissa Nathan
                        To: ·                Jennifer Abel (owner)
                        We can't write it down to him
19                      We can't write we will destroy her. We will go to this. We will do this. We will do this. We will
                        do this.
20                      Priority: Normal

                                                                                               02/08/2024 13:48 :24(UTC+0)
21

22

23                      From:                  Melissa Nathan
                        To:                  Jennifer Abel (owner)

24                      He has to look at ii as an information document for us to be armed with
                        That's all . Imagine if a document saying all the things that he wants ends up in the wrong
                        hands.
25                      Priority: Normal

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                                                                   02/04/25
                                                                     03/19/25 Page
                                                                                Page
                                                                                   9 of
                                                                                     2481
                                                                                        of 119




                  14.      Ms. Nathan followed this by assuring Ms. Abel: "you know we can bury anyone.

 2   But I can't write that to him."
 3

 4                        From             Melrssa Nathan
                          To:            Jennrfer Abet (owner)

 5                        you know we can bury anyone
                          But I can't write that to him
                          I will, I'll be very tough
 6                        Priorily: Normal
                                                                           02/08/2024 13 50.10(UTC+0)
 7

 8
                  15.       A few days later, on August 5, 2024, Mr. Baldoni set the narrative for the social
 9
     media campaign, sending Ms. Abel a screens hot of a thread on X that had accused another female celebrity
10
     of bullying women. Mr. Baldoni stated, "this is what we would need."
11

12

13

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23

24
                  16.      Ms. Abel responded that she had just "spoke[n] to Melissa about this ... about what
25

26
     we discussed last night for social and digital." Ms. Abel added, "Focus on reddit, TikTok, IG." With

27   reassurance that Ms. Lively would be "destroy[ed]" and "buried," Wayfarer and Mr. Baldoni directed Ms.

28   Nathan and her team to actively engage in their retaliatory "social manipulation" campaign.


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                                                                                 03/19/25 Page
                                                                                            Page
                                                                                               10 25
                                                                                                  of 81
                                                                                                     of 119




                   17.            In the weeks and months that followed- with the direction and approval of

 2   Wayfarer and Mr. Baldoni- the team engaged in a sophisticated, coordinated, and well-financed

 3   retaliation plan.

 4                 18.            The retaliation campaign relied on more than just publicists and crisis managers

 5   spinning stories. They also retained subcontractors, including a Texas-based contractor named Jed

 6   Wallace, who weaponized a digital army around the country from New York to Los Angeles to create,

 7   seed, and promote content that appeared to be authentic on social media platforms and internet chat

 8   forums. The Baldoni-Wayfarer team would then feed pieces of this manufactured content to unwitting

 9   reporters, making content go viral in order to influence public opinion and thereby cause an organic pile-

10   on. To safeguard against the risk of Ms. Lively ever revealing the truth about Mr. Baldoni, the Baldoni-

11   Wayfarer team created, planted, amplified, and boosted content designed to eviscerate Ms. Lively's

12   credibility. They engaged in the same techniques to bolster Mr. Baldoni's credibility and suppress any

13   negative content about him.

14                   19.          On August 10, the day after release of the Film, Ms. Nathan's team reported that

15   they had "started to see shift on social, due largely to Jed and his team's efforts to shift the narrative"

16   against Ms. Lively.
17
                           From
18                         To                 Jennifer Abel (owner)
                           H1 team - so far, extremely limited pickup on Daily Mail or Page Six. We'll continue to keep
19                         an eye out and send pieces as needed, but so far it's been steady coverage on pure
                           speculation We've also started to see a shift on social. due largely to Jed and his team's
                           efforts to shift the narrattve towards shining a spothght on Blake and Ryan. Again we'll
20                         continue to send lmks and screenshots but wanted to send an update in the meantime.
                           Priorily: Normal

21                                                                                             10/08/2024 16:35.40(UTC+O)



22
                     20.          That same day, Ms. Nathan noted that as part of this shift, "[t]he majority of socials
23
     are so pro Justin and I don't even agree with half of them [sic] lol."
24

25                         From:                 Melissa Nathan
                           To:                 Jennifer Abel (owner)

26
                           The majority of socials are so pro Justin and I don't even agree with half of them lol
27                         Priority: Normal
                                                                                              10/08/2024 16:34:59(UTC+0)
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                                                                                    03/19/25 Page
                                                                                               Page
                                                                                                  11 26
                                                                                                     of 81
                                                                                                        of 119




                  21.            Ms. Nathan then bragged to Ms. Abel that Mr. Baldoni "doesn't realise how lucky

 2   he is right now," by which they were referring to their successful efforts to shut down stories that would

 3   have revealed how Mr. Baldoni's behavior including "sexual connotations" on set had made cast and crew

 4   (beyond Ms. Lively) "uncomfortable."
 5
                               From                   Mtlltssa Nathlm
 6                             To                   Jenrvfer Abel (ovmef)
                               He doesn·t realise how lucky he is right now we need to press on him just how fucking
 7                             lucky
                               Pnonty; Norm.i

 8                                                                                          10108/2024 1639:19(UTC• 0)


 9

10                         From                     Melissa Nathan
                           To                     Jcnnl!Of Abel (ownoc)

11                         The whispering in the ear the sexual connotations like Jesus fucking Christ
                           Other members feeling uncomfortable watching it I mean there 1s just so much
                           Pnonty :NC>mlal
12                                                                                            10/08/2024 16 39 « (UTC+O)

13
                    22.          Less than one week later, they again bragged about how they had shut down stories
14
     regarding HR complaints on set. On August 15, 2024, Melissa Nathan remarked that "this went so well.
15
     . . It was genius. So okay, we have the four majors standing down on HR complaint."
16

17
                        From:                     Melissa Nathan
                        To :                    Jenmrer Abel (owner)
18
                        Jen, this went so well I em fucking dying
                        I have to call you later m a bit and tell you how this wenl II was genius.
19
                        Pnonly: Normal
20                                                                                             15/08/2024 19 03 1A(UTC +0)


21

22
                         From                      Melissa Natnan
23                       To                      Jenniler Abel (owner)
                         So okay, we have the four majors standing down on HR complaint
24                       I think we are fine on that bit
                        Pricxwy: Nonn.il
25                                                                                             15/08/2024 19 0325(UTC+0)


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                                                                              03/19/25 Page
                                                                                         Page
                                                                                            12 27
                                                                                               of 81
                                                                                                  of 119




                   23.     On August 16, Ms. Nathan circulated a Daily Mail article entitled "String of 'hard

 2   to watch' videos that have surfaced following 'tone deaf' Q&A to promote It Ends With Us could tarnish
 3   36-year-old star's golden Hollywood image for good," to which Ms. Abel responded: "Wow. You really
 4   outdid yourself with this piece," and Ms. Nathan replied: "That's why you hired me right? I'm the best."

 5
                                    Is Blake Lively set to be CANCELLED?
 6                                  String of 'hard to watch' videos that have
                                    surfaced following 'tone deaf' Q&A to
 7                                  promote It Ends With Us could tarnish
 8
                                    36-year-old star's golden Hollywood
                                    image for good
 9                                  • Awkward encounters between Lively, who shares four children with Ryan
                                      Reynolds, and journalists in recent years are being shared across social media
                                    • READ MORE: Justin Baldoni addresses 'friction' on set of It Ends With

                                    By ALANAH KHOLSA and JO TWEEDY FOR MAILONLINE
                                                                       I
                                    PUBLISHED: 07:17 EST, 16 August 2024 UPDATED: 07:55 EST, 10 December 2024
11

12

13
                                 From                        Mehssa Nathan
14                               To:                       Jennifer Abel {owner)

                                 https://mol.im/a/ 13749783
15
                                 Priorily: Normal

16                                                                                      16/08/2024 12:44: 15(UTC+0)


17

18
                             From:                        Jennifer Abel (owner)
                             To:                        Melissa Nathan
19
                             Wow
                            Priari1y: Normal
20
                                                                                      16/08/2024 13:37:17(UTC+O)
21

22

23                         From:                      Jemifer Abel (owner)
                           To:                      Melissa Nathan

24                         You really outdid yourself with this ,piece
                           Pricriy: Normal
25                                                                                      16/o:B/2()24 13:37:32(UTC♦O)


26

27

28



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                                                                           03/19/25 Page
                                                                                      Page
                                                                                         13 28
                                                                                            of 81
                                                                                               of 119




 2                                  From:              Mellssa Nathan
                                    To:              Jennrrer Abel (owner)

 3                                 That's why you hired me right? I'm the best.
                                   Priorily; Normal
 4                                                                           16/08/2024 13:46:12(UTC+0)

 5
                       24.      As their own words reveal, the purpose of this "social manipulation" plan was two-
 6
     fold: it aimed to both (a) conceal the pattern of harassment and other misconduct by Mr. Baldoni, Mr.
 7
     Heath, and Wayfarer, and (b) retaliate against Ms. Lively by battering her image, harming her businesses,
 8
     and causing her and her family severe emotional harm. Millions of people (including many reporters and
 9
     influencers) who saw these planted stories, social media posts, and other online content had no idea they

     were unwitting consumers of a crisis PR, astroturfing, and digital retaliation campaign created and funded
11
     by Mr. Baldoni and Wayfarer to hurt Ms. Lively. That is precisely the goal of an astroturfing campaign-
12
     to light the fire and continue to stoke conversations secretly, blurring the line between authentic and
13
     manufactured content, and creating viral public takedowns.
14
                    25.         As laid out in this Complaint, the Baldoni-Wayfarer-led public attack of Ms. Lively
15
     was the intended result of a carefully crafted, coordinated, and resourced retaliatory scheme to silence her,
16
     and others, from speaking out about the hostile environment that Mr. Baldoni and Mr. Heath created. As
17
     such, it was not only unconscionable and a breach of contract, but also illegal under both state and federal
18
     law. Ms. Lively brings this action to hold Wayfarer and its leaders, Mr. Baldoni, Mr. Heath, and Mr.
19
     Sarowitz, accountable for the ongoing5 retaliation threats and harm they have caused Ms. Lively, other
20
     cast and crew and all of their families.
21
                                                 FACTUAL BACKGROUND
22
         A. Justin Baldoni and Jamey Heath of Wayfarer Engage in Inappropriate and Unwelcome
23
            Behavior Toward Ms. Lively and Others on the Set of It Ends with Us.
24
                    26.         Mr. Baldoni launched Wayfarer Studios along with Mr. Sarowitz in 2020. Mr.
25
     Heath serves as Wayfarer's Chief Executive Officer. Mr. Sarowitz is a leading financier of Wayfarer, and
26
     he, Mr. Heath, and Mr. Baldoni are all close personal friends. Under the Wayfarer banner, Mr. Baldoni
27

28
     5 Ms. Lively is informed and believes that Mr. Baldoni and his associates have additional astroturfing plans that they have

     prepared and are ready to launch at a moment's notice.

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                      1:24-cv-10049-LJL
                          1:25-cv-00163              Document
                                                     Document 1-2
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                                                                          02/04/25
                                                                             03/19/25 Page
                                                                                        Page
                                                                                           14 29
                                                                                              of 81
                                                                                                 of 119




     and Mr. Heath have many platforms, including the Man Enough podcast, which they co-host. Mr. Baldoni
 2   and Mr. Heath have positioned Wayfarer as a male-feminist platform that explores gender roles,
 3
     dismantles toxic masculinity, and creates a safer and judgment-free society for women.
 4
                       27.        Mr. Baldoni serves not only as the Co-Founder and Co-Chairman of the Studio that
 5
     financed and ran production on It Ends With Us, he also served as Director, Executive Producer, and co-
 6

 7   lead Actor playing the role of Ryle Kincaid. As Studio Head and Director, all actors, crew, and staff on

 8   the film- including Ms. Lively- answered to Mr. Baldoni. In his words, he was "the leader" who sat "at

 9   the top of this totem pole ..."              While Sony was the distributor releasing the Film, Wayfarer was

     responsible for the production , and Wayfarer was led by Mr. Baldoni and Mr. Heath.
11
                       28.        Production of the Film began in early May 2023, and lasted until it was suspended
12
     in mid-June 2023 due to the Writers Guild of America ("WGA") strike.
13
                       29.        During that time, Ms. Lively and other cast and crew experienced invasive,
14

15   unwelcome, unprofessional and sexually inappropriate behavior by Mr. Baldoni and Mr. Heath. Because

16   Mr. Baldoni and Mr. Heath held all leadership positions on the production, they answered to no one, and

17   brushed off or ignored the concerns Ms. Lively and others expressed.
18
                    a. Mr. Baldoni ignored well-established industry protocols in filming intimate scenes,
19                     and exploited the lack of controls on set to behave inappropriately.

20                     30.        Wayfarer fai led to adhere to guild rules, as well as Ms. Lively's contract, and

21   standard industry safety protocols with respect to nudity and intimate scenes, which the Screen Actors
22
     Guild and the American Federation of Television and Radio Artists ("SAG-AFTRA") acknowledges
23
     "place performers in uniquely vulnerable situations."6 Such safeguards ignored by Wayfarer include:
24
     providing performers with appropriate notice of nudity and simulated sex and ensuring that (i) consent is
25
     given free of pressure or coercion, (ii) signed "nudity riders" are in place, spelling out the parameters of
26

27   nudity or simulated sex scenes, (iii) "safe and secure working conditions that are not detrimental to [a

28
     6
         Quick Guide for Scenes Involving Nudity and Simulated Sex, (Dec. 29, 2024, 6:27 PM) , https://www.sagaftra.org/guick-guide-
     scenes-involving-nudity-and-simulated-sex-O.

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                      1:25-cv-00163         Document
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                                                                 02/04/25
                                                                    03/19/25 Page
                                                                               Page
                                                                                  15 30
                                                                                     of 81
                                                                                        of 119




     performer's] health, safety, morals and career,"7 and (iv) the use of "intimacy coordinators" to observe
 2   intimate scenes.
 3
                  31.       Without these protections in place, Mr. Baldoni improvised physical intimacy that
 4
     had not been rehearsed, choreographed, or discussed with Ms. Lively, with no intimacy coordinator
 5
     involved. For instance, Mr. Baldoni discreetly bit and sucked on Ms. Lively's lower lip during a scene in
 6

 7
     which he improvised numerous kisses on each take. Mr. Baldoni insisted on shooting the full scene over

 8   and over again, well beyond what would have been required on an ordinary set, and without advance

 9   notice or consent.

                  32.       On another occasion, Mr. Baldoni and Ms. Lively were filming a slow dance scene
11
     for a montage in which no sound was recorded. Mr. Baldoni chose to let the camera roll and have them
12
     perform the scene, but did not act in character as Ryle; instead, he spoke to Ms. Lively out of character as
13
     himself. At one point, he leaned forward and slowly dragged his lips from her ear and down her neck as
14

15   he said, "it smells so good." None of this was remotely in character, or based on any dialogue in the script,

16   and nothing needed to be said because, again, there was no sound- Mr. Baldoni was caressing Mr. Lively

17   with his mouth in a way that had nothing to do with their roles. When Ms. Lively later objected to this
18
     behavior, Ms. Baldoni's response was, "I'm not even attracted to you."
19
                b. Mr. Baldoni inserted improvised gratuitous sexual content and/or scenes involving
20                 nudity into the film (including for an underage character) in highly unsettling ways.

21                33.       After Ms. Lively signed onto the movie based on a draft of the script, Mr. Baldoni,
22
     without Ms. Lively's knowledge or consent, personally added graphic content, including a scene in which
23
     Ms. Lively was to orgasm on-camera.
24
                  34.       When Ms. Lively objected to these additions, Mr. Baldoni insisted he had added
25
     them because he was making the Film "through the female gaze." Although he agreed to remove the
26

27   scenes, he made a last-ditch attempt to keep one in which the couple orgasm together on their wedding

28
     7 Id.


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                   1:24-cv-10049-LJL
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                                                   Document 1-2
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                                                                        02/04/25
                                                                           03/19/25 Page
                                                                                      Page
                                                                                         16 31
                                                                                            of 81
                                                                                               of 119




     night, which he said was important to him because he and his partner climax simultaneously during
 2   intercourse. Mr. Baldoni then intrusively asked Ms. Lively whether she and her husband climax
 3
     simultaneously during intercourse, which Ms. Lively found invasive and refused to discuss.
 4
                     35.        On the day of shooting the scene in which Ms. Lively's character gives birth, Mr.
 5
     Baldoni and Mr. Heath suddenly pressured Ms. Lively to simulate full nudity, despite no mention of nudity
 6

 7   for this scene in the script, her contract, or in previous creative discussions. Mr. Baldoni insisted to Ms.

 8   Lively that women give birth naked, and that his wife had "ripped her clothes off' during labor. He

 9   claimed it was "not normal" for women to remain in their hospital gowns while giving birth. Ms. Lively

     disagreed, but felt forced into a compromise that she would be naked from below the chest down. 8
11
                     36.        When the birth scene was filmed, the set was chaotic, crowded and utterly lacking
12
     m standard industry protections for filming nude scenes- such as choregraphing the scene with an
13
     intimacy coordinator, having a signed nudity rider, or simply turning off the monitors so the scene was
14

15   not broadcast to all crew on set (and on their personal phones and iPad). Mr. Heath and Mr. Baldoni also

16   failed to close the set, allowing non-essential crew to pass through while Ms. Lively was mostly nude with

17   her legs spread wide in stirrups and only a small piece of fabric covering her genitalia. Among the non-
18
     essential persons present that day was Wayfarer co-Chairman Mr. Sarowitz, who flew in for one of his
19
     few set visits. Ms. Lively was not provided with anything to cover herself with between takes until after
20
     she had made multiple requests. Ms. Lively became even more alarmed when Mr. Baldoni introduced his
21
     "best friend" to play the role of the OBGYN, when ordinarily, a small role of this nature would be filled
22

23   by a local actor. Ms. Lively felt that the selection of Mr. Baldoni' s friend for this intimate role, in which

24   the actor's face and hands were in close proximity to her nearly nude genitalia for a birth scene, was
25   invasive and humiliating.
26

27
     8
28    Generally, nudity below the waist in film utilizes a small piece of nude fabric glued around the female actor's genitalia to
     provide some minimal privacy without disturbing the shot (because that fabric is not able to have visible straps from profile
     camera angles).

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                  1:24-cv-10049-LJL
                      1:25-cv-00163         Document
                                            Document 1-2
                                                     142-4 Filed
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                                                                 02/04/25
                                                                    03/19/25 Page
                                                                               Page
                                                                                  17 32
                                                                                     of 81
                                                                                        of 119




                  37.       To add insult to injury, Mr. Heath approached Ms. Lively and her assistant on set
 2   and started playing a video of a fully nude woman with her legs spread apart. Ms. Lively thought he was
 3
     showing her pornography and stopped him. Mr. Heath explained that the video was his wife giving birth.
 4
     Ms. Lively was alarmed and asked Mr. Heath if his wife knew he was sharing the video, to which he
 5
     replied "She isn't weird about this stuff," as if Ms. Lively was weird for not welcoming it. Ms. Lively
 6

 7
     and her assistant excused themselves, stunned that Mr. Heath had shown them a nude video.

 8                38.       Mr. Baldoni added a detailed scene to the Film in which the underage version of

 9   Ms. Lively's character, Lily, loses her virginity. In both the book and the script for the film, there was no

     sex scene; instead, the details about this moment were left to the audience's imagination. But Mr. Baldoni,
11
     added in considerable details, including both dialogue between Young Lily and her boyfriend (Atlas)
12
     about the loss of her virginity, as well as a simulated sex scene in which Mr. Baldoni filmed, and included
13
     in his initial cut of the Film, a close up of Young Lily's face, accompanied by an audible gasp at the
14

15   moment of penetration. Ms. Lively was informed that when this scene was shot, after Mr. Baldoni called

16   "cut," he walked over to the actors and said, "I know I'm not supposed to say this, but that was hot," and,

17   "did you two practice this before?"
18
                c. Mr. Baldoni and Mr. Heath discussed their personal sexual experiences and previous
19                 porn addiction, and tried to pressure Ms. Lively to reveal details about her intimate
                   life.
20
                  39.       During a car ride with Ms. Lively, her assistant and driver, Mr. Baldoni claimed to
21
     Ms. Lively that he had been sexually abused by a former girlfriend (which he has since shared publicly).
22

23   At the end this story, Mr. Baldoni shared that it had caused him to reexamine his past. He then said: "Did

24   I always ask for consent? No. Did I always listen when they said no? No." Mr. Baldoni claimed this

25   was an example of how we all have things from which we can learn and grow. Ms. Lively was unsettled
26
     by Mr. Baldoni's suggestion that he had engaged in sexual conduct without consent. When Ms. Lively
27
     exited the car, her driver immediately remarked that he did not want Ms. Lively to be alone with Mr.
28
     Baldoni going forward.

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                Case
                  1:24-cv-10049-LJL
                      1:25-cv-00163         Document
                                            Document 1-2
                                                     142-4 Filed
                                                              Filed
                                                                 02/04/25
                                                                    03/19/25 Page
                                                                               Page
                                                                                  18 33
                                                                                     of 81
                                                                                        of 119




                  40.       On the first day of production, Mr. Baldoni and Mr. Heath described their past
 2   sexual relationships to Ms. Lively, including that one of them used to "hook up" with a woman. Mr.
 3
     Baldoni said that he had decided the woman wasn't "the one," so then Mr. Heath had gotten together with
 4
     her. Ms. Lively found this description of passing along a woman to be disrespectful and disturbing.
 5
                  41.       Mr. Baldoni and Mr. Heath often spoke of their "previous pornography addiction."
 6

 7   Mr. Baldoni would often reference pornography to Ms. Lively. Hoping to shut the subject down, she said

 8   to him privately that she had never seen it. Later, when Mr. Baldoni was once again referencing his

 9   experiences with pornography, he revealed in front of other cast and crew that Ms. Lively had never "seen

     porn." It was an incredible invasion of her privacy to discuss any aspect of her intimate life with the cast
11
     and crew, much less reveal something that she had only told Mr. Baldoni to try to get him to stop talking
12
     about the subject with her.
13
                  42.       Mr. Baldoni engaged in other behaviors that were shocking and emotionally
14

15   distressing. For example, he claimed he could speak to the dead, and on several occasions told her that

16   he had spoken to her dead father. It was off putting and violative for Ms. Baldoni to claim a personal

17   relationship with her recently deceased father. Mr. Baldoni and Mr. Heath were also constantly hugging
18
     and touching cast and crew. When Ms. Lively or others avoided this touching, Mr. Baldoni and Mr. Heath
19
     would retaliate by becoming irritated, cold, and uncollaborative. The result was an unwelcoming and
20
     mercurial environment for Ms. Lively, her employees, and others on set.
21
                d. Mr. Baldoni objectified Ms. Lively and other women by commenting on or criticizing
22
                   their bodies as sex objects.
23
                  43.       Mr. Baldoni often referred to women in the workplace as "sexy." When they
24
     expressed discomfort, Mr. Baldoni would deflect or try to pass it off, which undermined Ms. Lively and
25
     others' concerns. For example, on one occasion that Ms. Lively observed, he told a female cast member
26

27   that her leather pants looked "sexy" when she arrived to the set. When she rebuffed his comment because

28



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                    1:24-cv-10049-LJL
                        1:25-cv-00163       Document
                                            Document 1-2
                                                     142-4 Filed
                                                              Filed
                                                                 02/04/25
                                                                    03/19/25 Page
                                                                               Page
                                                                                  19 34
                                                                                     of 81
                                                                                        of 119



 1   she was uncomfortable, rather than apologizing, he brushed it off with "I can say that because my wife is
 2   here today." Ms. Lively felt embarrassed witnessing this kind of commentary, as did others.
 3
                   44.      On another day, Ms. Lively wore a low-cut dress to facilitate breast feeding, but
 4
     had it covered up with a coat. When the jacket briefly popped open at one point to reveal the dress, Mr.
 5
     Baldoni commented about how much he liked her outfit, which flustered Ms. Lively. Later that day, Mr.
 6

 7   Baldoni pressured Ms. Lively (who was in her pre-approved wardrobe) to remove her coat in front of the

 8   crew and multiple background actors in a packed bar. He said wanted to see her "onesie" under the coat

 9   because it was zipped low to reveal her lace bra. Consistent with past practice, he said, "I think you look
10
     sexy" in a tone that made her feel ogled and exposed. With other female cast present, she said, "that's not
11
     what I'm going for." He bristled and replied, "I'm sorry, hot." Deeply uncomfortable, Ms. Lively said,
12
     "not that either." Mr. Baldoni, responded sarcastically, "I guess I missed the HR meeting," and walked
13
     away. Another woman on the production spoke to Ms. Lively afterward to offer empathy and to share her
14

15   own similar experiences with Mr. Baldoni commenting about her in sexual terms.

16                 45.      As result of Mr. Baldoni's behavior, on May 29, 2023, another cast member lodged

17   a sexual harassment complaint about Mr. Baldoni's "gross" and "unwanted comment[s]" towards her and
18
     others.
19
                   46.      While, on the one hand, Mr. Baldoni was objectifying Ms. Lively as a sex object,
20
     on the other hand he went out of his way to message criticisms of her age and weight, neither of which
21
     she could change during filming. On the second day of filming, for example, Mr. Baldoni made the rest
22

23   of the cast and crew wait for hours while he cried in Ms. Lively's dressing room, claiming social media

24   commentators were saying that Ms. Lively looked old and unattractive based on paparazzi photos from
25   the set. She tried to reassure him that she should look authentic in the scenes depicted in the photos, which
26
     were just after her character had been abused by her fictional husband, rather than "hot"- Mr. Baldoni,
27
     however, appeared focused on Ms. Lively's sexual appeal above all else. His lengthy outburst caused a
28
     delay in shooting, forcing an emotional scene to be shot haphazardly.

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              Case
                 Case
                   1:24-cv-10049-LJL
                       1:25-cv-00163            Document
                                                Document 1-2
                                                         142-4 Filed
                                                                  Filed
                                                                     02/04/25
                                                                        03/19/25 Page
                                                                                   Page
                                                                                      20 35
                                                                                         of 81
                                                                                            of 119




                   47.        To make matters worse, when Ms. Lively tried to have a meeting with Mr. Heath
 2   and the other producers to discuss Mr. Baldoni's unprofessional behavior described above, that meeting
 3
     turned into yet another violation. Rather than an ordinary meeting time and place, Mr. Heath arrived
 4
     unannounced at Ms. Lively's hair and makeup trailer while she was topless and having body makeup
 5
     removed by makeup artists. Ms. Lively told Mr. Heath that she was almost done and they could meet
 6

 7   once she was clothed. Mr. Heath, however, insisted that if she didn't allow him into her trailer to speak

 8   to him at that moment, then there would be no meeting with the other producers. Ms. Lively reluctantly

 9   agreed, but asked that Mr. Heath keep his back turned. A few minutes into the conversation, Ms. Lively

     noticed that Mr. Heath was staring directly at her while she was topless. When she called him out, Mr.
11
     Heath brushed it off as a habit of wanting to look at a person while speaking to them. Ms. Lively and her
12
     hair and makeup artists were all deeply disturbed by this interaction on just the second day of filming.
13
                   48.        Throughout filming, Mr. Baldoni and Mr. Heath invaded Ms. Lively's privacy by
14

15   entering her makeup trailer uninvited while she was undressed, including when she was breastfeeding her

16   infant child. Ms. Lively often had to work while breastfeeding, which she felt comfortable doing so long

17   as she was given the time and space to cover herself. She did this frequently, because she was not given
18
     breaks to feed her baby,9 but Ms. Lively did not expect or consent to anyone entering her private spaces
19
     while topless, exposed, and vulnerable with her newborn, or during body makeup application or removal.
20
     Mr. Baldoni and Mr. Heath both showed a shocking lack of boundaries by invading her personal space
21
     when she was undressed and vulnerable.
22

23                 49.        Mr. Baldoni also routinely degraded Ms. Lively by finding back channel ways of

24   criticizing her body and weight. A few weeks before filming began and less than four months after Ms.
25   Lively had given birth to her fourth child, Ms. Lively was humiliated to learn that Mr. Baldoni secretly
26
     called her fitness trainer, without her knowledge or permission, and implied that he wanted her to lose
27
     9
28     Ms. Lively was not given proper lactation breaks by Wayfarer during filming, which sometimes stretched into six hours
     without a break. When filming finally broke, Ms. Lively would have to run to her trailer to breastfeed. The lack of
     accommodation for her need to express milk caused her to develop painful mastitis.

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                       1:25-cv-00163              Document
                                                  Document 1-2
                                                           142-4 Filed
                                                                    Filed
                                                                       02/04/25
                                                                          03/19/25 Page
                                                                                     Page
                                                                                        21 36
                                                                                           of 81
                                                                                              of 119




     weight in two weeks. Mr. Baldoni told the trainer that he had asked because he was concerned about
 2   having to pick Ms. Lively up in a scene for the movie, but there was no such scene. 10
 3
                    50.        When Ms. Lively caught strep throat, Mr. Baldoni offered as a "gift" to connect her
 4
     with an expert he had on retainer to help her with probiotics and to combat the sickness. When Ms. Lively
 5
     went to fill out the privacy forms, she saw the expert was not what Mr. Baldoni had represented her to be,
 6

 7   but was instead a weight-loss specialist. Ms. Lively felt, once again, that Mr. Baldoni was shaming her

 8   for her body and weight.

 9                  51.        Mr. Baldoni and Mr. Heath failed to implement COVID protocols when there was

     a COVID outbreak on set. Ms. Lively was told by another producer that because Wayfarer did not have
11
     insurance coverage for COVID, Mr. Baldoni and Mr. Heath deliberately withheld from Ms. Lively that
12
     she had been exposed to COVID. Both Ms. Lively and her infant child contracted COVID from the
13
     outbreak.
14

15        B. Ms. Lively And Others Lodge Grievances Regarding the Conduct of Mr. Baldoni and Mr.
             Heath, Which Wayfarer Declines to Investigate.
16
                    52.        As the studio producing the Film, Wayfarer was the employer of all the cast and
17
     crew and was thus responsible for ensuring workplace safety on set.
18

19                  53.        However, Wayfarer failed to provide Ms. Lively with even rudimentary

20   employment protections, such an employee handbook, sexual harassment policy, information or any

21   training on sexual harassment, discrimination or respectful workplace expectations.
22
                    54.        Wayfarer also failed to provide Ms. Lively information about the process and
23
     procedure for filing human resources ("HR") complaints.
24
                    55.        As the producer and owner of the Film, Wayfarer was legally obligated to address
25
     HR-related concerns or complaints. To Ms. Lively's knowledge, however, Wayfarer lacked any process
26

27

28
     10
        In later text messages sent to his team, Mr. Baldoni referred to Ms. Lively's trainer as "a damn spy" and sought to plant
     stories to portray his concerns as being motivated by his lower back pain.

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                Case
                  1:24-cv-10049-LJL
                      1:25-cv-00163        Document
                                           Document 1-2
                                                    142-4 Filed
                                                             Filed
                                                                02/04/25
                                                                   03/19/25 Page
                                                                              Page
                                                                                 22 37
                                                                                    of 81
                                                                                       of 119



 1   for responding to complaints about its leadership, Mr. Baldoni and Mr. Heath, who plainly were not going
 2   to investigate themselves.
 3
                   56.     On May 26, 2023, Ms. Lively told a representative of Sony that she wanted to file
 4
     an HR complaint about Mr. Baldoni's and Mr. Heath's misconduct. The Sony representative told Ms.
 5
     Lively that Sony, as the distributor of the film, was not empowered to control Mr. Baldoni or Mr. Heath's
 6

 7   behavior on set, and that such concerns must be raised with Wayfarer, the studio responsible for the

 8   production.

 9                 57.     Wayfarer, Mr. Baldoni, and Mr. Heath received or were aware of a number of HR
10
     grievances regarding their conduct. For example, on the first day of filming, while attempting to hug Ms.
11
     Lively's employee, Mr. Heath said "I don't even know if we're allowed to do this. It's day one and we
12
     have an HR report already."
13
                   58.     Additionally, early in the production, another actress made a complaint about Mr.
14

15   Baldoni's comments on her appearance. Mr. Baldoni expressly acknowledged her concerns in writing,

16   stating he would "adjust accordingly." Yet on June 8, 2023, that actress informed Ms. Lively that "outside

17   of anything in a scene, I actually cannot talk to Justin at all." Mr. Baldoni later expressed suspicion
18
     regarding Ms. Lively's friendship with this actress, as if they were colluding against him.
19
                   59.     As described above, Ms. Lively and others attempted to raise concerns to Mr.
20
     Baldoni and Mr. Heath regarding certain of the conduct described above during filming, but they were not
21
     addressed given the futility of asking Mr. Baldoni and Mr. Heath to address their own behavior.
22

23                 60.     After unsuccessfully attempting to raise concerns with Sony, Ms. Lively expressly

24   told Mr. Baldoni and Mr. Heath that there were serious HR problems on set. Mr. Heath responded that
25   they knew, implying that someone had mentioned to them that Ms. Lively had raised concerns. In
26
     response, Mr. Heath told Ms. Lively that he thought she had wanted to see the nude video of his wife.
27
                   61.     In the same conversation, when Ms. Lively expressed her upset Mr. Heath and Mr.
28
     Baldoni had hidden the fact that she had been exposed to a COVID outbreak on set from which she and

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                Case
                  1:24-cv-10049-LJL
                      1:25-cv-00163         Document
                                            Document 1-2
                                                     142-4 Filed
                                                              Filed
                                                                 02/04/25
                                                                    03/19/25 Page
                                                                               Page
                                                                                  23 38
                                                                                     of 81
                                                                                        of 119




     her infant contracted COVID. Instead of acknowledging responsibility and committing to safety movin
 2   forward, they expressed upset over production days missed and resulting costs.
 3
                  62.       Despite receiving multiple, detailed reports by Ms. Lively and others about Mr.
 4
     Baldoni and Mr. Heath's misconduct, Wayfarer failed to investigate those reports or to otherwise institute
 5
     protections for the cast. This is so even though the incidents discussed above, among others, did not take
 6

 7   place in isolation and many if not all were witnessed by others.

 8                63.       By these and other behaviors, Mr. Baldoni, Mr. Heath and Wayfarer engaged in

 9   harassing conduct and failed their obligations to investigate complaints of workplace harassment, to

     prevent inappropriate and harassing behaviors on set, and to provide avenues for cast and crew members
11
     to safely raise concerns to neutral parties so that they could be investigated and appropriately addressed.
12
        C. The Parties Negotiate A Contract Rider regarding Mr. Baldoni's and Mr. Heath's Conduct
13         on the Set of It Ends with Us.
14                64.       On May 2, 2023, the Writers Guild of America ("WGA"), made up of two
15
     American labor unions representing more than 16,000 writers in film, television, radio, and online media,
16
     went on strike in connection with a labor dispute with the Alliance of Motion Picture and Television
17
     Producers.
18

19                65.       The Film temporarily halted production in June 2023 as a result of WGA picketing.

20   On June 15, 2023, Wayfarer and Mr. Baldoni announced the continued halted production of the Film due

21   to the ongoing WGA strike and the lost days experienced from picketing.
22
                  66.       While the WGA strike was underway, on July 14, 2023, the American actor's union
23
     known as SAG-AFTRA, a labor union that represents about 160,000 people in the entertainment industry,
24
     including actors, recording artists, radio personalities and other media professionals, began to strike due
25
     to a labor dispute with the Alliance of Motion Picture and Television Producers.
26

27                67.       The WGA strike ended on September 27, 2023, and the SAG-AFTRA strike ended

28   on November 9, 2023.


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                  1:24-cv-10049-LJL
                      1:25-cv-00163         Document
                                            Document 1-2
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                                                                 02/04/25
                                                                    03/19/25 Page
                                                                               Page
                                                                                  24 39
                                                                                     of 81
                                                                                        of 119



 1                68.       Before returning to production, Ms. Lively attempted to address and resolve the
 2   problems on set and requested that Wayfarer agree to address the conditions described above.
 3
                  69.       On November 9, 2023, Ms. Lively's attorneys provided Wayfarer's attorney with
 4
     a document entitled "Protections for Return to Production," attached hereto as Exhibit A.
 5
                  70.       In conveying the Protections for Return to Production document, Ms. Lively
 6

 7   requested that Wayfarer agree to implement a plan that would enable everyone to return to work and

 8   complete the Film with adequate protections to ensure a safe set moving forward.

 9                71.       On November 11, 2023, counsel for Wayfarer indicated that " Wayfarer, Sony and
10
     Production respectfully acknowledge that your client has concerns regarding safety, professionalism and
11
     workplace culture. Although our perspective differs in many aspects, ensuring a safe environment for all
12
     involved is paramount, irrespective of differing viewpoints. Regarding your outlined requests, we find
13
     most of them not only reasonable but also essential for the benefit ofall parties involved."
14

15                72.       On November 15, 2023, Wayfarer, through It Ends With US Movie, LLC, agreed

16   to the terms in a contractual rider, executed on January 19, 2024, and attached hereto as Exhibit B.

17                73.       Among the contract rider's provisions:
18
                  (a)       The first provision required that "An intimacy coordinator must be present at all
19
     times when [Ms. Lively] is on set."
20
                  (b)       The second provision required that, "With respect to Artist, any and all rehearsal,
21
     filming, reviewing of video playback or dailies and/or any other interaction with any scene involving
22

23   simulated sex, nudity and/or partial nudity shall be restricted to those persons with essential business

24   reasons for being present ("Essential Personnel") as approved by [Ms. Lively] and Todd Black as further
25   described in the nudity rider attached as Schedule I [] ("Nudity Rider")."
26
                  (c)       The third provision required that "There is to be no spontaneous improvising of any
27
     scenes involving intimate/sexual physical touching, simulated sex, or nudity with respect to [Ms.
28
     Lively]. Scenes involving [Ms. Lively] that involves [sic] kissing, depictions of sexual intercourse, or any

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                      1:25-cv-00163          Document
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                                                                  02/04/25
                                                                     03/19/25 Page
                                                                                Page
                                                                                   25 40
                                                                                      of 81
                                                                                         of 119



 1   other intimate/sexual physical touching must be contained in the screenplay (i.e., the most up to date draft
 2   approved by [Ms. Lively] in writing), choreographed in advance in the presence of the intimacy
 3
     coordinator, and may only proceed as choreographed with the consent of all participants in advance."
 4
                  (d)       The fourth provision required that "Physical touching and/or comments on [Ms.
 5
     Lively]'s physical appearance must only be done/made in connection with the character and scene work,
 6

 7
     not as to [Ms. Lively] personally. Except as written into the screenplay or as strictly required in connection

 8   with make-up or costume preparation, there is to be no physical touching (including hugging) of [Ms.

 9   Lively], her on-set personnel and/or her employees."
10
                  (e)       The fifth provision required that "There are to be no discussions with [Ms. Lively]
11
     of personal experiences with sex or nudity, including as it relates to conduct with spouses or others."
12
                  (f)       The sixth provision required that "No one will enter, attempt to enter, interrupt,
13
     pressure, or request entrance to [Ms. Lively]'s trailer while she is in a state of undress for any reason."
14

15                (g)       The seventh provision required that "There shall be no rehearsal or filming of [Ms.

16   Lively] (including [Ms. Lively]'s approved body double) of any nudity, partial nudity, and/or simulated

17   sex except as expressly permitted in accordance with the Nudity Rider. Any such footage of [Ms. Lively]
18
     (or [Ms. Lively]'s body double) previously shot without the Nudity Rider in place may not be used without
19
     [Ms. Lively]'s and her legal representatives' prior, written consent."
20
                  (h)       The tenth provision required that " There shall be no retaliation ofany kind against
21
     [Ms. Lively] for raising concerns about the conduct described in this letter or for these
22

23   requirements. Any changes in attitude, sarcasm, marginalization or other negative behavior, either on

24   set or otherwise, including during publicity and promotional work, as a result of these requests is
25   retaliatory and unacceptable, and will be met with immediate action."
26
                  (i)       The twelfth provision required that "Wayfarer will engage an additional,
27
     experienced A-level producer, approved by [Ms. Lively] (Todd Black is hereby approved) (the "Approved
28
     Producer), to actively supervise the production, including monitoring the safety of the cast and crew,

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                  1:24-cv-10049-LJL
                      1:25-cv-00163          Document
                                             Document 1-2
                                                      142-4 Filed
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                                                                  02/04/25
                                                                     03/19/25 Page
                                                                                Page
                                                                                   26 41
                                                                                      of 81
                                                                                         of 119



 1   ensuring compliance with the schedule and overseeing logistics, problem solving and creative issues
 2   provided that Company shall have the right to approve the agreement with the Approved Producer."
 3
                  (j)       The fifteenth provision required that "Any rehearsal or shooting involving [Ms.
 4
     Lively], or any other performer depicting the character of "Lily," that involves nudity (including partial
 5
     nudity) or simulated sex must be conducted strictly in accordance with the Nudity Rider and must adhere
 6

 7   to the approved script."

 8                (k)       The sixteenth provision provided that "Any and all day players that participate in

 9   any way in scenes with [Ms. Lively] involving nudity, partial nudity and/or simulated sex must be engaged
10
     through customary industry talent agencies and not through personal connections of the director and/or
11
     producer."
12
                  (1)       The seventeenth provision required that "At [Ms. Lively]'s election, an all-hands,
13
     in-person meeting before production resumes will include the director, the existing producers, the Sony
14

15   representative, the Approved Producer, [Ms. Lively] and [Ms. Lively]'s designated representatives to

16   confirm and approve a plan for implementation of the above that will be adhered to for the physical and

17   emotional safety of [Ms. Lively], her employees and all cast and crew moving forward.
18
                  74.       The "all-hands, in-person" meeting provided for in the contract rider occurred on
19
     January 4, 2024, before production resumed, as described above. The meeting was attended by Mr.
20
     Baldoni, Mr. Heath, producer Alex Saks, producer Todd Black, and Sony's Ange Gianetti, as well as Ms.
21
     Lively and her husband, who attended at Ms. Lively's request as another designated representative (as
22

23   provided for in the contract) given the subject matter of the meeting.

24                75.       At the January 4, 2024 meeting, the parties discussed a list of twenty examples of
25   the behaviors that gave rise to the contract rider from her contemporaneous notes. These behaviors are
26
     listed in full earlier in this Complaint at Paragraph 3.
27
                  76.       Neither Mr. Baldoni nor Mr. Heath denied the veracity of Ms. Lively's examples.
28



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                        1:25-cv-00163           Document
                                                Document 1-2
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                                                                     02/04/25
                                                                        03/19/25 Page
                                                                                   Page
                                                                                      27 42
                                                                                         of 81
                                                                                            of 119




                   77.        Ms. Lively requested that Mr. Baldoni and Mr. Heath agree that such behaviors
 2   would no longer take place, as memorialized in the language of the Rider, and Mr. Baldoni and Mr. Heath
 3
     agreed.
 4
         D. Production Concluded and Ms. Lively and Other Cast and Crew Promoted The Film
 5          According to the Marketing Plan.
 6
                   78.        Production of the Film resumed on January 5, 2024, and concluded February 9,
 7
     2024.
 8
                   79.        In connection with the Film's public release, Ms. Lively and the rest of the cast
 9
     actively promoted the Film in accordance with the Marketing Plan for the Film, attached hereto as Exhibit

     C. Wayfarer had embraced, and on information and belief, had formally approved of, this Marketing Plan.
11

12                 80.        The Marketing Plan, and related talking points, expressly required Ms. Lively, as

13   well as all other cast and crew engaged in promotional activities, to "[f]ocus more on [her character's]

14   strength and resilience as opposed to describing the film as a story about domestic violence" and to
15
     "[a]void talking about this film [sic] that makes it feel sad or heavy - it's a story of hope."
16
                   81.        As detailed above, Ms. Lively and fellow cast members promoted the Film in
17
     accordance with the talking points and Marketing Plan during appearances on red carpets, interviews,
18
     press junkets, fan events, and pop-up experiences leading up to the Film's release.
19

20                 82.        Mr. Baldoni publicly embraced the Marketing Plan.                In early May 2024, Mr.

21   Baldoni appeared at a floral-themed trailer launch event, which included him personally making flower
22   bouquets for influencers, a photo opportunity, and film-branded latte art. As late as July 25, 2024, Mr.
23
     Baldoni appeared at a pop-up of Lily Bloom's flower shop in Century City, California, where he held a
24
     long stem rose microphone and playfully gave tours of the shop to influencers. In a TikTok interview,
25
     posted that day, Mr. Baldoni excitedly walks through the pop-up and states that he will be giving tours
26

27   "all day every day" until August 9. 11

28
     11 See @tashapolis, TikTok, https://www.tiktok.com/@tashapolis/video/7395697627217693998, (July 25 , 2024) ..


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                  1:24-cv-10049-LJL
                      1:25-cv-00163         Document
                                            Document 1-2
                                                     142-4 Filed
                                                              Filed
                                                                 02/04/25
                                                                    03/19/25 Page
                                                                               Page
                                                                                  28 43
                                                                                     of 81
                                                                                        of 119



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                  83.      In advance of the release of the Film, nearly all cast members chose to appear in
15
     public separately from Mr. Baldoni given his on-set behavior. Mr. Baldoni became concerned that the
16
     public would discover that "something is much bigger under the surface," on information and belief,
17
     alluding to the complaints lodged by Ms. Lively and others.
18
                  84.       At that point, Mr. Baldoni pivoted away from the Film's Marketing Plan to explain
19
     his absence from the rest of the cast. He shifted his focus away from a message of female triumph, to
20
     instead capitalize on female trauma. After the Film's premiere, Mr. Baldoni changed his Instagram
21
     profile, cancelled lighthearted social media posts, and instructed his team to look for survivors reactions
22
     and support- all in an effort to quickly shift his own public narrative to focus solely on survivors and
23
     domestic violence organizations.
24
                  85.      Ms. Abel cautioned Mr. Baldoni that this shift might be "too drastic too soon."
25
     Still, Mr. Baldoni insisted on a "Tik Tok strategy" and that his promotional activities for the Film should
26
     seek to amplify what he described as "survivor content."
27

28



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                                                             142-4 Filed
                                                                      Filed
                                                                         02/04/25
                                                                            03/19/25 Page
                                                                                       Page
                                                                                          29 44
                                                                                             of 81
                                                                                                of 119



 1

 2                      From                Jusbn Baldoni
                        To:               Jennrler Abel (owner)

 3                      Hey just landed
                        What is the Tlk Tok strategy.
                        I'd like you guys to start posting me ONLY talking about domestic violence and clips and
 4                      why this movie is so important
                        Poonty: Normal

 5                                                                                            0008/202◄ 19:30 16(UTC+O)



 6

 7
                  86.       The team followed Mr. Baldoni's instruction. For her part, Ms. Abel concluded,
 8
     "[i]t doesn't feel performative now that you've done major substantial press on the topic." On August 11,
 9
     2024, Ms. Abel, laid out a posting timeline to Mr. Baldoni and the team, stating, " [t]heater surprise and
10
     then I think survivor content first thing tomorrow am[,] which then will be helpful for news cycle."
11
                  87.       By repositioning Mr. Baldoni's marketing of the Film, on information and belief,
12
     Mr. Baldoni hoped to create the false impression that he had chosen not to appear alongside other cast
13
     members. Mr. Baldoni directed his team to share on his public Instagram feed the private messages he
14
     had received from survivors sharing their stories of domestic violence with him. Mr. Baldoni's tea
15
     talked him out of this idea, writing that they "do not recommend using private DMs as content."
16

17
                          From:              Jusbn Baldon,
18                        To               Jenmfer Abel (owner)
                          Also/ I need you guys to really be on all the stories I'm tagged In.
19                        I think you should let all people dm me so you can see peoples reactions to film and I can be
                          reposting everything. These next 36 hours are crucial and we need to be on It. Looking at
                          everything. Finding the most emotional and touching content from survivors supporting this
20                        film and reposting.
                          Need you to be finding survivors sharing their stories and amplifying them on my page and
                          TlkTok.
21                       Pnonly: Normal
                                                                                              09J08/2024 15:30 15(UTC+0)
22

23

24                88.       Mr. Baldoni went so far as proposing to share a video of a woman's "birth

25   moment," but his team talked him out of it, warning that it might be "perceived as 'weird"' and was "too

26   intimate." Still, Mr. Baldoni's team was more than willing to deploy survivors' stories, reactions, and

27   images to protect Mr. Baldoni's image.

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                                                                    02/04/25
                                                                       03/19/25 Page
                                                                                  Page
                                                                                     30 45
                                                                                        of 81
                                                                                           of 119




          E. Mr. Baldoni and His Team Formulate a Retaliatory Plan.
 2                 89.        Wayfarer knew the details of Ms. Lively's and others' concerns, the HR complaints
 3   raised regarding Mr. Baldoni's and Mr. Heath's behavior, Ms. Lively's contractual rider, and the January
 4   4, 2024 meeting to discuss their behavior. In addition, Wayfarer's PR team knew about the claims by Ms.
 5   Lively and others, as well as the Protections Rider, as Wayfarer sent the materials to them in November
 6   2023.
 7                 90.        As early as May 2024, Mr. Baldoni told his team that they needed a plan to get
 8
     ahead of the claims against him, in the event they were to go public. Specifically, Mr. Baldoni wrote:
 9
     "Just want you guys to have a plan. Plans make me feel more at ease."

                   91.        On May 17, 2024, Mr. Baldoni texted his publicist, Jennifer Abel, that, Ms. Lively's
11

12
     husband had blocked him on social media, stating, "We should have a plan for IF she does the same when

13   [the] movie comes out." 12

14                 92.        In June 2024, a month after Mr. Baldoni's first promotional event for the Film, Ms.
15
     Lively and others in the cast fulfilled their first publicity obligation for the Film without Mr. Baldoni.
16
     They did not publicly discuss the misconduct that had occurred on set. Nor did they ever suggest to
17
     Wayfarer or Mr. Baldoni that they intended to discuss their concerns publicly. Yet, on June 20, 2024, Ms.
18
     Abel texted Mr. Heath her concern, "we can't have fans starting to guess why JB is left out ofthis stuff."
19

20                 93.        Likewise, Mr. Baldoni strategized with his publicist, Ms. Abel, about various ways

21   in which they might cover up or explain away his on-set misconduct. On June 24, 2024, for example, Mr.

22   Baldoni proposed an "offensive move showing [his] neuro divergence and some of the attributes that come
23
     with it," to explain that "anything that [he had] been 'accused of [was] social awkwardness and impulsive
24
     speech .... " 13
25

     12
26     In fact, both Ms. Lively and her husband had unfollowed Mr. Baldoni's social media accounts ten months before.
     13
       Consistent with this plan, Mr. Baldoni has recently been making the press rounds discussing his ADHD. See Kimberlee
27   Speakman, Justin Baldoni Reveals He Was Diagnosed with ADHD at 40 After Struggling Through School: 'I Felt Broken ,'
     People (Dec. 5, 2024, 8: 19 AM) https://people.com/justin-baldoni-reveals-he-was-diagnosed-with-adhd-at-XX-XXXXXXX;
28   Christy Pina, Justin Baldoni Says He Had "Near Breakdown" While Filming 'ft Ends With Us': "There Was So Much Pain,"
     The Hollywood Reporter (Dec. 4, 2024, 12:53 PM), https://www.hollywoodreporter.com/movies/movie-news/justin-baldoni-
     near-breakdown-it-ends-with-us-sexual-trauma-adhd-l 236077524/; Carly Silva, Justin Baldoni Reveals New Clinical

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                 Case
                   1:24-cv-10049-LJL
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                                                                             02/04/25
                                                                                03/19/25 Page
                                                                                           Page
                                                                                              31 46
                                                                                                 of 81
                                                                                                    of 119




                                From:               Justin Bakloni
 2                              To:               Jennife< Abel (owner)
                                Hey guys•
 3                              One thing I think I want to do is the Dr amen show. Matt I know you have your feelings about
                                ii but his practice saved my friend Marinda's life a few months ago.
                                With everything going on- I want to have an offensive move showing my neuro divergence
 4                              and some of the attnbutes that come with it so that I can start talking about it. Most anything
                                that I have been ·accused or is social awkwardness and impulsive speech and t think me
                                sitting down with him and just looking at my brain and tallong about some of the these things
                                will be helpful for me.
 5
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 6

 7                  94.        The same day, Ms. Abel reviewed again the agreed upon list of Protections that
 8   formed the basis for the contractual rider.
 9
                    95.        On July 24, 2024, Ms. Abel emailed Mr. Heath, and others, requesting "the legal

     letter that was sent to [Ms. Lively] and her team," stating, "per our conversation, we will go through point
11
     by point and draft context surrounding each situation. We can then flag what we are missing that would
12

13   be helpful to arm us in the case we need to refute any of the claims ...."

14                  96.        On July 26, 2024, Mr. Baldoni sent Ms. Abel a Variety article about Francis Ford

15   Coppola's inappropriate behavior on set during production of his movie, Megalopolis, including his
16
     alleged kissing of cast and crew, as described by "unnamed sources." In conveying the article, Mr.
17
     Baldoni stated: "This is the shit that I'm sure they want to do - unnamed sources etc [sic] ..." 14
18
                    97.        On July 29, 2024, Mr. Baldoni and Ms. Abel discussed a proposal to get ahead of
19
     any potential publicity regarding Ms. Lively's HR complaints against him with a "social and digital"
20

21   combat plan.

22       F. Wayfarer Engages Melissa Nathan and The Agency Group on Behalf of Mr. Baldoni to
            Launch a Retaliation Campaign against Ms. Lively.
23
                    98.        As the Film's release date of August 9, 2024, drew closer, Mr. Baldoni, Mr. Heath,
24
     Wayfarer, Ms. Abel, and others continued to pursue a strategy on behalf of Mr. Baldoni and Wayfarer to
25

26

27   Diagnosis: 'I Ha ven't Spoken About This Publicly ,' Parade (Dec. 4, 2024) https://parade.com/news/justin-baldoni-clinical-
     diagnosis-adhd-interview-dec-2024.
     14
28      See Brent Lang & Tatiana Siegal, Video of Francis Ford Coppola Kissing 'Megalopolis' Extras Swfaces as Crew Members
     Detail      Unprofessional       Behavior   on    Set      (EXCLUSIVE),       Variety     (Jul.     26,   2024,   9:47   AM)
     https ://variety .com/2024/fi Im/news/megalopolis-set-v ideo-francis-ford-coppo Ia-kissing-extras- l 23608265 3/.

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                                                                             03/19/25 Page
                                                                                        Page
                                                                                           32 47
                                                                                              of 81
                                                                                                 of 119




 1   "arm" themselves against the possibility that Ms. Lively or others might go public with the claims against

 2   Mr. Baldoni or Wayfarer.
 3                     99.        This plan took shape with Wayfarer's retention (on behalf of Wayfarer and Mr.
 4   Baldoni) of Melissa Nathan, which occurred on or around July 31, 2024.
 5
                       100.       Melissa Nathan is a crisis manager. On or about June 20, 2024, Ms. Nathan
 6
     launched The Agency Group PR (TAG).
 7
                       101.       TAG markets itself as a "team of crisis specialists and communications experts"
 8

 9   that "redefines the rules of reputation management." 15 TAG's website states, "At TAG, it's more than

10   just creating a powerful narrative - it's knowing how to navigate that narrative towards continued success

11   and a lasting legacy." 16
12
                       102.       TAG's website states that it "offers comprehensive communications services for
13
     individuals, businesses and corporations looking to invest in reputation management and the growth of
14
     their unique public profiles. TAG specializes in crisis communications, having managed some of the
15
     biggest public-facing crises to date, and utilizes that fast-paced, reputation-first mindset with all of its day-
16

17   to-day clients, which span a variety of industries, including entertainment, media, business and sports." 17

18   TAG's services include messaging and narrative development, media relations, crisis communications

19   and management, and digital and social strategy, among others. 18
20
                       103.       By July 31, 2024, Wayfarer had started to put together a timeline of events to be
21
     shared with Ms. Nathan and TAG.
22
                       104.       According to TAG's own planning document, the purpose of Ms. Nathan's
23
     engagement was to help Mr. Baldoni "get ahead of the narrative" and mitigate bad press that might arise
24

25   from Ms. Lively's and others' HR complaints becoming public by engaging in techniques, such as a

26

27
     15
          The Agency Group PR, The Agency Group PR (TAG) , https://tagpr.com/about (last visited Dec. 19, 2024).
28   16 Id.
     17
          The Agency Group PR, Services, https://tagpr.com/services (last visited Dec. 19, 2024).
     i s Id.


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                         1:25-cv-00163            Document
                                                  Document 1-2
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                                                                    Filed
                                                                       02/04/25
                                                                          03/19/25 Page
                                                                                     Page
                                                                                        33 48
                                                                                           of 81
                                                                                              of 119



 1   "'rapid response' communication system" and "catalog[ing] third party advocates willing to provide a
 2   potential quote or engage with reporters on [Mr. Baldoni's] and [Mr. Heath's] behalf to mitigate negative
 3
     narratives from a source outside of Wayfarer." See Exhibit D at 1-2.
 4
                      105.       As set forth above, on August 5, 2024, Mr. Baldoni sent Ms. Abel a screenshot of
 5
     a thread on X regarding another female public figure's alleged "history of bullying many women." Mr.
 6

 7
     Baldoni stated, "this is what we would need."19

 8                    106.      The next day, even though Ms. Nathan and TAG had already begun performing

 9   work on behalf of Wayfarer and Mr. Baldoni, Ms. Nathan texted a text chain with Ms. Abel and Mr. Heath
10
     providing pricing quotes ranging from $75,000 to $175,000 for TAG's crisis mitigation services.
11
                      107.       Ms. Nathan explained the quotes as follows:
12
                      (a)       "Quote one: $175k - this will be for a 3-4 month period and includes: website (to
13
     discuss) full reddit, full social account take downs, full social crisis team on hand for anything - engage
14

15   with audiences in the right way, start threads of theories (to discuss) this is the way to be fully 100%

16   protected."

17                    (b)       "Quote two $25k per month - min 3 months as it needs to seed same as above - this
18
     will be for creation of social fan engagement to go back and forth with any negative accounts, helping
19
     to change narrative and stay on track." Ms. Nathan stated, "All of this will be most importantly
20
     untraceable. There is a lot more to both of these quotes but, [sic] easier to discuss via phone in terms of
21
     capabilities and what I have personally experienced in and out of crisis scenarios."
22

23

24

25

26

27

28
     19
          @selovelenaa, X, (Aug. 4, 2024, 10:07 AM) https://x.com/selovelenaa/status/1820099207996575827.

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                       1:25-cv-00163                   Document
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                                                                            02/04/25
                                                                               03/19/25 Page
                                                                                          Page
                                                                                             34 49
                                                                                                of 81
                                                                                                   of 119



 1
                           From·               Melissa Nathan
 2                         To:                Jennifer Abel (owner)

                            H1 Jamey, Jen
 3
                           So incredibly glad that the press went so well today and from what I know, Justin felt
                           incredibly supported. He is lucky to have you all.
 4
                           We took the day today to do some research and get digital quotes in from the two teams we
                           use that get the best results.
 5
                           As you are both aware, we are in a predicament that we just do not know the outcome of
                           right now.
 6
                           Saying that, full transparency is key here, we have seen the most innocuous issues tum
                           giant due to socials or the hugest cns1s have no effects on social whatsoever- you just
 7                         cannot tell at this stage. But, BL does have some of the TS fanbase so we will be taking 1t
                           extremely seriously.
 8                         We also understand audience 1s not solely JB fanbase but, the studio so 1t is covering all
                           bases time.
 9                         Quote one: $175k - this will be for a 3--4 month period and includes: website ( to discuss) full
                           reddit, full social account take downs, full social crisis team on hand for anything - engage
10                         with audiences 1n the right way, start threads of theories ( to discuss) this is the way to be
                           fully 1OOo/oprotected.

11                         Quote two $25k per month - min 3 months as it needs to seed same as above - this will be
                           for creation of social fan engagement to go back and forth with any negative accounts,
                           helping to change narrative and stay on track.
12
                           All of this will be most importanUy untraceable.
13                         There is a lot more to both of these quotes but, easier to discuss via phone in terms of
                           capabilities and what I have personally experienced in and out of crisis scenarios.
14                         Either way, I do feel 1t 1s better to be safe but - I do realize costs are something I am sure
                           you did not count on when you took on this project nor, this situation.
15                          Let me know when you would like to discuss more - around on PT tomorrow.

16                         M
                           Priority: Nonnal

17                                                                                                06/08/2024 03:43:49(UTC+O)



18
19                  108.        The Hollywood Reporter announced the retention of Ms. Nathan and TAG on
20
     August 13, 2024. That report stated, in part: "The news comes days after sleuths flooded TikTok with
21
     speculation about an alleged rift between Baldoni and his cast and crew, including co-star and producer
22
     Blake Lively, as well as Hoover. Chatter spiked when fans noticed Baldoni's absence from joint press
23

24
     events and the lack of group photos of Lively and Baldoni together at the New York premiere Aug. 6.

25   Some also pointed out that neither Lively or Hoover, nor the rest of the cast, follow Baldoni on Instagram

26   (though he follows them)."20
27

28   20
       Carly Thomas & Pamela M cCl intock, Justin Baldoni Hires Crisis PR Veteran Amid Alleged 'ft Ends With Us· Rift, The
     Hollywood Reporter (Aug. 13, 2024, 5:27 PM), https://www.hollywoodreporter.com/movies/movie-news/justin-baldoni-hires-
     pr-crisis-manager-melissa-nathan-it-ends-with-us-1 2359737 15/; see also Anthony D ' A lessandro, 'ft Ends With Us' : Justin

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                                                                                                  of 81
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             F. Mr. Baldoni, Mr. Heath, and Wayfarer Perpetrate A Retaliation Scheme Against Ms.
                Lively.
 2
                    109.         Ms. Abel, Ms. Nathan, and others employed or engaged by TAG perpetrated a
 3

 4   retaliation scheme against Ms. Lively, in collusion with Mr. Baldoni, Mr. Heath, and Wayfarer. This

 5   scheme was what TAG described as a "social manipulation" plan relying on direct and constant media

 6   engagement, the seeding of content on traditional and social media platforms, the boosting of content
 7
     (sometimes the very content that TAG and its affiliates had seeded), the suppressing of negative content
 8
     about Mr. Baldoni, and amplifying of negative content about Ms. Lively.
 9
                    110.         On August l, 2024, before any of the cast sat down for interviews at the film 's

     press junkets, Ms. Abel stated to Mr. Heath and Wayfarer personnel that she had held an in-person meeting
11

12   with a contributor to People, Fox News, In Touch, and US Weekly. Ms. Abel explained that during the

13   meeting, she had "fully briefed" the contributor "of the situation" with Ms. Lively. Ms. Abel stated that
14   the contributor was "armed and ready to take this story of Blake weaponizing feminism ," and assured
15
     Mr. Heath that the contributor "will do anything for us."
16

17
                           From:                Jennifer Abel (owner)
18                         To:                Jamey Heath
                           To:
19                         Thanks for the call. Confidentially I'm out to dinner with a friend of 12+ years who writes for
                           people magazine, Fox News, in touch, us weekly, and she is fully briefed of the situation and
                           is armed and ready to take this story of Blake weaponi21ng feminism to any of her outlets the
20                         minute we give her the green light. She hates Blake, has heard this story before, and will do
                           anything for us. Just fyi :)
21                         Priortty: Normal

                                                                                                01/08/2024 03:03:58(UTC+0)
22

23

24   Baldoni Hires Crisis PR Vet Melissa Nathan as Rumor Mill Swirls About Filmmaker/ Star 's Rift with Blake Lively, DEADLINE
     (Aug. 13, 2024, 8:22 PM), https://deadline.com/2024/08/it-ends-with-us-justin-baldoni-melissa-nathan-blake-lively-
25   1236039853/; see also Lauren Tousignant, What the Hell is Going On ?, JEZEBEL (Aug. 14, 2024, 10:32 AM),
     https://www.jezebel.com/what-the-hell-is-going-on ("I don 't know what to make of this. I'm sure Nathan is great at her job,
26   but it feels wild to me to hire Depp's former crisis PR when you're maybe in some hot water over a movie you made where
     you play a domestic abuser.") (emphasis in original); Kristyn Burtt, Justin Baldoni Made a Curious PR Move Amid His Drama
27   With Blake Lively & the 'It Ends With Us' Cast, Y!entertainment (Aug. 14, 2024, 7:50 AM PDT),
     https://www.yahoo.com/entertainment/justin-baldoni-made-curious-pr-145000919.html; KenJac, Justin Baldoni Hired Johnny
28   Depp 's PR Crisis Manager. A Week later, The Whole World Turned On Blake lively, Barstool Sports (Aug. 22, 2024, I 0: I0
     PM PDT), https://www.barstoolsports.com/blog/3522813/justin-baldoni-hired-johnny-depps-pr-crisis-manager.-a-week-later-
     the-whole-world-tumed-on-blake-l ively.

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                                                                      03/19/25 Page
                                                                                 Page
                                                                                    36 51
                                                                                       of 81
                                                                                          of 119



 1                   111.    On or around August 2, 2024, Ms. Abel connected the contributor with Ms. Nathan.
 2   Subsequently, Ms. Nathan engaged directly with media sources on behalf of Mr. Baldoni and Wayfarer
 3
     regarding Mr. Baldoni, Ms. Lively, and the Film.
 4
                     112.    On August 2, 2024, Ms. Nathan, Mr. Baldoni, Ms. Abel, and others had a phone
 5
     call to discuss the services that Ms. Nathan and TAG would provide for Mr. Baldoni and Wayfarer.
 6

 7                   113.   Subsequently, on August 2, 2024, TAG circulated a document to Mr. Baldoni and

 8   others entitled "SCENARIO PLANNING - IT ENDS WITH US," as described above. See supra at <JI 11 ;

 9   see also Exhibit D.
10
                     114.    Of note, the Scenario Planning document states, "there are several potential
11
     scenarios at play here which we should be prepared for, should [Ms. Lively] and her team make her
12
     grievances public .... " See Exhibit D at 1.
13
                     115.    The Scenario Planning Document provides TAG's "recommendation" "to get
14

15   ahead of this narrative .. ." Id. This included suggesting misleading messaging that: (1) "[p]roduction

16   members lost their jobs due to [Ms. Lively's] takeover and insisted upon involvement"; (2) Ms. Lively

17   "involved her husband to create an [i]mbalance of power between her and [Mr. Baldoni]"; (3) Ms. Lively
18
     has a "less than favorab le reputation in the industry"; (4) Ms. Lively had "a clear, likely motive ... to bully
19
     her way into buying the rights for It Starts With Us," the sequel to the Film currently owned by Wayfarer.
20
     Id. at 2.
21
                     116.    The Scenario Planning document states that TAG could "also explore planting
22

23   stories about the weaponization offeminism and how people in BL's circle like Taylor Swift, have been

24   accused of utilizing these tactics to 'bully' into getting what they want." Id. at 4.
25                   117.    Upon review of the Scenario Planning document, Mr. Baldoni informed Mr. Heath
26
     that he was "[n]ot in love with the document they sent - Not sure I'm feeling the protection I felt on the
27
     call."
28


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                                                                                               Page
                                                                                                  37 52
                                                                                                     of 81
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 1                118.             Mr. Heath responded, "That' s the most important part of this is how quickly they
 2   can shut things down and place stories in your favor."
 3
                  119.             Later the same day, Ms. Abel conveyed to Ms. Nathan that Mr. Baldoni was
 4
     questioning whether the plan was aggressive enough, texting that "[Mr. Baldoni] want[ed] to feel like
 5
     [Ms. Lively could] be buried." Ms. Nathan responds: "Ofcourse-but you know when we send over the
 6

 7
     documents we can' t send over the work [sic] will or could do because that could get us in a lot of trouble.

 8   We can't write it down to him. We can't write we will destroy her . .. Imagine if a document saying all

 9   the things that he wants ends up in the wrong hands."
10

11                 From.                       Jennifer Abel (owner)
                   To                        Melissa Nathan

12                 You can of course do that but I do think he needs to know. I'm going to confidentially send
                   you something he's texting me and Jamey on the side Just to arm you before this call. I think
                   you guys need to be tough and show the strength of what you guys can do in these
13                 scenarios. He wants to feel like she can be buried ...
                   Priority: Normal
14                                                                                                02/08/2024 13:47:25(UTC+0)

15

16

17                    From                      Melissa Nathan
                                              Jennifer Abel (owner)
                      To:·

18                    We can't write it down to him
                      We can't write we will destroy her. We will go to this. We will do this. We will do this. We will
                      do this.
19                   Priority: Normal
                                                                                                  02/08/2024 13:48:24(UTC+0)
20

21

22
                           From:                  Mehssa Nathan
                           To:                  Jennifer Abel (owner)
23                         He has to look at it as an information document for us to be armed with
                           That's all . Imagine if a document saying all the things that he wants ends up in the wrong
24                         hands.
                           Pnortty: Normal

                                                                                               02/08/2024 13:49:03(UTC+0)
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                                                                               Page
                                                                                  38 53
                                                                                     of 81
                                                                                        of 119



 1                120.     On August 4, Ms. Abel texted Ms. Nathan, stating, "I'm having reckless thoughts
 2   of wanting to plant pieces this week of how horrible Blake is to work with... Just to get ahead of it . ..
 3
     She's putting us through hell." (Ms. Lively was, in fact, doing nothing other than engaging in the approved
 4
     Marketing Plan for the Film at that time.) Ms. Nathan responded, "Same," and indicated that she had
 5
     already spoken to the Daily Mail.
 6

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                                                                                                         of 81
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                                                  From:                     Melissa Nathan
 2                                                To                     J_,,,,l« Abel (Olltn«)
                                                  She's ready when we aie
 3                                             Pnmt1y:Manna
                                                                                                  04/08/2024 2 I :40:27(UTC-t0)
 4

 5
                  121.            Ms. Abel and Ms. Nathan viewed and referred to their shared work on behalf of
 6
     Mr. Baldoni and Wayfarer as a "social combat plan."
 7

 8
                            From:                     Jennller Abel (owner)
                            To ·                    Melissa Nathan
 9
                            I think we really need lo put the social combat plan then into motion
                           Prianly: Normal
                                                                                                           07/08/2024 18:53:23(UTC+0)
11

12

13                                           From:                        Melissa Nalhan
                                             To                         Jennter Abel (owner)

14                                           Sodo I
                                             Pnant,:Normal

15                                                                                                 0 7 ~ 4 18.54 20(UTC+0)


16
                  122.            The same day , Ms. Abel corresponded with TAG personnel regarding her
17
     discussion with Ms. Nathan regarding "social manipulation," which she described as distinct from "social
18

19   media mitigation" and "proactive fan posting to counter the narrative."

20

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                                                                           03/19/25 Page
                                                                                      Page
                                                                                         40 55
                                                                                            of 81
                                                                                               of 119




                    123.      When media sources made direct inquiries regarding potentially unflattering stories
 2   about Mr. Baldoni specifically, Ms. Nathan, Ms. Abel, and their teams worked to suppress those stories.
 3
                    124.      For example, on August 7, 2024, TAG indicated their intent to leverage "social" to
 4
     "quiet/kill" media coverage regarding public suspicions regarding Mr. Baldoni's disconnect from the
 5
     Film's cast.
 6

 7
                    125.      On August 9, 2024, Ms. Nathan sent Ms. Abel two links to articles-one from the

 8   Hollywood Reporter entitled "Did Blake Lively, Justin Baldoni Have a Rift Over 'It Ends With Us '?

 9   Sleuthing TikTokers Think So," and one from the Daily Mail entitled "Disturbing TRUTH behind why

     Blake Lively and her It Ends With Us stars are feuding with Justin Baldoni."21
11
                    126.      The Daily Mail article reports on allegations that "Justin Baldoni was 'chauvinistic'
12
     and ' borderline abusive' on the set of It Ends with Us," and discusses this and other claims with respect to
13
     the Film and its cast in detail. 22
14

15                  127.      Ms. Abel stated to Ms. Nathan, "I can tell you 've done a lot of work here," and

16   continued, "Nothing about being unsafe. Fat comments. Sexual " She concluded, "Thank fucking

17   god."
18

19                                From:               Jennifer Abel (owner)
                                  To:              . Melissa Nathan
20                                I can tell you've done a lot of work here
                                 Prionly: Normal
21                                                                         09/08/2024 17;21 :Q4(UTC+O)

22

23

24

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26
     21
        Carly Thomas, Did Blake Lively, Justin Baldoni Have a Rift Over 'It Ends With Us'? Sleuthing TikTokers Think So, The
27   Hollywood Reporter (Aug. 8, 2024, 6:09 PM) https://www .hollywoodreporter.com/movies/movie-news/blake-lively-justin-
     baldoni-it-ends-with-us-drama-what-we-know-1235969708/; James Vituscka & Lillian Gissen, Disturbing TRUTH behind why
28   Blake Lively and her It Ends With Us stars are feuding with Justin Baldoni, Dailymail.com (Aug. 9, 2024, 12:52 EDT),
     https ://www.dail ymail .co. uk/tvshowbiz/article-13727789/it-ends-blake-l ively-justin-baldonifeud.html .
     22 Vituscka & Gissen, supra n. 21.


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                                                                                               of 81
                                                                                                  of 119




                                 From:                  Jennifer Abel (owner)
 2                               To:                  Melissa Natnan

                                 Nothing about being unsafe. Fat comments. Sexual.
 3                               Priority; Normal
                                                                                   09/08/2024 17."21 :17(UTC+0)
 4

 5

 6                                 From:                   Jennifer Abet (owner)
                                   To:                   MeMssa Nathan

 7                                 Thank fucking god
                                   Priority: Normal
 8                                                                              09108/2024 1721:23(UTC+0)


 9
                    128.       On August 8, 2024, Ms. Abel stated that the situation had moved "from just

     monitoring and scenario planning ... to [Ms. Nathan] and me having to have an off the record conversation
11
     with outlets such as the today show." Ms. Abel noted that because of Ms. Nathan's relationships, those
12

13   outlets were being "kept at bay."

14                  129.       On August 9, 2024, Ms. Nathan indicated to Ms. Abel that she was on the phone

15   with her sister, Sara Nathan, a journalist at the New York Post and contributor at Page Six, and remarked
16
     that Mr. Baldoni 's religion should be taken "out" from media coverage. She went on to state, "And mostly
17
     The [sic] misogynistic."
18

19
                                   From                  Melissa Nathan
                                   To:                 Jennifer Abel (owner)
20                                 Bahai needs to be out
                                   And mostly
21                                 The misogynistic
                                   Priority: Normal

22                                                                                   09/08/2024 17 29.30(UTC+0)


23
                    130.       Later the same day, Ms. Nathan texted Ms. Abel a link of an article on Page Six by
24
25   Sara Nathan entitled "Truth behind 'It Ends With Us' feud rumors: Justin Baldoni made Blake Lively

26   'uncomfortable,' sources say," stating, "I knew she would keep uncomfortable."23
27
     23
28     Sara Nathan, Truth behind 'ft Ends With Us 'feud rumors: Justin Baldoni made Blake lively 'uncomfortable, ' sources say,
     PageSix, (Aug. 9, 2024, 4:50 PM EDT) https://pagesix .com/2024/08/09/entertainment/justin-baldoni-made-blake-lively-
     uncomfortable-sources/.

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                                                                              Page
                                                                                 42 57
                                                                                    of 81
                                                                                       of 119



 1                131.     On August 9, 2024, Ms. Abel and Ms. Nathan discussed suppressing two stories
 2   that report Ms. Lively was "uncomfortable" on the set.
 3
                  132.     Ms. Nathan texted, "ALL Press is so overwhelming. Weve [sic] confused people.
 4
     So much mixed messaging. It's actually really funny if you think about it ..."
 5

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                                                                                              Page
                                                                                                 43 58
                                                                                                    of 81
                                                                                                       of 119



 1                133.          Ms. Nathan further texted Ms. Abel that the "worst is over" and that Mr. Baldoni

 2   likely would not be "cancelled," corroborating that the nature of the ongoing campaign was designed to

 3   harm Ms. Lively and conceal Mr. Baldoni's conduct on set.
 4
                       From                    Melissa Nathan
 5                     To·                   Jennifer Abel (owner)

                       I really think the worst is over. I do think the next few months definitely will be a tiny bit
 6                     bumpy but not cancelled
                       Priority: Normal

 7                                                                                                      09/08/2024 23 05 33(UTC+0)


 8

 9                134.          The following day, Ms. Abel stated that "The narrative online is so freaking good

10   and fans are still sticking up for Justin and there literally has been no pickup of those two articles which

11   is actually shocking to me. But I see this as a total success, as does Justin. You did such amazing
12
     work." Ms. Nathan responded, "So did you."
13

14
                     Fram:                      Jennifer Abel (own«)
                     To:·                  Melissa NatMn
15
                     Ha! Yes I •hat! some 1p oopfe &ext mo too and I just dldn1 respond. The narrative online ls so
                     freaking good and fans are stll sticking up for Justin and &here ·l iteraly has been no pidrup of
16                   those two aticles which is adualy shocking to me~But I see this as a IDtal success, as does
                     Justin.
17                   Pdafly. NlllnNI
                                                                                                       1OID&'2Q24 112;25:0!l(UTC+D)

18

19
                                          Fram:                 Jennifer Abel (owner)
20                                        To:                  Meisv Nathan
                                          You did such amazing work
21                                        f'Nrity:Nannal
                                                                                    OIDEl/20:24 02:25:13(\JTC+O)
22

23
                                             From:                  Melissa Na1han
24                                           To:                  Jenrufw Abel (OW!Mr)

                                             Narrative 1s CRAZY good
25                                           So did you.
                                            Priority: Nonu

26                                                                                       1ll/08/2024 0225:45(UTC+O)



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                                                                                  03/19/25 Page
                                                                                             Page
                                                                                                44 59
                                                                                                   of 81
                                                                                                      of 119



 1                135.           Ms. Nathan texted later that same day, "The majority of socials are so pro Justin
 2   and I don' t even agree with half of them Joi[.]"
 3

 4                         From:                   Melissa Nathan
                           To:                   Jennifer Abel (owner)

 5                         The majority of socials are so pro Justin and I don't even agree with half of them lol
                           Priority: Normal
 6
                                                                                           10/08/2024 16:34:59(UTC+0)

 7

 8
                  136.           She continued, "I mean, that was just a lot of work just talking everyone off the
 9
     fucking ledge for those two pieces[.]" Ms. Nathan followed up again, texting, ""He doesn't realise how
10

11   lucky he is right now[.] [W]e need to press on him just how fucking lucky[.] The whispering in the ear[,]

12   the sexual connotations like Jesus fucking Christ[.] Other members feeling uncomfortable watching

13   it[,] I mean there is just so much."
14

15                          from                  Melissa Nalllml
                            To                  Jeomlor Abol (OWOOf)

16                          He doesn't realise how lucky he is right now we need to press on him just how fucking
                            lucky
                            Pnonty, Normill
17
                                                                                         10,'08/2024 16 39 19(UTC+O)

18

19

20                       From·                  Melissa Nathan
                         To                   Jonnlfer Abol (ownor)
                         The whispering in the ear the sexual connotations like Jesus fucking Christ
21                       Other members feeling uncomfortable watching it I mean there 1s just so much
                         Pnonty : Norm.-,t
22                                                                                         10/08/2024 16:39 44(UTC+O)

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                                                                                           Page
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                                                                                                 of 81
                                                                                                    of 119



 1                137.            The following day, Ms. Abel confirmed to Mr. Baldoni that there had been
 2   "Nothing. Very very little pickup" and that fans "believe the issue of the ' feud' is because she took control
 3
     of the movie."
 4
                  138.            Earlier, on August 9, 2024, Ms. Nathan had shared with Ms. Abel that she had been
 5
     informed "we are crushing it on Reddit."
 6

 7
                                            From                Melissa Nathan
                                            To                Jennifer Abel (owner)
 8                                          " we are crushing it on Reddit •
                                            Jed
 9
                                            Prionty: Normal

10                                                                                    09/08/2024 17 49 57(UTC+0)



11                139.            Ms. Nathan's reference to "Jed," is a reference to Mr. Jed Wallace, an independent
12
     contractor based in Austin , Texas, who was retained by TAG to perform social media services on behalf
13
     of Wayfarer and Mr. Baldoni in connection with TAG's engagement. The quotation appears to be a
14
     reference to efforts by Mr. Wallace to seed and influence online forums on Reddit attacking Ms. Lively
15

16   and defending Mr. Baldoni.

17                140.          The same day, an employee of TAG texted a link to a salacious story about Ms.

18   Lively's family and noted, "[t]he tides are swirling around Ryan now FYI." Along these same lines, the
19
     team had previously shared an upsetting TikTok video which called for Blake "to divorce Ryan," writing,
20
     "[y]ou guys will love this." TAG then described this post as "[v]ery helpful. "
21
22

23                       Fron,:
                         To:                Jenmfer Abel (owner)
24                       You guys will love this: hltpsJIWww.l1klok.com/t/ZTNgvTu68/

                         Basically saying that Blake needs to divorce Ryan because he's made her into a meme.
25                       He's ruining her biggest movie of the year. forcing her to ostraciZe Justin. rewriting the script
                         etc.
26                       Priortly: Nonnel

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                                                                                03/19/25 Page
                                                                                           Page
                                                                                              46 61
                                                                                                 of 81
                                                                                                    of 119



 1                141.           On August 10, 2024, Ms. Nathan stated to Ms. Abel that "socials are really really
 2   ramping up." She continued, "It's actually sad because it just shows you have [sic] people really want
 3
     to hate on women."
 4
                                            From:             M_.. Ndlan
                                            To:             JonnifwAbo1 ( - >
 5
                                            .....,,_
                                            And socials are really really ramping up

 6                                                                              1IY08/2024 111:41 :23(1JTC<O)


 7

 8                   From:                    Melissa Nathan
                     To:                    Jennifer Abel (owner)

 9                   It's actually sad because 1I Just shows you have people really want to hate on
                     women
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10
                                                                                                      10/08/2024 16:41 :38(UTC+O)

11

12

13                142.           The same day, a member of the TAG team advised of"a shift on social, due largely

14   to Jed and his team's efforts to shift the narrative towards shining a spotlight on Blake and Ryan."

15
                         From.
16                       To                 Jeonrter Abel (owner)

                         Hi team - so far, extremely limited pickup on Daily Mail or Page Six. We'll continue to keep
17                       an eye out and send pieces as needed, but so far it's been steady coverage on pure
                         speculatron We've also started to see a shrff on social, due largely to Jed and his team's
                         efforts to shift the narratrve towards shining a spothght on Blake and Ryan. Again we'll
18                       continue to send links and screenshots but wanted to send an update in the meanllme.
                         Prianly,. Normal

19                                                                                                         10/08/2024 16 35:<IO(UTC+O)



20

21                143.           Further, Ms. Nathan and her team at TAG helped generate or otherwise influence

22   the content put forth by various TikTok accountholders.
23                144.           During the same period of time, Ms. Nathan, Ms. Abel, and their teams were
24
     "heavily monitoring," had "friendlies updating" them, and sought to address unflattering commentary
25
     regarding Mr. Baldoni, while augmenting the spread of stories that were favorable to Mr. Baldoni.
26
                  145.           For example, on August 9, 2024, Ms. Abel circulated a screenshot of a post by a
27

28   woman stating, "Justin, the creator of a show called My Last Days, exploits the struggles of individuals

     facing terminal illnesses for his own gain. He found my friend, who is battling a serious illness, and
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                                                                    03/19/25 Page
                                                                               Page
                                                                                  47 62
                                                                                     of 81
                                                                                        of 119



 1   followed her life closely. Despite her grace in not speaking ill of him, I sensed from the start that
 2   something was deeply wrong. Justin weaponizes therapeutic language, presenting himself as thoughtful
 3
     and supportive, yet his actions reveal a very different reality. He portrays himself as an ally to women
 4
     and the vulnerable, but it's all a fa~ade- he manipulates the vernacular of care to mask his true intentions.
 5
     In reality, none of the proceeds from the show benefited the individuals he profiled. He even had the
 6

 7   audacity to depict her hometown, a vibrant and affluent community, as a small, impoverished town. His

 8   portrayal was not just inaccurate but insulting. Once the show aired, Justin took his profits and vanished,

 9   leaving nothing but a sense of exploitation in his wake. His behavior was not just tacky and gross- it was
10
     a betrayal of the very people he claimed to uplift."
11
                  146.      In response to the article, Ms. Abel stated, "I'm assuming this is not true in the
12
     slightest ... Either way, we've /fogged to Jed and his team for more serious action on the social side."
13

14

15

16

17

18
                  147.      Similarly, on August 13, 2024, the team discussed ways to use the "digital team"
19
     to "amplify []" positive stories about Mr. Baldoni.
20
                  148.      Likewise, on August 18, 2024, an employee of TAG suggested that they "chat with
21

22   Jed'' in response to other allegations made online regarding Mr. Baldoni.

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                                                                                             48 63
                                                                                                of 81
                                                                                                   of 119



 1

 2                                 From:
                                   To:
                                   To:                   Meissa Nathan
 3                                 To:
                                   To:                  Jenmfer Abet (ovmer}

 4                                 Let us chat to Jed as well on this
                                   Priclf1ly: Nonnel
 5                                                                             1MIB/2024 15:30.54(UTC+O)

 6

 7

 8                  149.       On any occasion, any member of Wayfarer or the social "manipulation" team could

 9   text the link to a positive story about Mr. Baldoni, or a negative story about Ms. Lively, and ask that

10   someone "boost" the story to the public, or "engag[e] in the comments" to fuel the desired narrative.
11
                    150.       On August 18, 2024, Mr. Baldoni circulated a TikTok video in which the poster
12
     criticized Ms. Lively for not speaking about domestic violence in press interviews. A member of Ms.
13
     Nathan's team responded that she would "let digital know."24
14
                    151.       During the same period of time, when media sources inquired about HR complaints
15

16   that were made on the set of the Film, Ms. Nathan, Ms. Abel, and their teams worked to suppress coverage

17   of these HR complaints.

18                  152.       Further, on or around August 14, 2024, media outlets directly inquired about HR
19
     complaints made on set because they were "being told there were at least three HR complaints filed against
20
     Justin Baldoni on the set of ' It Ends With Us"' and inquired "if the complaints were investigated and what
21
     the results were."
22
                    153.       By this time, individuals at TAG, Ms. Nathan, and Ms. Abel were aware of the
23
24   existence of HR complaints, and sought clarity as to the specific HR complaints at issue in order to better

25   counter them in the press.

26

27

28
     24 See @thick jewishgirl, TikTok, https://www .tiktok.com/@thickjewishgirl/v ideo/7404 I 86295993453870, (Aug. 17, 2024).


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                                                                              03/19/25 Page
                                                                                         Page
                                                                                            49 64
                                                                                               of 81
                                                                                                  of 119




                           From:
 2                         To:
                           To:             Melissa Nathan
                           To:             JBMIIBr Abel (owner)
 3                         Hey guys re the tmz thing re the HR complaints - our understanding 1s that 2 were form
                           Blake and        re the ·sexy· comment. Is the additional one from      re the thing with
 4                         Jamey and her apartment in nyc? Just want to clarify.
                         Pnanly:Normol

 5                                                                                            14/08/2024 19:02:28(UTC+o)


 6

 7                  154.           Approximately one minute later, Ms. Abel asserted the "need to position" the

 8   claims as "claims that are already out there about the kiss and the weight comment," referencing earlier
 9
     public reporting by TMZ on Mr. Baldoni's "lingering" kiss with Ms. Lively and Mr. Baldoni's comments

     regarding Ms. Lively's weight on set. 25
11

12
                      From:                Jennifer Abel (owner)
                      To:
13                    To:
                      To:
                                         Melissa Nathan

                      To:
14                    I think we need to position it as the claims that are already out there about the kiss and the
                      weight comment
15                    Pliority: Normal
                                                                                              14108/2024 19:03:32(UTC+0)
16

17
                     155.          On or around the same date, Ms. Nathan directly engaged with several media
18
     platforms, discussing the issue of the HR complaints made against Mr. Baldoni while on the set of the
19

20   Film.

21                   156.          On August 15, Ms. Nathan texted Ms. Abel that "DM hounded me re[:] HR

22   complaints." She stated that "DM" is not running any content about it, continuing "Jen, this went so well
23   I am fucking dying[.] I have to call you later in a bit and tell you how this went. It was genius. So okay,
24
     we have the four majors standing down on HR complaint [sic]. I think we are fine on that bit."
25
                     157.          During the same period of time, Ms. Nathan and her team at TAG planted or
26
     otherwise were involved in generating or influencing the content publicly put forth on social media,
27

28
     25
       TMZ, Blake Lively, Justin Baldoni She Felt Kissing Scene Lingered Too Long ... Feels He Fat-Shamed Her (Aug. 14, 2024,
     7 :55 AM), https://www.tmz .com/2024/08/ l 4/blake-l ively-justin-baldon i-fat-shamed- it-ends-with-us/.

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                       1:25-cv-00163              Document
                                                  Document 1-2
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                                                                       02/04/25
                                                                          03/19/25 Page
                                                                                     Page
                                                                                        50 65
                                                                                           of 81
                                                                                              of 119




 1   including Reddit and TikTok, as well as online media sources.
 2                    158.     For example, on August 13, 2024, various text messages were exchanged between
 3
     Ms. Abel and the journalist Sara Nathan (who, as explained above, is Melissa Nathan's sister). 26 These
 4
     messages consisted of drafts of a story outlining Ms. Lively's role in making final cuts to the Film.
 5
                     159.      After Sara Nathan circulated draft language related to Ms. Lively's involvement in
 6

 7   the different cuts of the film, Ms. Abel sent Sara Nathan revisions to the draft, which Sara Nathan offered

 8   to "amend."

 9                    160.     On the same day, an article authored by Sara Nathan, titled Blake Lively approved
10
     final cut of 'It Ends with Us' amid feud with co-star director Justin Baldoni, was published in Page Six,
11
     owned by the New York Post. 27
12
                     161.      The article addressed, among other topics, Ms. Lively's role in approving the final
13
     cut of the Film but emphasizes how Ms. Lively "contribut[ed] to almost every aspect of [the Film];" that
14

15   her husband "wrote one of the most important scenes in the movie;" and that she was "begged" to remove

16   one of her song choices from the Film, despite Mr. Baldoni's ownership of the "rights to the book via his

17   production company, Wayfarer."
18
                      162.     The language contained in the article is almost a verbatim copy of the language
19
     exchanged between Sara Nathan and Ms. Abel via text and reflects multiple of Ms. Abel's revisions to
20
     Sara Nathan's original proposed draft.
21
                     163.      TAG publicly shared this article on one or more social media platforms, including
22

23   Reddit, prompting various negative comments in relation to Ms. Lively and her husband and the narrative

24   that Ms. Lively "steamrolled" or "bulldozed" Mr. Baldoni and the Film "for her own personal gain."28
25

     26
26      Sara Nathan, PageSix, https://pagesix.com/author/sara-nathan/ (last visited Dec. 11, 2024)
     27
         Sara Nathan, Blake Lively approved final cut of 'ft Ends with Us' amid feud with co-star director Justin Baldoni, PageSix
27   (Aug. 13, 2024, 4:20 PM), https://pagesix.com/2024/08/13/celebrity-news/blake-lively-approved-final-cut-of-it-ends-with-us-
     amid-feud/.
     28
28      Somethingfunnynice,                                                Reddit                                             post
     https ://www.reddi t.com/r/Fauxmoi/comments/ Ierm7 jz/exclusive_blake_l ively_approved_final_cut_of_it/?rdt=54494#:~ :tex t
     =Blake%20Lively%20approved%20the%20final,end%20result%2C%20multiple%20sources%20 (2024); Fred Steggars, Page

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                   1:24-cv-10049-LJL
                       1:25-cv-00163               Document
                                                   Document 1-2
                                                            142-4 Filed
                                                                     Filed
                                                                        02/04/25
                                                                           03/19/25 Page
                                                                                      Page
                                                                                         51 66
                                                                                            of 81
                                                                                               of 119




                      164.      The very same day, Ms. Nathan sent an article from the Daily Mail entitled "Is
 2   Blake Lively set to be CANCELLED? String of 'hard to watch ' videos that have surfaced following 'tone
 3
     deaf' Q&A to promote It Ends With Us could tarnish 36-year-old star's golden Hollywood image for
 4
     good." 29
 5
                      165.      Ms. Abel stated, "You really outdid yourself with this piece," and Ms. Nathan
 6

 7
     responded, "That's why you hired me right? I'm the best."

 8                    166.      Following the August 2024 launch of Ms. Lively's hair care line, Blake Brown,

 9   which she spent seven years building, the Instagram account of the brand was flooded by harassing and

     derogatory comments, including many posted by user accounts that had no followers and no prior posts
11
     (suggesting inauthenticity), and which did not relate to the brand's products. To take just one example,
12
     one comment posted on the Blake Brown account (by a user that, as of December 19, 2024, shows user
13
     metrics indicating O posts, 0 followers, and O following), commented: "How about you stop paying the
14

15   media to trash and smear Justin that would be a good start you awful human being." Another user (also

16   with O posts, 0 followers, and Ofollowing) posted: "We want Justin' s cut of the movie!! He actually care

17   about DV."30
18
                      167.      Mr. Baldoni and Mr. Sarowitz, along with Mr. Heath, not only encouraged efforts
19
     to target Ms. Lively and her family, but they went as far as to provide input and ideas on ways to negatively
20
     influence the narrative against Ms. Lively and her family.
21

22
      Six comment, https ://pagesix.com/2024/08/ l 3/celebrity-news/blake-lively-a pproved-final-cut-of-it-ends-with-us-amid-feud/
23
      (Aug. I 3, 2024) ("Sounds like Lively used her power even though he had bought the rights and was the director. And then she
      pushed him out. It's obvious all the info comes from her camp."); IFNOTMEWHO, Page Six comment,
24    https ://pagesix.com/2024/08/ 13/celebrity-news/blake-lively-approved-final-cut-of-it-ends-with-us-amid-feud/ (Aug. 13, 2024)
      ("Kinda sounding like a mean girl behind all the makeup and fake smiles. No longer a fan.").
25    29
         See Alanah Kholsa & Jo Tweedy, Is Blake Lively set to be CANCELLED? String of 'hard to watch' videos that have surfaced
     following 'tone deaf' Q&A to promote It Ends With Us could tarnish 36-year-old star's golden Hollywood image for good,
26    Dailymail.com (Aug. 16, 2024, 7: 17), https://www.dailymail.co. uk/femail/article-13749783/Blake-Lively-cancelled-
      interview-Ends-film.html.
27    30
             See     @ judy_bees,      Blake     Brown     Beauty      Instagram     comment,      https://www.instagram.com/p/C-
      oLDRgNyOl/?igsh=MWJkbGwxbGpIOXo3d0%3D%3D, (Aug. 13, 2024), ("How about you stop paying the media to trash
28    and smear Justin that would be a good start you awful human being."); @ronn.iejac, Blake Brown Beauty lnstagram comment,
      https://www.instagram.com/p/C-oLDRgNyOI/?igsh=MWJkbGwxbGplOXo3d0%3D%3D , (Aug. 13, 2024) ("We want
      Justin's cut of the movie!! He actually care about DY.").

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                                                                               03/19/25 Page
                                                                                          Page
                                                                                             52 67
                                                                                                of 81
                                                                                                   of 119



 1                 168.       For instance, on August 9, 2024- the Film's release date- after sharing certain
 2   negative articles about himself with Ms. Abel, Mr. Baldoni stated, "there's no way we can just let this
 3
     go."
 4
                   169.       Additionally, on August 15, 2024, Mr. Baldoni texted Ms. Nathan and Ms. Abel,
 5
     stating that his business partner, Mr. Sarowitz, suggested "flipping the narrative" arising from unnamed
 6

 7
     sources who had made false claims about Mr. Reynolds' involvement in the script of the Film, and

 8   suggested ways to manipulate those rumors to make Mr. Reynolds appear to be anti-feminist. There was

 9   no truth to these claims.
10

11                          From:                  Justin Baldoni
                            To:                  Melissa Nathan
                            To:                  Jennifer Abel (owner)
12                          No worries -
                            Quickly
13                          My partner Steve asked about flipping the narrative from this leak this am about ryan saying
                            script w as a disaster and he saved the movie -
                            Priority: Normal
14
                                                                                                 15/08/2024 17:58:26(UTC+0)

15

16

17                        From:                  Justin Baldoni
                          To:                  Melissa Nathan
                          To.                  Jennifer Abel (owner)
18                        To- something about ryan claiming the female hired was feminist writer didn't know how to
                          tackle a female film etc
19                        Using their own words against them -
                          Priority: Normal

20                                                                                           15/08/2024 17:59:16(UTC+0)


21

22                170.        Ms. Nathan assured Mr. Baldoni that "[t]his is an easy flip," before indicating that

23   she was already working on a story for Variety that would achieve this goal.

24                171.        As of August 16, 2024, Ms. Nathan was continuing to confer with additional
25
     reporters to release stories that would cast Ms. Lively and/or Mr. Reynolds in a negative light.
26
                  172.        Meanwhile, Ms. Lively neither publicly commented nor directed any of her
27
     representatives to comment to or engage with the print media, social media or otherwise about the hostile
28
     work environment Mr. Baldoni, Mr. Heath and Wayfarer created. Indeed, throughout the time period

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                                                                    02/04/25
                                                                       03/19/25 Page
                                                                                  Page
                                                                                     53 68
                                                                                        of 81
                                                                                           of 119




     discussed herein, Ms. Lively did not provide her publicist with details about the hostile work environment
 2   that she, alongside the other cast members and crew, had experienced.
 3
                   173.       Moreover, Ms. Lively expressly instructed her publicist not to engage with press
 4
     inquiries, including ones regarding the on-set behavior of Mr. Baldoni, Mr. Heath, or Wayfarer.
 5
                   174.       Experiencing the very sudden tidal wave of the increasingly negative public
 6

 7
     attention building around her, however, Ms. Lively began to suspect that the extraordinarily rapid shift in

 8   public sentiment and press coverage that began immediately after the rest of the cast and crew attended

 9   the world premiere was likely orchestrated by the men about whom she had raised HR complaints.

             G. Mr. Baldoni Retaliated Because HR Complaints Regarding His Behavior Threatened His
11              Feminist Brand.

12                 175.       On information and belief, Mr. Baldoni was desperate to suppress any suggestion

13   that he engaged inappropriate conduct, much less sexually harassing conduct, because it would entirely
14   undermine his carefully curated public image as a feminist ally.
15
                   176.       In 2017, Justin Baldoni presented a Ted Talk entitled, "Why I'm Done Trying to
16
     be ' Man Enough. '" Mr. Baldoni challenged men to "be man enough to stand up to other men when [they]
17
     hear ' locker room talk,' when [they] hear stories of sexual harassment." 3 1 Mr. Baldoni asked listeners,
18

19   "will you actually stand up and do something so that one day we don't have to live in a world where

20   a woman has to risk everything and come forward to say the words "me too?"32

21

22

23

24

25

26

27
     31
28      Pangambam S, Justin Baldoni: Why I'm Done Trying to Be "Man Enough" (Transcript), The Singju Post (Jan. 16, 20 18,
     4:45), https://singjupost.com/justin-baldoni-why-im-done-try ing-to-be-man-enough-transcript/?s ingl epage= I .
     32 Id. (emphasis added).


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                      1:25-cv-00163                              Document
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                                                                                         03/19/25 Page
                                                                                                    Page
                                                                                                       54 69
                                                                                                          of 81
                                                                                                             of 119




                   177.       During the TED Talk, Mr. Baldoni displayed numerous screenshots of media
 2   coverage of himself, from various sources, as examples of his decision to use his "social platform as a
 3
     kind of this Trojan horse wherein [he] could create a daily practice of authenticity and vulnerability." Mr.
 4
     Baldoni then claimed "(t]he response has been incredible. It's been affirming, it's been heartwarming. I
 5
     get tons of love and press and positive messages daily."33
 6




                             -
                                                                                                           Q.
 7                             X             X           X



 8
                                                        Ji/Ill'/ /+--""""'
                                                        Baldon
 9                                                      1111111)1!•




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12                              •11 . \ Jane the
                                   '" Gushes 0
                                            Fatherho,
                                            Swoonin1
13                                          .,
14
                             Why I'm done trying to be "man enough"
15                           8,678,912 views 0 1Juslin Baldoni I TEDWomen 2017 • November 2017

                   178.       Around the same time of that TED Talk in 2017, Mr. Baldoni announced the launch
16

17   of a male talk show through his media company, Wayfarer Entertainment, called Man Enough. Through

18   that show, Mr. Baldoni sought to have "public conversations on camera that [he] had never seen men

19   have."34
20
                   179.       In one episode of his show Man Enough, Mr. Baldoni hosted a round table with
21
     "really strong men," including Mr. Heath and others, in reaction to the #MeToo movement- to
22
     "collectively learn from each other, from experts, and hear firsthand from women and try to figure out
23
     how we can be better allies in our responses and in our actions." 35 In the episode, Mr. Baldoni questions
24

25

     33
26        Justin Baldoni, Why I'm Done Trying to be "Man Enough," TED, at 8:10- 8:28 (Nov. 2017),
     https://www.ted.com/talks/justin baldoni why i m done trying to be man enough?subtitle=en.
     34
27       Justin Baldoni, Man Enough: Undefining My Masculinity, HARPERONE (2021) at 8; see also Man Enough, IMDB,
     https://www.imdb.com/title/tt7754654/ (last visited Dec. 15, 2024).
     35
28      Jamie Primeau, Justin Baldoni Knows The Most Important Way For Men To Be Better #Me Too Allies Is To Listen, Bustle
     (Jul y 24, 201 8), https://www.bustle.com/p/justin-baldonis-man-enough-features-a-candid-metoo-conversation-about-how-
     men-can-be-better-alIies-9857238.

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                         1:25-cv-00163              Document
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                                                             142-4 Filed
                                                                      Filed
                                                                         02/04/25
                                                                            03/19/25 Page
                                                                                       Page
                                                                                          55 70
                                                                                             of 81
                                                                                                of 119




     the group, "Who at this table has seen something and didn' t say anything ... I mean objectification,
 2   harassment, and then not said anything?"36
 3
                     180.       In 2021, the Man Enough franchise added a podcast, also produced by Wayfarer
 4
     Studios. 37 The Man Enough podcast has featured episodes entitled "Strength in Unity: Men Supporting
 5
     Women In Leadership," "From Misogyny's Victim To Male Privilege ... ," and "Modern Dating: Consent,
 6

 7   Boundaries And Respect. " 38

 8                   181.       Mr. Baldoni stated in his 2017 TED Talk, men "are the problem" they created the

 9   "glass ceiling"; 39 and if they want "to be part of the solution, then words are no longer enough." 40 By Mr.

     Baldoni's account, he became a "feminist fighting for gender equality ... so quickly that [he] hadn' t even
11
     realized that's what [he] was or was trying to do."4 1
12
                     182.       In Mr. Baldoni's own words, his "activism" "starts in the mirror, with an audience
13
     of one."42 Mr. Baldoni has stated that he "feel[s] a deep responsibility" to "tear down the walls" of"power
14

15   and privilege" 43 and "believe[s] the world needs men to show up, not in big ways, but in hundreds and

16   thousands of little ways" to "create a better, more equitable, just world." 44

17                   183.       Over the past approximately seven years, and as relevant to this Complaint, Mr.
18
     Baldoni has made the following statements:
19
                     (a)        "Let' s just shut up and finally listen to the women in our lives." 45
20

21

22   36 Man Enough, YouTube, at 12:35 -     12:45 (July 26, 201 8), https://www.youtube.com/watch?v=i2 lxmCbd8iw&t=l070.
     37Justin   Baldoni, Liz Plank, and Jamey Heath, The Man Enough Podcase Premiere, YouTube (June 2 1, 2021),
23
     https://www.youtube.com/watch?v=EFEEm9DEy6w#:-:text=New%20episode%20of%20The%20%23ManEnoughPodcast%
     20every%20Monday%2C,Premiere%20episode%20with%20Karamo%20Brown%20out%20now.
24   38
        Episode Pages, The Man Enough Podcast https://manenough.com/podcast/ (last visited Dec. 15, 2024).
     39 See Justin Baldoni, supra n. 33 at 15:45-15:5 1. Regarding the "glass ceiling," in a recent interview, Mr. Baldoni stated that
25   "[d]irecting is a very lonely job" because he was "at the top of the totem pole"- all without acknowledging that Ms. Lively's
     cut of It Ends With Us was released, not his.                   See How to Fail With Elizabeth Day, Dec. 3, 2024,
26   https ://podcasts.apple.com/gb/podcast/how-to-fail-with-elizabeth-day/id 140745 1189.
     40
        See Justin Baldoni, supra n.33 at 15:52- 15:55.
27   41
        Justin Baldoni, supra n.34 at 8.
     42
        Id. at 24.
28   43
        Id. at I.
     44
        Id. at 24.
     45 Id. at 11.


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              Case
                 Case
                   1:24-cv-10049-LJL
                       1:25-cv-00163               Document
                                                   Document 1-2
                                                            142-4 Filed
                                                                     Filed
                                                                        02/04/25
                                                                           03/19/25 Page
                                                                                      Page
                                                                                         56 71
                                                                                            of 81
                                                                                               of 119




                    (b)         "[M]en are going to have to start doing now is recognizing when they [made women
 2   uncomfortable] and didn't realize it. I think that's when the other side of the 'Me Too' movement is 'I'm
 3
     Sorry. ,,,46
 4
                    (c)         "Growing up, how many times did I hear 'bros before hoes?' ... [H]ow demeaning,
 5
     how sexist ... We've built this system- the opposite of accountability- and now it's time to figure out
 6

 7   how, as men, we can break that system, and it starts with showing what a real man is. A real man is

 8   someone that says, 'Hey man, we're still friends , but that's not cool. "'47

 9                  (d)         "Imagine ... being sexually assaulted, finally coming forward about this traumatic

     thing that has happened to you . .. and having people acting like you were to blame. " 48
11
                    (e)         "[I]t's important for us men to realize how crucial a role bystanders can play in
12
     stopping and preventing assault and harassment, how we must be a part of the movement and call for
13
     respect and equality for women, act upon that call to action, and continue to perpetuate positive behaviors
14

15   among ourselves and our communities."49

16                  (f)         "Are you confident enough to listen to the women in your life ... And will you be

17   man enough to stand up to other men when you hear 'locker room talk', when you hear stories of sexual
18
     harassment?"50
19
                    (g)         "All of us have a situation, or a pattern that we need to end the cycle of." 5 1
20

21

22

23
     46 Laurel Pinson, Jane the Virgin' Star Justin Baldoni Wants to End Toxic Masculinity: 'The Glass Ceiling Exists Because
24   Men Put It There, GLAMOUR (Dec. 4, 2017), https://www.glamour.com/story/jane-the-virgin-star-justin-baldoni-wants-to-
     end-toxic-masculinity.
25   47 Id.
     48
        Justin Baldoni, Boys Will Be Human: A Get-Real Gut-Check Guide to Becoming the Strongest, Kindest, Bravest Person You
26   Can Be, HARPERCOLLINS (2022) at 242-43.
     49 Leah Fessler, Actor Justin Baldoni has crucial advice for men who've offended women, but still want to be feminists, Quartz

27   (Oct. 30, 2018), https://qz.com/work/1408444/hww4-justin-baldoni.
     50
        Dressember, A TEDTALK REVIEW OF JUSTIN BALDONI'S 'WHY I'm DONE TRYING TO BE MAN ENOUGH', (2017)
28   https ://www.dressember.org/blog/justinbaldonitedtalk.
     51
          Justin Baldoni Talks "It Ends with Us" movie adaptation, CBS Mornings, (Aug. 7, 2024),
     h ttps: / /www .cbs news.com/video/jus tin -baldon i-ta Iks -i t-ends-wi th-us-mov ie-ada pta tion/.

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                   Case
                     1:24-cv-10049-LJL
                         1:25-cv-00163        Document
                                              Document 1-2
                                                       142-4 Filed
                                                                Filed
                                                                   02/04/25
                                                                      03/19/25 Page
                                                                                 Page
                                                                                    57 72
                                                                                       of 81
                                                                                          of 119




                    (h)      "First of all, I want men to stop asking the question, why do women stay. I want

 2   men to take accountability. I want men to hold other men accountable. " 52
 3
                    (i)      "[T]here's never an excuse, no matter how much trauma a man has, there is never
 4
     an excuse to lay hands and hurt a woman, physically or emotionally. And we have to also understand that
 5
     the majority of domestic violence isn't physical, these are, the scars are invisible, these are things that,
 6

 7   you know it's emotional it's gaslighting, it's all of the various things that so many people experience."53

 8                  (j)      "I think we judge enough women and victims ... but the real question is, why do

 9   we keep allowing men to harm ... " 54

                    184.     In sum, Mr. Baldoni has crafted a public image of himself as not just an ally , but
11
     also a fierce advocate for women. Contrary to this image, as set forth in detail above, Mr. Baldoni has
12
     spent the last several months and significant resources on his goal of wanting to "bury" and "destroy" Ms.
13
     Lively for raising concerns about his and his CEO's harassing behavior and other disturbing conduct.
14

15         G. Ms. Lively, Her Family, and Her Businesses Have Suffered and Have Been Substantially
              Harmed By the Wayfarer Parties' Conduct.
16
                    185.     While there was considerable online coverage of the Film and Ms. Lively leading
17
     up to the Film's nationwide release in U.S. theaters on August 9, 2024, that coverage was mostly neutral.
18
     Some online discussions referenced an apparent "feud" between the cast members, but they included a
19
     smaller percentage of negative and positive mentions.
20
                    186.     Soon, however, Ms. Lively and her team became aware of an increase in negative
21
     media articles and social media coverage about her.
22

23

24

25

26

27   52 fd.
     53
         Justin Baldoni Reflects On Experience Of Directing & Acting In 'It Ends With Us', AccessDaily via
28   AccessHo llywood (Dec. 5, 2024) https://www .accessonline.com/videos/justin-baldoni-reflects-on-experience-of-
     d irec ti ng-acti ng-i n-i t-ends-w ith-us.
     54   Id.

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              Case
                 Case
                   1:24-cv-10049-LJL
                       1:25-cv-00163                 Document
                                                     Document 1-2
                                                              142-4 Filed
                                                                       Filed
                                                                          02/04/25
                                                                             03/19/25 Page
                                                                                        Page
                                                                                           58 73
                                                                                              of 81
                                                                                                 of 119




                        187.    The significant spike in the volume of negative sentiments toward Ms. Lively,
 2   included notable spikes on approximately August 8 and 14, 2024, and continued to trend mostly negative
 3
     for the remainder of 2024:
 4
                                            Net Volume of Positive and Negative Mentions of Blake Lively
                                                        June 14, 2024 - December 19, 2024
 5             4,000

               2,000
 6
                   0   • ---

 7            -2,000

              -4,000
 8            -6,000

              -8,000
 9
              10,000




11

12
                        188.    Indeed, as noted above, TAG itself noted a shift due to their effo1ts as early as
13

14   August 10, 2024.

15                      189.    As of that date, the sentiment towards Ms. Lively turned toxic, with a sudden

16   increase in negative comments- including hypersexual content and calls for Ms. Lively to "go fuck"
17
     herself. 55
18
                        190.    Nearly decade-old interviews of Ms. Lively were surfaced, commenting on her
19
     tone, her posture, her diction, her language. 56
20

21   55
        @pocketsara, X post, https://x.com/pocketsara/status/ 1824 I 46308707291152, (Aug. 15, 2024) ("Blake Lively is a cunt")
22   @imtotallynotmo I , X, Aug. 15, 2024 ("You 're a piece of shit, genuinely go fuck yourself'); FluffyPinkUnicorn VII, Redd it
     post,      https ://www .reddi t.com/r/DListedComm unity /comments/ l escnuy/blake_Iively_getting_ criticized_over_press_ tour/,
     (Aug. 14, 2024) ("Bottled blonde + long legs + fake tits - (brains, judgement, & humility) = Blake Lively"); KettlebellFetish
23
     Redd it                                                                                                                    post,
     https ://www .reddi t.com/r/DListedCommunity/comments/ 1escnuy/blake_Ii vel y_getting_ criticized_over_press_tour/,      (Aug.
24   14, 2024) ("Even with the nose job, she's such a butterface, great body, hair, but odd face and that body would be so easy to
     dress, just a dream body, and nothing fits right, odd clashing colors, just tacky."); Creative_Ad9660, Reddit___QQ§!,
25   https ://www.reddi t.com/r/DListedCommunity/comments/1 escnuy/blake_Ii vel y_getting_criticized_over_press_tour/,        (Aug.
     15, 2024) ("Boobs Legsly"); @chick3635 1, X post, (Aug. 16, 2024) ("Well Blake I a bitch .. She always has been, nice to see
26   people realize it now.. . Also WAY too much plastic surgery.."); @Martin275227838, X__QQfil,
     https://x.com/LizCrokin/status/182461 850043 17249 l 7, (Aug. 17, 2024) ("@blakelively is a pedophile supporting bully ...");
27   @ZuperGoose, X post, (Aug. 17, 2024) ("Liz tag the bitch @blakelively Blake= pedo"); @myopinionmyfact, X post, (Aug.
     22, 2024) (" ... @blakelively YOU ARE SUCH A BITCH! What a horrible rude bitch you are. I cannot believe somebody
28   fucked u, made a kid with u, married u and now has to be stuck with your bitch ass. OMG LMAO I would run! ").
     56
        Beth Shilliday, Blake lively Taking a Social Media Break After Being labeled a 'Mean Girl' Amid 'ft Ends With Us '
     Backlash, Yahoo Entertainment (Sept. 5, 2024, 8:04) https://www .yahoo.com/entertainment/blake-lively-taking-social-media-

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              Case
                 Case
                   1:24-cv-10049-LJL
                       1:25-cv-00163               Document
                                                   Document 1-2
                                                            142-4 Filed
                                                                     Filed
                                                                        02/04/25
                                                                           03/19/25 Page
                                                                                      Page
                                                                                         59 74
                                                                                            of 81
                                                                                               of 119




                    191.       Ms. Lively was criticized for how she was marketing the Film, she was repeatedly
 2   called a "bully," a "mean girl," and "controlling," and was criticized for allegedly marginalizing Mr.
 3
     Baldoni, among many other things. 57
 4
                    192.        Articles- which members of the TAG and Jonesworks team working on behalf of
 5
     Mr. Baldoni and Wayfarer credited themselves with influencing--dissected Ms. Lively and contemplated
 6

 7   her "cancellation." 58

 8                  193.        On information and belief, the Wayfarer team seeded social media content into

 9   publications with small audiences and lax editorial standards, and then fed those posts and/or articles to

     publications like Page Six, Newsweek, NY Post, TMZ, and BuzzFeed . These publications have larger
11
     audiences and greater reach, which significantly amplified the negative sentiment toward Ms. Lively.
12
     Content from low-influence sites was often linked or referenced in articles on these high-influence
13

14

15   120424507.html (discussing 2016 interview of Blake Lively by Kjersti Flaa in which B. Lively "snarked" at Ms. Flaa);
     Francesca Bacardi, Page Six, Blake Lively once snapped at reporter for asking about Penn Badgley romance: 'I thought you
16   were supposed to be classy' (Aug. 19, 2024, 12:02) https://pagesix.com/2024/08/19/entertainment/blake-lively-snapped-at-
     reporter-for-asking-about-penn-badgley/ (referring to 2008 interview); Gabi Duncan, Blake Lively called out again for
17   repeatedly using 'problematic ' transgender slur in resutfaced interviews, Page Six, (Aug. 18, 2024, 10:27)
     https ://pagesix .com/2024/08/18/entertainment/blake-lively-called-out-for-repeatedly-using-transgender-slur/ (discussing 2012
18   interview); Marina Urman, Blake Lively Under Fire Again For Using Transgender Slur In Multiple Resurfaced Interviews ,
     BoredPanda, (Aug. 19, 2024, 7:21) https://www.aol.com/blake-lively-under-fire-again-l42ll62 17 .html (discussing 2008,
19   2012, 2009, and 2016 interviews).
     57
        Jessica Green and Alanah Khosla, How Blake Lively keeps getting it wrong: Ryan Reynolds' wife is criticised for glossing
20   over domestic violence during press for It Ends With Us amid 'rift' with director - and its just the latest in a string of
     controversies for the star, Dailymail.com (Aug. 15, 2024), https://www.dailymail.co.uk/femail/article- 13742675/How-Blake-
21   Lively-keeps-getting-wrong-slammed-glossing-domestic-violence-Ends-Us.html ; Perez Hilton, Blake Lively Was 'Effortlessly
     Rude' On It Ends With Us Set, Says Insider, But Justin Baldoni Was Problematic Toof (Aug. 19, 2024 )
22   https://perezhilton.com/blake-lively-effortlessly-rude-it-ends-with-us-set-justin-baldoni-problematic/ ("I got this impression
     from Justin that he was just really, really stressed and fatigued about this constant inability to control the project he was
     making ... so much so that when you'd ask him questions, he'd be like, 'Well just ask Blake' ... because when Blake got there
23
     she would have a lot of really strong thoughts and feelings."); Riley Cardoza , Jana Kramer reacts to Blake lively 's domestic
     violence comments, insists 'it does define you', Page Six, (Aug. 26, 2024) https://pagesix.com/2024/08/26/celebrity-news/jana-
24   kramer-reacts-to-blake-livelys-dv-comments-it-does-define-you/ ("Lively, notably, has been slammed by social media users
     for marketing her Blake Brown haircare and Betty Buzz alcohol brand while promoting the movie."); Kirsty Mccormack,
25   Meghan McCain slams 'insensitive' and 'strange' Blake Lively over It Ends With Us controversy: 'I don't understand why
     she's famous', Daily Mail.com, (Aug. 22, 2024, 11 :57) https://www.dailymail.co.uk/femail/article- 13769327/meghan-mccain-
26   slams-blake-lively-strange-insensitive-ends-drama.html; Giovana Gelhom , Blake Lively & Justin Baldoni 's Reported On -Set
     Clash       Shows      How       Their      Feud     Really      Began,     SHEKNOWS         (Aug.    15,     2024,     11:55)
27   https ://www.sheknows.com/entertain ment/articles/3082 123/blake-l ively-justi n-baldoni-feud-beginnings/ ("[Lively] wasn't
     engaged in the filming process and wanted to get out of shooting the moment she could."); Laura Collins, The REAL reason
28   why Blake lively and Justin Baldoni 's It Ends With Us feud has upended plans for sequel, DailyMail.com, (Aug. 22, 2024)
     https://www .dailymail.co.uk/tvshowbiz/article-13766 11 I/Blake-Lively-Justin-Baldoni-feud-upends-sequel.html.
     58
        See also Alanah Kholsa & Jo Tweedy, supra n. 29.

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                     Case
                        Case
                          1:24-cv-10049-LJL
                              1:25-cv-00163             Document
                                                        Document 1-2
                                                                 142-4 Filed
                                                                          Filed
                                                                             02/04/25
                                                                                03/19/25 Page
                                                                                           Page
                                                                                              60 75
                                                                                                 of 81
                                                                                                    of 119




 1   platforms.

 2                         194.   The "social manipulation" campaign engineered by Mr. Baldoni and Wayfarer
 3
     helped create and sustain a negative news cycle and social media algorithm around Ms. Lively.
 4
                           195.   The online narrative continues to trend more negatively as compared other weeks
 5
     and months prior to the social manipulation campaign, as reflected in the sentiment chart dating from the
 6

 7   publicity event on June 13, 2024, through to the present:

 8                                            Normalized Net Sentiment of Mentions of Blake Lively
                                                      June 14, 2024 - December 19, 2024
 9      5.00
        4.00
10      3.00


11
        0.00

12     -1.00
       -2.00

13     -3.00
       -4.00

14     -5.00

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                                                                     ■ Net Sentiment (Scaled)
16

17
                           196.   This was precisely the effect that the Baldoni-Wayfarer team hoped to achieve-
18
     they manipulated the social conversation to discredit and "bury" Ms. Lively in retaliation for reporting
19
     her concerns about harassing and unsafe conduct during the production of the Film, and in the hopes of
20

21
     deterring Ms. Lively from potentially taking those same concerns public. This campaign has been

22   devasting to Ms. Lively, including by causing substantial harm to Ms. Lively, her family , as well as her

23   businesses and all the people who work at each of them.
24
                           197.   Unlike Wayfarer and Mr. Baldoni, Ms. Lively has been precluded from not only
25
     experiencing the success of the Film, but also from having the ability to engage further with her
26
      businesses, fans, and social media followers without immediately triggering an onslaught of hateful
27
     comments. Instead, Ms. Lively and her family have been forced to contend with a wide-reaching negative
28

     media campaign.

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            Case
               Case
                 1:24-cv-10049-LJL
                     1:25-cv-00163          Document
                                            Document 1-2
                                                     142-4 Filed
                                                              Filed
                                                                 02/04/25
                                                                    03/19/25 Page
                                                                               Page
                                                                                  61 76
                                                                                     of 81
                                                                                        of 119



 1               198.      When it became clear that this media blitz was the result of an intentionally seeded,
 2   cultivated and financed campaign against her, Ms. Lively began to experience mental, physical,
 3
     professional, and financial harms that continue to this day.
 4
                 199.      The effects on Ms. Lively's professional life were immediate and substantial.
 5
     Given the ongoing nature of the campaign and the associated negative public sentiment, Ms. Lively did
 6

 7   not believe she could proceed with public appearances or events without being forced to openly discuss

 8   what happened on set. For example, Ms. Lively cancelled a critical Target corporate event for her

 9   haircare company, and she backed out of her scheduled role to host the premier episode of the 50th
10
     anniversary season of Saturday Night Live in September 2024.
11
                 200.      The retaliation campaign against Ms. Lively has damaged her companies as well.
12
     The long-planned launch of her haircare line, Blake Brown- a date which was set more than a year prior
13
     to the date selected (not by Ms. Lively) for the release of the Film-was caught up in the crossfires of
14

15   the negative environment against Ms. Lively. Initially, before the "social manipulation" campaign

16   started, Ms. Lively was informed that Blake Brown was Target's largest haircare launch on record. Based

17   on internal sales projections, the sudden and unexpected negative media campaign launched against Ms.
18
     Lively depressed retail sales of Blake Brown products by 56%-78%. This dramatic drop was completely
19
     at odds with the high satisfaction scores that Blake Brown products received in the significant consumer
20
     testing performed before launch or its initial success after launch.
21
                 201.      Around the same time, the social media accounts for Ms. Lively's brands-
22

23   including Betty Buzz and Betty Booze- were flooded by hateful comments, which began to echo through

24   other social and traditional media outlets. On information and belief, the astroturfing campaign was
25   responsible for this wave of comments. None of Ms. Lively's businesses could operate as they ordinarily
26
     had before; instead, the Baldoni-Wayfarer astroturfing campaign forced each of Ms. Lively's businesses
27
     to go "dark" on social media in August. Ms. Lively did the same, for nearly two months, and during this
28
     time was unable to market or promote any of her businesses, all of which rely on her support, causing

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              Case
                 Case
                   1:24-cv-10049-LJL
                       1:25-cv-00163               Document
                                                   Document 1-2
                                                            142-4 Filed
                                                                     Filed
                                                                        02/04/25
                                                                           03/19/25 Page
                                                                                      Page
                                                                                         62 77
                                                                                            of 81
                                                                                               of 119




      issues with many business partners and customers. Moreover, when Ms. Lively limited comments on
 2    her personal Instagram account to limit the toxic harassment she was receiving, those users simply
 3
      migrated to the social media accounts and websites of Blake Brown, Betty Buzz, and Betty Booze.59
 4
      Many of the negative comments on these businesses ' social media accounts and websites had nothing to
 5
      do with the products or brands, but instead referenced the Film, Mr. Baldoni, and/or Ms. Lively as a
 6

 7
      "bully" or "mean girl."

 8                  202.        The emotional impact on Ms. Lively has been extreme, not only affecting her, but

 9    her family , including her husband and four children. There are days when she has struggled to get out of

      bed, and she frequently chooses not to venture outside in public. While she has fought to maintain her
11
      personal life and business interests, behind closed doors she has suffered from grief, fear, trauma, and
12
      extreme anxiety. She also has been experiencing repeated and painful physical symptoms as a result of
13
      this experience. Mr. Reynolds, too, has been affected mentally, physically, and professionally by his wife
14

15    and children's pain. Worst of all , however, has been the impact on their young children, who have been

16    traumatized and emotionally uprooted in ways that have substantially impacted their well-being.

17                  203.        These are but a few examples of the substantial harm caused by this malicious
18
      campaign, which pervaded, and continues to pervade, all aspects of Ms. Lively's life. Ms. Lively never
19
      sought out conflict with Wayfarer, Ms. Baldoni, or Mr. Heath, but instead consistently attempted to speak
20
      up for a safe and respectful workplace privately in the hopes of protecting herself, as well as the cast and
21
      crew, without jeopardizing a Film that she believed could make a difference in peoples' lives. In
22

23    response, Mr. Baldoni, Mr. Heath, and those working for them, sought to destroy Ms. Lively and anyone

24

25
     59
       Therese AK, TikTok, https://vm.tiktok.com/ZGeTkjarm/ (Aug. 26, 2024) ("Well now I know what NOT to buy, thank you.");
26   @catherinaattdesign, Blake Brown Beauty Instagram comment, (Aug. 30, 2024) ("Be ashamed! A great opportunity was
     missed to share a great message through the film where it would have made a big difference in many lives. Now remember
27   'she will make up a story where she is the victim so that others feel empathy for her" '); @santerialily, Blake Brown Instagram
     comment, (Aug. 26, 2024) ("Nobody is going to buy this crap now. Good job in ruining your brand before it even started.
28   Nasty mean girls never prosper."); @ho llingsworth 1830, Blake Brown lnstagram comment, (Sept. 5, 2024) ("Ah, no thanks.
     Why would anyone buy your beauty products? Mo re overpriced junk by a vapid and narcissitic [sic] celebrity. I would rather
     spend my money with someone who can actually care about women. Take this crap and your florals and sit on it.").

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            Case
               Case
                 1:24-cv-10049-LJL
                     1:25-cv-00163          Document
                                            Document 1-2
                                                     142-4 Filed
                                                              Filed
                                                                 02/04/25
                                                                    03/19/25 Page
                                                                               Page
                                                                                  63 78
                                                                                     of 81
                                                                                        of 119



 1   else who knew the truth. Ms. Lively's discovery of the full extent of the retaliatory campaign launched
 2   by the Wayfarer Parties has left her with no choice. Through this Complaint, Ms. Lively seeks to set the
 3
     record straight, to hold the Wayfarer Parties and Associates accountable, and to shine a light on this new
 4
     form of retaliation so that it will not be used against any others who seek to stand up and speak out against
 5
     sexual harassment.
 6

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     1:24-cv-10049-LJL
         1:25-cv-00163   Document
                         Document 1-2
                                  142-4 Filed
                                           Filed
                                              02/04/25
                                                 03/19/25 Page
                                                            Page
                                                               64 79
                                                                  of 81
                                                                     of 119




             Exhibit A
      Case
         Case
           1:24-cv-10049-LJL
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From:
To:                          Imene Meziane                                                ; Jose h Lanius
Cc:                          David Weber
Subject:                     Lively - It Ends With Us - CONFIDENTIAL
Date:                        Thursday, November 9, 2023 5:14:20 PM
Attachments:                 Lively It Ends With Us Ltr Nov 9 23.DOCX


Dear lmene and Joseph,
With the tent at ive resolution of t he SAG-AFTRA strike, we are w rit ing to address how to handle a
return to the set of "It Ends W ith Us" (the "Fil m") . It is no surprise to t he Fi lm's producers that the
experience of shooting the Film has been deeply concerning on many levels. The complaints of our
client and others have been repeatedly conveyed and well-documented t hroughout pre-production
and photography.
While we reserve all legal rights, at this stage our client is w illing to forego a more formal HR process
in favor of everyone returning to work and finishing the Film as long as t he set is safe moving
forward. In order for our cl ient to feel safe returning to the production, we are attaching a list of
protections that w ill need to be guaranteed and observed by the Film's producers. If the production
is unwilling to accept or uphold these protections, our client is prepared to pursue her f ull legal
rights and remedies.
This letter is not intended to constitute a f ull statement of all facts and circumstances relating to this
matter. It is not intended to be, nor should it be construed as, a waiver, release or relinquishment of
any of our client's rights or remedies, legal or equitable, all of which are hereby expressly reserved.
Sincerely,
Lindsey
LINDSEY STRASBERG, ESQ. I Sloane, Offer, Weber and Dern, LLP



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please immediately notify us by reply e-mail at■■■■■■or by telephone a• • • •, and destroy the original transmission and its attachments
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                                                                         66 81
                                                                            of 81
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                                 Protections for Return to Production

In order for Blake Lively (BL) to be able to return to production on the Film, each of the
following protections must be agreed to in writing and met without fail going forward:

       1.      An intimacy coordinator must be present at all times when BL is on set.

       2.      There must be a closed set during the rehearsal or filming of any scene involving
               simulated sex or nudity and any observation via remote monitors shall be restricted
               to essential personnel as approved by BL (to be further described in a fully-
               negotiated, fully-executed, SAG-compliant nudity rider ("Nudity Rider")).

       3.      There is to be no spontaneous improvising of any scenes involving physical
               touching, simulated sex, or nudity. Scenes involving kissing, depictions of sexual
               intercourse, or any other physical touching must be contained in the screenplay (as
               approved by BL), choreographed in advance in the presence of the intimacy
               coordinator, and may only proceed as choreographed with the consent of all
               participants in advance.

       4.      Physical touching and/or comments on BL's physical appearance must only be
               done/made in connection with the character and scene work, not as to BL
               personally. Except as written into the screenplay or as strictly required in
               connection with make-up or costume preparation, there is to be no physical
               touching (including hugging) of BL, her on-set personnel and/or her employees.

       5.      There are to be no discussions of personal experiences with sex or nudity, including
               as it relates to conduct with spouses or others.

       6.      No one will enter, attempt to enter, interrupt, pressure, or request entrance to BL's
               trailer while she is in a state of undress for any reason.

       7.      There shall be no rehearsal or filming of any nudity and/or simulated sex without
               the Nudity Rider in place. Any such footage previously shot without the Nudity
               Rider in place, and in direct violation of SAG requirements, may not be used
               without BL's and her legal representatives' prior, written consent.

       8.      BL may have a representative of her choosing present with her on set for the
               remainder of the rehearsal and shooting days, including while on a closed set.

       9.      If BL is exposed to COVID-19, she must be provided notice as soon as possible
               after Wayfarer or any producer or production executive becomes aware of such
               exposure.

       10.     There shall be no retaliation of any kind against BL for raising concerns about the
               conduct described in this letter or for these requirements. Any changes in attitude,
               sarcasm, marginalization or other negative behavior, either on set or otherwise,
               including during publicity and promotional work, as a result of these requests is
               retaliatory and unacceptable, and will be met with immediate action.
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  11.   Sony must have a mutually-approved representative on set for the remainder of the
        rehearsal and shooting days, including on a closed set, to actively supervise the
        production, including monitoring the safety of the cast and crew, ensuring
        compliance with the schedule and overseeing logistics, problem solving and
        creative issues.

  12.   Wayfarer will engage an additional, experienced A-level producer, approved by
        Ms. Lively, to actively supervise the production, including monitoring the safety of
        the cast and crew, ensuring compliance with the schedule and overseeing logistics,
        problem solving and creative issues.

  13.   Wayfarer must empower any existing third party producer with appropriate and
        customary authority to actively supervise the production, including monitoring the
        safety of the cast and crew, ensuring compliance with the schedule and overseeing
        logistics, problem solving and creative issues.

  14.   Wayfarer will engage an A-list stunt double, approved by Ms. Lively, to rehearse
        and perform any scenes involving the character "Lily" that depicts rape or any act
        of sexual violence. Ms. Lively will only perform close-up work or other pre-
        approved shots for such scenes.

  15.   Any rehearsal or shooting involving Ms. Lively, or any other performer depicting
        the character of"Lily," that involves nudity (including partial nudity) or simulated
        sex must be conducted strictly in accordance with the Nudity Rider and must adhere
        to the approved script.

  16.   Any and all day players must be engaged through customary industry talent
        agencies and not through personal connections of the director and/or producer.

  17.   Hold an all-hands, in-person meeting before production resumes which will include
        the director, all producers, the Sony representative, the newly-engaged third party
        producer, BL and BL's designated representatives to confirm and approve a plan
        for implementation of the above that will be adhered to for the physical and
        emotional safety of BL, her employees and all the cast and crew moving forward.
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                                                                                                 As ofNovember 15, 2023


              Blakel, Inc.                                                     Copy to:
              f/s/o Blake Lively                                               Sloane Offer Weber and Dem LLP
              c/o WME Entertainment                                            10100 Santa Monica Blvd., Suite 7 50
              9601 Wilshire Blvd., 3rd Floor                                   Los Angeles, CA 90067
              Beverly Hills, CA 90210                                          Attn: David Weber and Lindsey
              Attn: Wanen Zavala                                               Strasber
              e-Mail:                                                           e-Mail:




                     REFERENCE IS MADE to that certain actor agreement ("Agreement"), dated as of May 5, 2023
             between IT ENDS WITH US MOVIE, LLC ("Company") and BLAKEL, INC. ("Lender") for the acting
             and related services of Blake Lively ("Artist") in connection with the motion picture CUITently entitled "IT
             ENDS WITH US" ("Picture").

                      WHEREAS, the parties wish to confirm the conditions under which Lender has agreed to cause
             Artist to render acting services on the Picture following the break in production of the Picture related to the
             2023 WGA and SAG-AFTRA labor strikes.
                      NOW THEREFORE, for good and valuable consideration, the receipt of which is hereby
             acknowledged, Company agrees to the following additional terms and conditions in connection with
             Artist's services and use of Artist's results and proceeds in the Picture which shall be deemed
             incorporated into the Agreement.

                     1.       An intimacy coordinator must be present at all times when Artist is on set.

                     2.       With respect to Artist, any and all rehear·sal, filming, reviewing of video playback or dailies
                              and/or any other interaction with any scene involving simulated sex, nudity and/or partial
                              nudity shall be restr·icted to those persons with essential business reasons for being present
                              ("Essential Personnel") as approved by Artist and Todd Black as further described in the
                              nudity rider attached as Schedule I hereto ("Nudity Rider").

                     3.       There is to be no spontaneous improvising of any scenes involving intimate/sexual physical
                              touching, simulated sex, or nudity with respect to Artist. Scenes involving Artist that
                              involves kissing, depictions of sexual intercourse, or any other intimate/sexual physical
                              touching must be contained in the screenplay (i.e., the most up to date draft approved by
                              Artist in writing), choreographed in advance in the presence of the intimacy coordinator,
                              and may only proceed as choreographed with the consent of all participants in advance.

                     4.       Physical touching and/or comments on Artist's physical appear·ance must only be
                              done/made in connection with the char·acter and scene work, not as to Artist personally.
                              Except as written into the screenplay or as strictly required in connection with make-up or
                              costume prepar·ation, there is to be no physical touching (including hugging) of Artist, her
                              on-set personnel and/or her employees.

                     5.       There ar·e to be no discussions with Artist of personal experiences with sex or nudity,
                              including as it relates to conduct with spouses or others.




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                                                                                              of 81
                                                                                                 of 119



                     6.       No one will enter, attempt to enter, interrupt, pressure, or request entrance to Artist's trailer
                              while she is in a state of undress for any reason.

                     7.       There shall be no rehearsal or filming of Artist (including A1tist's approved body double)
                              of any nudity, partial nudity and/or simulated sex except as expressly permitted in
                              accordance with the Nudity Rider. Any such footage of Artist (or Artist's body double)
                              previously shot without the Nudity Rider in place may not be used without Artist's and her
                              legal representatives' prior, written consent.

                     8.       Artist may have a representative of her choosing present with her on set for the remainder
                              of the rehearsal and shooting days, including while on a closed set.

                     9.       If Artist is exposed to COVID-19, she must be provided notice as soon as possible after
                              Wayfarer or any producer or production executive becomes aware of such exposure.

                      10.     There shall be no retaliation of any kind against Artist for raising concerns about the
                              conduct described in this letter or for these requirements. Any changes in attitude, sarcasm,
                              marginalization or other negative behavior, either on set or otherwise, including during
                              publicity and promotional work, as a result of these requests is retaliatory and unacceptable,
                              and will be met with immediate action.

                      11.     Except as otherwise agreed by Artist, while Artist is on set, Sony must have a mutually-
                              approved representative (Ange Giannetti is hereby approved) on set for the remainder of
                              the rehearsal and shooting days, including on a closed set, to actively supervise the
                              production, including monitoring the safety of the cast and crew, ensuring compliance with
                              the schedule and overseeing logistics, problem solving and creative issues.

                      12.     Wayfarer will engage an additional, experienced A-level producer, approved by Artist
                              (Todd Black is hereby approved) (the "Approved Producer"), to actively supervise the
                              production, including monitoring the safety of the cast and crew, ensuring compliance with
                              the schedule and overseeing logistics, problem solving and creative issues provided that
                              Company shall have the right to approve the agreement with the Approved Producer.

                      13.     Wayfarer must empower any existing third patty producer with appropriate and customary
                              authority to actively supervise the production, including monitoring the safety of the cast
                              and crew, ensuring compliance with the schedule and overseeing logistics, problem solving
                              and creative issues.

                      14.     Wayfarer will engage an A-list stunt double, approved by Artist (Lauren Shaw approved
                              as stunt double), to rehearse and perform any scenes involving the character "Lily" that
                              depicts rape or any act of sexual violence. Artist will only perform close-up work or other
                              pre-approved shots for such scenes. In addition, Wayfarer to engage Artist-approved body
                              doubles for both characters (i.e., "Lily" and "Ryle") for all simulated sex scenes (Cole
                              Mason approved as body double for "Ryle"). Wayfarer will use reasonable good faith
                              commercial efforts to engage the same Artist-approved individual as Artist's body double
                              and stunt double.

                      15.     Any rehearsal or shooting involving Artist, or any other performer depicting the character
                              of "Lily," that involves nudity (including partial nudity) or simulated sex must be
                              conducted strictly in accordance with the Nudity Rider and must adhere to the final, Artist-
                              approved script. For the avoidance of doubt, there will be no use of footage in the Picture




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                                                                                       Page
                                                                                          71 86
                                                                                             of 81
                                                                                                of 119




                              that depicts any underage character or underage actor engaged in sexual intercourse or any
                              fo1m of penetration.

                      16.     Any and all day players that pruticipate in any way in scenes with Altist involving nudity,
                              prutial nudity and/or simulated sex must be engaged through customruy industry talent
                              agencies and not through personal connections of the director and/or producer.

                      17.     At Altist's election, an all-hands, in-person meeting before production resumes which will
                              include the director, the existing producers, the Sony representative, the Approved
                              Producer, Altist and Altist's designated representatives to confnm and approve a plan for
                              implementation of the above that will be adhered to for the physical and emotional safety
                              of Altist, her employees and all the cast and crew moving fo1wru·d.

             In the event of any conflict between the te1ms and conditions of the Agreement and the te1ms and
             conditions of this side letter agreement, the te1ms and conditions of this side letter agreement
             shall control.



             ACKNOWLEDGED, AGREED TO & ACCEPTED


             IT ENDS WITH US MOVIE LLC                                BLAKEL, INC.



             By:                                                       By:
            Name:      Jamey Heath                                     Name:            Blake Lively
             Its:      President                                       Its:             Autho1ized Signato1y




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                                                                                              of 81
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                                                               Schedule I

                                                              Nudity Rider




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                                                                    03/19/25 Page
                                                                               Page
                                                                                  75 90
                                                                                     of 81
                                                                                        of 119




                                                  IT ENDS WITH US
                                                         August 9, 2024

                                                       (UPDATED 7/29/24)

LOGLINE
IT ENDS WITH US, the first Colleen Hoover novel adapted for the big screen, tells the compelling story of Lily
Bloom (Blake Lively), a woman who overcomes a traumatic childhood to embark on a new life in Boston and
chase a life long dream of opening her own business. A chance meeting with charming neurosu rgeon Ryle Kincaid
(Justin Baldoni) sparks an intense connection, but as the two fall deeply in love, Lily begins to see sides of Ryle
that remind her of her parents' relationship. When Lily's fi rst love, Atlas Corrigan (B randon Sklena r), suddenly
reenters her life, her relationship w ith Ryle is upended, and Lily realizes she must learn to rely on her own
strength to make an impossible choice for her future.

Directed by Justin Baldoni and produced by Alex Saks, Jamey Heath, Blake Lively and Christy Hal l. The film stars
Blake Lively, Justin Baldoni, Jenny Slate, Hasan Minhaj, Amy Morton and Brandon Sklenar, from a screenp lay by
Christy Hall, based on the book by Colleen Hoover.

POSITIONING
Blake Lively and Justin Baldoni are starring in the film adaptation of Colleen Hoover's highest-selling novel It Ends
With Us.

This is the first film of the Colleen Hoover phenome na to be adapted for the big screen. She is also executive
producing.

Justin Baldoni is also directing and executive producing.

As well as starring, Blake Lively is also producing.

Brandon Sklenar is perfectly cast as the charismatic Atlas who brings an impressive emotional depth to the role,
along with Jenny Slate and Hasan Minhaj, who both bring compassion and humor to the film.

Teen versions of Atlas and Lily are played by up-and-coming actors Alex Neustaedter and lsabela Ferrer, who
deliver exceptional performances.

IT ENDS WITH US is a big, emotional, complicated story about breaking free from the past and empowering
yourself and your future. The character of Lily Bloom has resonated with so many readers beca use her journey is
relatable - her story isn't black and white. She has to make hard decisions that have lasting consequences.

This is a story about Lily's journey from leaving a small town, moving to Boston and embarking on a whole new
life. She leaves behind a complicated childhood and in doing so discovers her own resil ience and strength,
empowering her to stand up to adversity.

This movie has every emotion - joy, sadness, pain, and hope.
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                                                                    03/19/25 Page
                                                                               Page
                                                                                  76 91
                                                                                     of 81
                                                                                        of 119



After growing up in a home where Li ly witnessed her mother being abused by her father and vowing never to be
in that position, she enters a relationship with Ryle and unwittingly finds herself following the same footsteps as
her mother. Th rough this journey, Lily must learn to stand up for herself and that true strength lies w ithin.

The book connected with mil lions of readers and became a rare phenomenon in the publishing world - everyone
knows someone who has read this book.

Whether you have read the book or not, this is the perfect movie to see wit h your friends or anyone in your
support system. Women all rely on t heir sisters, mothers, girlfriends etc for support as they navigate the ups and
downs of life and so this is the perfect film to share the experience with those in their support network.

After becoming a "BookTok" cu ltural phenomenon with over 2 billion views on her TikTok hashtag, Co lleen
Hoover is currently the best-selling novelist in the US with over 25 mil lion books sold by the end of 2023. Hoover
wrote five of the top 10 best-selling print books of any genre in 2022.

Published in 43 foreign languages, It Ends With Us was the top selling print book of 2022, has bee n on t he New
York Ti mes Best Seller List for over 135 weeks by the end of 2023.

WHAT TO AVOID
Focus more on Lily's strength and resilience as opposed to describing the film as a story about domestic violence.
Empowerment is not j ust about standing up to adversity, but also about having the powe r to overcome w ithin
oneself and grow from it and developing agency to shape the future.

Avoid describing the film as a love story or love triangle - it's the story of Lily learning how to take agency of her
future.

Avoid talking about t his fi lm that makes it feel sad or heavy- it's a story of hope.

Avoid talking about t he fi lm being representative of every woman's story. There are many stories of domestic
violence, and this is just one perspective that is inspired by Col leen Hoover's own experiences growing up.

ONLY IF ASKED
Any questions about the story not being an authentic representation ofdomestic violence:
This is just one perspective that is inspired by Colleen Hoover's own deeply personal story of growing up in Texas.

Any questions about the lack of diversity in the cast:
We have such a wonderful cast who all bring something unique in telling th is powerful story of one woman
learning to take agency over her f uture. I'm so proud to be part of an incredible group of wome n who have to
make this film that is inspired by Colleen Hoover's own deeply personal story.
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                                                              03/19/25 Page
                                                                         Page
                                                                            78 93
                                                                               of 81
                                                                                  of 119
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                                SCENARIO PLANNING - IT ENDS WITH US


OBJECTIVE

Protect the reputation of Justin Baldoni, Jamey Heath, and Wayfarer Studios in the lead up, during,
and following the premiere of It Ends with Us, underscore the achievement and efforts of the
Wayfarer team in bringing this movie to life, and emphasize Justin and the studio's commitment to
their team and making the broader industry a more inclusive space.

OVERVIEW

Though there are several potential scenarios at play here which we should be prepared for, should
BL and her team make her grievances public - via a blatant story or subtle leak. Given she was made
to compromise with the premiere, we feel she will move forward with doing so.

Our recommendation is to get ahead of this narrative, owning any misconceptions and addressing
them head on. Ultimately, we need to be ready to take the air out of any story that does arise, as
well as commentary and/or background narrative BL and her team put together, without being the
louder antagonizer.

The TAG team will continue to media monitor, flag, and respond to any media proactively reaching
out/ reporting on the issue and will send regular reports on existing chatter that may arise.
Additionally, our team's digital experts will continue to monitor and flag any online content related
to the crisis and/or mitigate if false narratives begin in the digital space.

Crisis Mitigation and Rapid Response

    •   Our team will establish a "rapid response" communication system which keeps Justin,
        Jamey, and Wayfarer Studios abreast of new coverage and narrative trends in real time,
        both in traditional media and social media.
    •   Alongside Jen Abel and her team, we will manage media inquiries regarding the news on
        background as "sources familiar."
    •   Working with legal as appropriate, we will provide information to ensure our narrative is
        properly represented in any and all coverage.
    •   TAG will confirm outlets intending on covering the story, especially those impactful to Justin,
        Jamey, and Wayfarer's interests, are fully briefed on the situation including and not limited
        to The Hollywood Reporter, Variety, Dead line, The Wrap, New York Post, Daily Mail, etc.
    •   We will run real-time media monitoring reports with multiple daily updates on any coverage
        that arises and impact that the PR teams have had on stories.
    •   Further, we will produce daily sentiment reports which capture the reach and attitude of
        opinions online related to the issue and towards Justin, Jamey, and Wayfarer. These reports
        wi ll also qualify the leve l of impact these st ories have and the gradual decrease in interest
        post-crisis on this narrative.

Preparation Materials:

    •   Our team will develop clean, top line messaging outlining the facts in conjunction with Jen
        Abel and her team.
    •   Our team and Wayfarer Studios will discern what assets pertaining to communications,
        schedules, times when BL called out, et c. that we can share for off record and/or for context

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                                                                             79 94
                                                                                of 81
                                                                                   of 119
        purposes with journalists.
    •   Our team and Wayfarer Studios, alongside Jen Abel and team, will catalog third party
        advocates willing to provide a potential quote or engage with reporters on Justin and
        Jamey's behalf to mitigate negative narratives from a source outside of Wayfarer.
    •   Our team will collate a list of people who have publicly discussed their positive working
        experience with Justin - examples include Brandon Skylnar / Forbes, Colleen Hoover/
        Entertainment Weekly, etc.

Key Messaging Points:

    •   JB's stellar reputation among colleagues and industry peers - numerous quotes and
        interviews sharing positive experiences.
    •   JB has been a longtime activist and advocate of and for women in Hollywood, speaking out
        about challenges his colleagues faced before the Me Too movement even began (TED 2017).
    •   The "Man Enough" podcast has been a source of inspiration since it began, fostering a safe,
        encouraging environment for a range of perspectives to meet and discuss gender roles and
        how their rigidity affects everyone.
    •   While JB and JH attempted to foster a kind, safe, creative environment on set during a
        challenging period in Hollywood - resurgence of COVID-19, the writers strike, the SAG
        AFTRA strike - their efforts were continuously thrown back in their faces.
    •   Production members lost their jobs due to BL's takeover and insisted upon involvement -
        including loss of budget due to rescheduling shoot days when BL refused to show up.
    •   When BL wasn' t able to get her way on set or behind the scenes, she involved her husband
        to create an ilmbalance of power between her and JB. RR went so far as to use his power to
        call agents and agencies, Sony, and other key players so that BL would get her way.
    •   BL's less than favorable reputation in the industry spans decades and has been reported -
        there were issues on Gossip Girl, the Town, A Simple Favor, and more.
    •   There is a clear, likely motive due to the film's value and fan base, in which BL is attempting
        to bully her way into buying the rights for It Starts With Us.
    •   Our team will also include additional positive stats re: JB's career, his accolades, his
        inspiration to take on this project, obstacles he overcame, what's in store, etc.

IF/THEN PLAN OF ACTION:

Scenario 1: Blake and team push out negative story re: Justin/ Wayfarer post-premiere

    •   Depending upon the scope of her push, we recommend planting a seed earlier on to position
        your truth/ narrative around the ordeal in a subtle way to avoid having to backtrack.
    •   An idea for this, and working alongside Jen, is giving a friendly reporter who is covering the film
        a simple line hinting that while you and Blake didn't always agree at times " had our differences"
        you have respect for her. This way, if BL stories are softer, we don't look so aggressive. If it's a hit
        piece, then we've tee'd up reporters properly that there were issues with her. We would also
        ensure the story is broader, about the film, inspiration, etc. so that the line is one part of a larger
        piece.
    •   If her team is working on a longer lead, negative narrative, we would be given (a short) heads up
        in advance of the story and would, alongside Jen, correct inaccuracies in fact checking, mitigate
        false narratives, and point reporters toward third party advocates who can speak positively on
        your behalf.
    •   We would then brief people with a more robust version of the facts, executing a background
        approach, using third party advocates, and off record conversations with trusted friendlies to
        depict the truth of the situation. Targets would include popular industry newsletters (targeting
        industry peers, studio execs, investors, etc.) and social media (targeting JB's fan base and those of


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                                                             03/19/25 Page
                                                                        Page
                                                                           80 95
                                                                              of 81
                                                                                 of 119
        the novel/film) as well as trades/ mainstream entertainment. Background information would
        include:
             o Background briefing would clarify any misconceptions, what was taken out of context,
                 and what can be chalked up to simple misunderstanding or miscommunication.
             o Background briefing would highlight JB, JH, and Wayfarer's side of the story, what their
                 truth is as it pertains to any allegations or negativity, facts based on the timeline, and
                 issues they experienced on their end e.g. lost days of shooting, consistently adhering to
                 demands, etc.
             o Background briefing would include the fact that production members lost their jobs due
                 to her involvement/ takeover.
             o Background briefing would include the numerous articles, interviews, and quotes of past
                 colleagues who openly love working with Justin, and pointing to BL's less than favorable
                 reputation of her twenty-year career.
             o Background briefing would include pointing people to positive commentary, quotes,
                 interviews from colleagues and peers of Justin praising his work, etc.

Scenario 2: Blake subtly hints at her "experience" in post-premiere coverage, either in an interview, op
ed, or otherwise.


    •   Our prediction is that should BL address her "experience" on set in upcoming press, she will not
        name you directly but rather pepper in "easter eggs" alluding to your involvement, being
        mindful not to completely jeopardize her potential involvement with the film's sequel, while still
        planting seeds of doubt and speculation - especially amongst the passionate fan base.
    •   BL and her team have already begun to plant seeds around this, in insisting promotion be kept
        separate. Fans have already begun to speculate on socials that something is amiss.
    •   These pieces will likely come out following any potential hit piece and/or coverage from the
        premiere. Our recommended approach would be to provide reporters who reach out for
        comment, should it be obvious she's referring to you, with the appropriate background
        information (listed in Scenario 1) to ensure their stories are balanced and the speculation can be
        turned to another one of the many people she's had issues working with (Leighton Meester,
        Anna Kendrick, Ben Affleck, etc.).
    •   Additionally, we would advise taking further ownership of this narrative as an emerging director,
        lessons learned managing different egos, being the subject to an imbalance of power and/or
        navigating Hollywood, remaining dedicated throughout more challenging processes to protect
        the crew and production members, etc. - remaining strong but not specific or combative.
    •   This messaging can be woven into more positive press about the film, placed by Jen and team,
        so that you stay on the high road while sharing your truth in a respectful way. A subtle way to do
        this is to address some of the issues you faced on your podcast, and open the floor to discuss
        ways in which imbalances of Hollywood still need to be addressed, how teams can create safe
        environments for all cast and production members on set, etc.

Scenario 3: Ryan comes forward in defense of his wife

    •   Should Ryan come forward in defense of his wife, we would advise against any direct
        engagement, statement, etc.
    •   Inquiring reporters, and those in need of updating, would be given a pre-a pproved line of
        background, attributed to source, implying his lack of connection or involvement with the
        making of the film and that this is another imbalance of power and attempt to strongarm
        production by major A-list stars.
    •   Our team would also suggest (and will work with Jen Abel and her team on this) placing
        proactive interviews for Justin around the movie's debut, to speak to his experiences directing,
        what it's like to produce, direct and star in a movie, the difference between being in charge and


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     1:24-cv-10049-LJL
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                                          142-4 Filed
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                                                      02/04/25
                                                         03/19/25 Page
                                                                    Page
                                                                       81 96
                                                                          of 81
                                                                             of 119
    being one of the cast, "lessons learned" from his experience as a director on this film and others,
    and what's to come in the IEWU universe.
•   This will get ahead of any potential negative news placed by BL and/or her team, and seed doubt
    should BL or RR come forward with negative messaging.
•   As part of this, our team can also explore planting stories about the weaponization of feminism
    and how people in BL's circle like Taylor Swift, have been accused of utilizing these tactics to
    "bully" into getting what they want.




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                        Document142-4
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                                      Filed02/04/25
                                            03/19/25 Page
                                                      Page1 97
                                                            of 6of 119




     Exhibit 3
(Right to Sue Letter)
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          1:24-cv-10049-LJL
               1:25-cv-00163 Document
                              Document142-4 Filed02/04/25
                                       1-3 Filed  03/19/25 Page
                                                            Page2 98
                                                                  of 6of 119

             S T A T E O F C A LIF O R N IA | Business, Consumer Services and Housing Agency                        GAVIN NEWSOM, GOVERNOR

                                                                                                                        KEVIN KISH, DIRECTOR
             Civil Rights Department
             651 Bannon Street, Suite 200 | Sacramento | CA | 95811
             1-800-884-1684 (voice) | 1-800-700-2320 (TTY) | California’s Relay Service at 711
             calcivilrights.ca.gov | contact.center@calcivilrights.ca.gov




December 20, 2024

RE:     Notice of Filing of Discrimination Complaint
        CRD Matter Number: 202412-27269003
        Right to Sue: Lively / Wayfarer Studios LLC et al.

To All Respondent(s):

Enclosed is a copy of a complaint of discrimination that has been filed with the Civil
Rights Department (CRD) in accordance with Government Code section 12960. This
constitutes service of the complaint pursuant to Government Code section 12962. The
complainant has requested an authorization to file a lawsuit. A copy of the Notice of
Case Closure and Right to Sue is enclosed for your records.

Please refer to the attached complaint for a list of all respondent(s) and their
contact information.

No response to CRD is requested or required.

Sincerely,

Civil Rights Department




                                                                                                 CRD - ENF 80 RS (Revised 2024/05)
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          1:24-cv-10049-LJL
               1:25-cv-00163 Document
                              Document142-4
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                                                                  of 6of 119

             S T A T E O F C A LIF O R N IA | Business, Consumer Services and Housing Agency                        GAVIN NEWSOM, GOVERNOR

                                                                                                                        KEVIN KISH, DIRECTOR
             Civil Rights Department
             651 Bannon Street, Suite 200 | Sacramento | CA | 95811
             1-800-884-1684 (voice) | 1-800-700-2320 (TTY) | California’s Relay Service at 711
             calcivilrights.ca.gov | contact.center@calcivilrights.ca.gov




December 20, 2024

Blake Lively
,

RE:     Notice of Case Closure and Right to Sue
        CRD Matter Number: 202412-27269003
        Right to Sue: Lively / Wayfarer Studios LLC et al.

Dear Blake Lively:

This letter informs you that the above-referenced complaint filed with the Civil Rights
Department (CRD) has been closed effective December 20, 2024 because an
immediate Right to Sue notice was requested.

This letter is also your Right to Sue notice. According to Government Code section
12965, subdivision (b), a civil action may be brought under the provisions of the Fair
Employment and Housing Act against the person, employer, labor organization or
employment agency named in the above-referenced complaint. The civil action must be
filed within one year from the date of this letter.

To obtain a federal Right to Sue notice, you must contact the U.S. Equal
Employment Opportunity Commission (EEOC) to file a complaint within 30 days
of receipt of this CRD Notice of Case Closure or within 300 days of the alleged
discriminatory act, whichever is earlier.

Sincerely,


Civil Rights Department




                                                                                                 CRD - ENF 80 RS (Revised 2024/05)
           Case 1:24-cv-10049-LJL
                Case 1:25-cv-00163 Document
                                    Document142-4
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                                                  Filed02/04/25
                                                        03/19/25 Page
                                                                  Page4100
                                                                        of 6of 119




 1                       COMPLAINT OF EMPLOYMENT DISCRIMINATION
                             BEFORE THE STATE OF CALIFORNIA
 2                                        Civil Rights Department
                       Under the California Fair Employment and Housing Act
 3
                                    (Gov. Code, § 12900 et seq.)
 4
     In the Matter of the Complaint of
 5    Blake Lively                                                     CRD No. 202412-27269003

 6                                    Complainant,
     vs.
 7
      Wayfarer Studios LLC
 8
      ,
 9
      Justin Baldoni
10    ,

11    Jamey Heath
      ,
12
      Steve Sarowitz
13    ,
14    Melissa Nathan
      ,
15
      The Agency Group PR LLC
16
      ,
17
      Jennifer Abel
18    ,

19    RWA Communications LLC
      ,
20
      Jed Wallace
21    ,

22    Street Relations Inc.
      ,
23
                                      Respondents
24
25
26                                                   -1-
                                     Complaint – CRD No. 202412-27269003
27
     Date Filed: December 20, 2024
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             Case 1:25-cv-00163 Document
                                 Document142-4
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                                               Filed02/04/25
                                                     03/19/25 Page
                                                               Page5101
                                                                     of 6of 119




 1
     1. Respondent Wayfarer Studios LLC is an employer subject to suit under the California Fair
 2   Employment and Housing Act (FEHA) (Gov. Code, § 12900 et seq.).

 3   2.Complainant is naming Justin Baldoni individual as Co-Respondent(s).
     Complainant is naming Jamey Heath individual as Co-Respondent(s).
 4   Complainant is naming Steve Sarowitz individual as Co-Respondent(s).
     Complainant is naming Melissa Nathan individual as Co-Respondent(s).
 5   Complainant is naming The Agency Group PR LLC business as Co-Respondent(s).
 6   Complainant is naming Jennifer Abel individual as Co-Respondent(s).
     Complainant is naming RWA Communications LLC business as Co-Respondent(s).
 7   Complainant is naming Jed Wallace individual as Co-Respondent(s).
     Complainant is naming Street Relations Inc. business as Co-Respondent(s).
 8
     3. Complainant Blake Lively, resides in the City of , State of .
 9
10 4. Complainant alleges that on or about December 20, 2024, respondent took the
   following adverse actions:
11
     Complainant was harassed because of complainant's sex/gender, sexual harassment-
12 hostile environment.
13 Complainant experienced retaliation because complainant reported or resisted any form
14 of discrimination or harassment and as a result was other adverse action(s).
15
     Additional Complaint Details: Complainant Blake Lively alleges that Respondents
16   Wayfarer Studios LLC, Justin Baldoni, Jamey Heath, Steve Sarowitz, Melissa Nathan, the
     Agency Group PR LLC, Jennifer Abel, RWA Communications LLC, Jed Wallace, and/or
17   Street Relations Inc. engaged in a variety of conduct in violation of California Government
     Code section 12940 (the "FEHA") and Title VII of the Civil Rights Act of 1964 (“Title VII”).
18   The conduct includes: sexual harassment; retaliation; failure to investigate, prevent, and/or
     remedy harassment; and aiding and abetting harassment and retaliation. Please see
19   attached complaint for specific details.

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                                     Complaint – CRD No. 202412-27269003
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     Date Filed: December 20, 2024
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             Case 1:25-cv-00163 Document
                                 Document142-4
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                                                     03/19/25 Page
                                                               Page6102
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 1 VERIFICATION
 2 I, Esra Hudson, am the Attorney in the above-entitled complaint. I have read the
   foregoing complaint and know the contents thereof. The matters alleged are based
 3
   on information and belief, which I believe to be true.
 4
   On December 20, 2024, I declare under penalty of perjury under the laws of the State
 5 of California that the foregoing is true and correct.
 6                                                                            Los Angeles, CA
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         1:25-cv-00163 Document
                        Document142-4
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                                      Filed02/04/25
                                            03/19/25 Page
                                                      Page1 103
                                                            of 15of 119




                    Exhibit 4
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     CaseCase 1:25-cv-00163 Document
         1:24-cv-10049-LJL   Document142-4
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                                                 03/19/25 Page
                                                           Page2 104
                                                                 of 15of 119

    ELLE                                                            SIGN - UP   Q


Home         Culture       Celebrity


JANUARY 3, 2025


Every Explosive Detail Frotn Blake
Lively's Lawsuit Against Justin
Baldoni
Blake Lively details her issues on the 'It Ends With Us' set


" '' Rebecca Mitchell



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On December 20, ........ , __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

and director, J.-.....
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                                                          Page3 105
                                                                of 15of 119
made headlines around the world, was only a 'precursor to a lawsuit', Lively has now officially filed a
formal suit. Filed in the New York Federal court against Baldoni, Wayfarer and his publicists, Lively
alleges sexual harassment, retaliation, breach of contract, infliction of emotional distress, invasion of
privacy and lost wages.

                                             ADVERTISEMENT




"Wayfarer and its associates have violated federal and California state law by retaliating against her
for reporting sexual harassment and workplace safety concerns," Lively's team said in a statement.
"Now, the defendants will answer for their conduct in federal court. Ms. Lively has brought this
litigation in New York, where much of the relevant activities described in the Complaint took place,
but we reserve the right to pursue further action in other venues and jurisdictions as appropriate
under the law." The lawsuit formalises the allegations made in the complaint.

Meanwhile, Baldoni has sued the New York Times for libel, for its coverage of Lively's initial legal
complaint, specifically its expose on the social media tactics allegedly deployed by Baldoni and his
team, which Baldoni denies.

For those catching up, here's a summary of Blake Lively's legal complaint and its allegations.


Who Is Blake Lively's Lawsuit Against?
ABC News reports Lively's formal lawsuit, filed on December 31 with the New York Federal Court, is a
formalising of her legal complaint, filed on December 20. The legal complaint named the following
defendants:

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    CaseCase 1:25-cv-00163 Document
        1:24-cv-10049-LJL   Document142-4
                                     1-4 Filed
                                          Filed02/04/25
                                                03/19/25 Page
                                                          Page4 106
                                                                of 15of 119




                                                  Who Made The                          Blake Lively And
                                                  Guest List For                        Ryan Reynolds
                                                  Taylor Swift's...                     ,Just Revealed...




• Wayfarer Studios (the production company owned by Justin Baldoni)
• Justin Baldoni (actor, director, producer)
• Jamey Heath (the CEO of Wayfarer Studios and lead producer on It Ends With Us)
• Steve Sarowitz (co-owns Wayfarer Studios with Baldoni)
• Melissa Nathan (publicist, crisis PR expert)
• The Agency Group (Melissa Nathan's agency)
• Jennifer Abel (Baldoni's publicist)
• RWA Communications (Jennifer Abel's agency)
• Jed Wallace (publicist)
• Street Relations Inc (Jed Wallace's agency), and
• r-roo 'Does' (a legal term describing a range of anonymous people, e.g. Jane or John Does, possibly
  involved in the case)

All have denied the allegations, with Baldoni and Wayfarer's legal reps calling them "categorically
false". (Read statements below)


A Summary OfAllegations
Per the legal.mmp]aint. Lively is seeking damages for sexual harassment, retaliation, failure to
investigate, prevent or remedy harassment, aiding and abetting harassment and retaliation, breach of
contract, intentional infliction of emotional distress, negligence, false light invasion of privacy, and
interference with prospective economic advantage.


The Wildest Claims From Blake Lively's Legal
Complaint
The 81-page legal filing contains explosive allegations, and includes documents and text messages as
alleged evidence of Llvely's claims.


Allegations I
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       1:24-cv-10049-LJL
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                                          Filed02/04/25
                                                03/19/25 Page
                                                          Page7 109
                                                                of 15of 119
• No more mention of Mr Baldoni's or Mr Heath's previous "pornography addiction" or BL's lack of
  pornography consumption to BL or to other crew members.
• No more mention to BL or her employees of personal times that physical consent was not given in
  sexual acts, as either the abuser or the abused.
1. No more descriptions of their own genitalia to BL.

2. No more inquiries by Mr Baldoni to BL trainer without her knowledge or consent to disclose her

  weight.
3. No more mention by Mr Baldoni of him "speaking to" BL's dead father.
4. If BL and/or her infant is exposed to COVID again, BL must be provided with immediate notice as
  soon as Wayfarer or any other producers become aware of such exposure, without her needing to
  uncover days later herself.
5. No more pressing by Mr Baldoni to sage any of BL's employees
6. No more adding of sex scenes, oral sex, or on camera climaxing by BL outside the scope of the
  script BL approved when signing onto the project.
7. No more asking or pressuring BL to cross physical picket lines

See the full list in the legalc.o.mplaint.

Meanwhile, Baldoni's lawsuit against the New York Times alleges. that in a meeting, Reynolds
"berated" him for allegedly 'fat-shaming' Lively, and described the encounter as "traumatic".
                                             ADVERTISEMENT




That Justin Baldoni and His Team Were Allegedly Out
To "Destroy" Blake Lively's Reputation
Much of the lawsuit centres on a concentrated effort to allegedly harm Blake Llvely's image, including
several strategies allegedly used as a means to this end. In one example, the legal document says
Baldoni's focus on domestic violence during the It Ends With Us press tour, was a publicity stunt
intended to "protect hi
funded by billionaire S
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        1:24-cv-10049-LJL   Document142-4
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                                                03/19/25 Page
                                                          Page8 110
                                                                of 15of 119
"What the public also did not know was that this was the beginning of a multi-tiered plan that Mr.
Baldoni and his team described as "social manipulation" designed to "destroy" Ms. Lively's
reputation," the case alleges. "That plan was backed by virtually unlimited resources. Wayfarer's co-
founder, co-chairman and leading financier is multi-billionaire Steve Sarowitz, who divulged at the
Film's New York premiere on August 6, 2024, that he was prepared to spend $roo million to ruin the
lives of Ms. Lively and her family. With that backing, Mr. Baldoni and his Wayfarer associates
embarked on a sophisticated press and digital plan in retaliation for Ms. Lively exercising her legally-
protected right to speak up about their misconduct on the set, with the additional objective of
intimidating her and anyone else from revealing in public what actually occurred."

Those involved have denied these allegations.


The Subpoenaed Text Messages
The legal complaint contains details of alleged strategies employed by Baldoni and his team of
publicists, crisis managers and PR strategists, including Jennifer Abel, Jed Wallace and Melissa
Nathan, to allegedly "destroy" the reputation of Lively and her family.

                                            ADVERTISEMENT




                                                 Who Made The                          Blake Lively And
                                                 Guest List For                        Ryan Reynolds
                                                 Taylor Swift's...                     Just Revealed...



A string of text message procured by Lively's legal team through subpoena, include claims allegedly
made by Nathan that she could "bury anyone". The texts from Baldoni include one shared link to an
article that accused another female celebrity of bullying women. Baldoni allegedly wrote, "this is what
we would need."

Other claims include t
"Is Blake Lively set to l
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        1:24-cv-10049-LJL   Document142-4
                                     1-4 Filed
                                          Filed02/04/25
                                                03/19/25 Page
                                                          Page9 111
                                                                of 15of 119
success of the campaign, with Abel allegedly writing to Nathan, "You really outdid yourself with this
piece", and Nathan responding, "That's why you hired me, right? I'm the best."

Baldoni's legal team have called the correspondence in the legal complaint "cherry-picked", and that it
was "standard" among PR professionals. Although these are not all the text messages exchanged
between Baldoni and/or his team, here is a sample below. In Baldoni's lawsuit against the New York
Times, he and his team formalise their claims the published texts were cherry picked, adding that one
key example left out a key text. In an exchange in which Jennifer Abel praised Melissa Nathan for a
story depicting Blake Lively in a negative light, Baldoni claims The Times left out a key message. "You
really outdid yourself with this piece," Abel allegedly wrote. "That's why you hired me right? I'm the
best," Nathan replied. However, the new lawsuit filed against the NIT says the publication left out a
key text from Nathan, which read: "Damn this is unfair because it's also not me."




      From                       Melissa Nathan
      To:·                   Jennifer Abel (owner)
      We can't write ii down to him
      We can't write we will destroy her. We will go to this. We will do this. We will do this. We will
      do this.
      Priority: Nomliil
                                                                                  0210812024 13:48:24(lJTC+0)




           From:                   Melissa Nelhlln
           To:                   Jennifer Abel (owner)
           He has to look at it as an information document fOf us to be armed wllh
           That"s all . Imagine if a document saying all the things that he wants ends up in the wrong
           hands.
          Pltoltly:Nonnll
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                 Alleged texts
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         1:24-cv-10049-LJL           Document 142-4
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                                                                                of 119
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How Did Justin Baldoni Respond To Lively's
Lawsuit?
Those named as defendants in the legal complaint have denied the allegations, with lawyer Bryan
Freedman supplying a statement to the New York Times on behalf of Baldoni and the other accused.
The statement calls the allegations "categorically false", and "another desperate attempt [by Lively] to
fix her negative reputation."

"It is shameful that Ms. Lively and her representatives would make such serious and categorically
false accusations against Mr. Baldoni , Wayfarer Studios and its representatives, as yet another
desperate attempt to 'fix' her negative reputation which was garnered from her own remarks and
actions during the campaign for the film; interviews and press activities that were observed publicly,
in real time and unedited, which allowed for the internet to generate their own views and opinions,"
the statement begins. "These claims are completely false, outrageous and intentionally salacious with
an intent to publicly hurt and rehash a narrative in the media."

The statement claims that Wayfarer Studios made the decision to engage a crisis manager in
response to "the multiple demands and threats made by Ms. Lively during production which
included her threatening to not showing up to set, threatening to not promote the film, ultimately
leading to its demise during release, if her demands were not met." The statement also alleges Lively
engaged her own PR team to "plant negative and completely fabricated and false stories with media".

"What is pointedly missing from the cherry-picked correspondence is the evidence that there were no
proactive measures taken with media or otherwise; just internal scenario planning and private
correspondence to strategize which is standard operating procedure with public relations
professionals." Read the full statement.here..
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                                                               Who Made The                                    Blake Lively And
                                                               Guest List For                                  Ryan Reynolds
                                                               Taylor Swift's...                               Just Revealed...



Freedman also revealed Baldoni and team's intent to file their own lawsuits. The lawyer stated it
wasn't a matter of if, but when and "how many" lawsuits would be filed. "I am not going to speak to
when or how many lawsuits we are filing but when we file our first lawsuit, it is going to shock
everyone who has been manipulated into believing a demonstrably false narrative," Freedman,
told Deadline on December 28. "It will be supported by real evidence and tell the true story. In over 30
years of practising, I have never seen this level of unethical behaviour intentionally fuelled through
media manipulation."

On December 31, Baldoni further responded to Lively's lawsuit by Slllllg the New York Times for libel.




                                          Rebecca Mitchell
                                                          Senior Writer
Rebecca Mitchell graduated from Charles Sturt University in 2orr, with solid media experience already under her belt. She started
her career in broadcast news, simultaneously hosting the Never Talk Politics radio programme on 2MCE and as a reporter at WIN
   News and after returning to her hometown ofSydney, she worked as a journalist in lifestyle media, including at Mamamia,
SheSaid, and Foxtel's Lifestyle group. Formerly a freelance journalist, you can find her words at Refinery29, Urban List, Broadsheet,
        but she now resides as the Senior Writer for ELLE Australia, specialising in all things culture and lifestyle-related.




Related
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            1:24-cv-10049-LJL      Document 142-4
                                   Document 1-4 Filed  02/04/25
                                                   Filed 03/19/25 Page 12114
                                                                    Page  of 15
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Who Made T he Guest List                                                     Blake Lively And
For Taylor Swift's Birthday                                                  Reynolds Just R1
Party For Blake Lively?                                                      T heir Fourth Bal



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                                                                                   Page  of 15
                                                                                             of 119
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The JS 44 civil cover sheet and the infonnation contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                            DEFENDANTS

           Jed Wallace and Street Releations, Inc.                                                           Blake Lively
    (b) CountyofResidenceof FirstListed Plaintiff Hays County, Texas                                         County ofResidence of First Listed Defendant                 Westchester County, NY
                       (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                       (IN U.S. PLAfNTIFP CASES ONLY)
                                                                                                             NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                        THE TRACT OF LAND INVOLVED.

    (C) Attorneys (Firm Name, Address, and Telephone Number)                                                  Attorneys (Jf Known)
           Charles L. Babcock, Jackson Walker LLP, 1401
           McKinney, Suite 1900, Houston, TX 77010 713-752-4ff

a. BASIS OF JURISDICTION (Place an "X " in One Box Only)                                         III. CITIZENSIDP OF PRINCIPAL PARTIES (Place an 'X" in OneBfJXforPlaintiff
                                                                                                         (For Diversity Cases Only)                                       and One Box for Defendant)
D I    U.S. Government              0    3 Federal Question                                                                           PTF        DEF                                         PTF       DEF
          Plaintiff                          (US. Government Not a Party)                           Citizen of This State             IB] I     D    I   Incorporated or Principal Place     IB] 4     04
                                                                                                                                                           of Business In This State

D 2    U.S. Government              IB] 4 Diversity                                                 Citizen of Another State          0   2     IB] 2    Incorporated and Principal Place    O s Os
          Defendant                            (Indicate Citizenship ofParties in Item Ill}                                                                of Business In Another State

                                                                                                    Citizen or Subject of a           0   3     □ 3      Foreign Nation                      0     6   0   6
                                                                                                      Foreign Country
IV. NATURE OF SUIT (Place an "X " in One Box Only)
           CONTRACT                                               TORTS




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    110 Insurance                  PERSONAL INJURY            PERSONAL INJURY                          625 Drug Related Seizure                 422 Appeal 28 USC 158            375 False Claims Act
    120Marine                      3 IO Airplane           □ 365 Personal Injury •                         of Property 2 1 USC 88 I             423 Withdrawal                   376 Qui Tarn (3 I USC
    130 Miller Act                 315 Airplane Product           Product Liability                    690 Other                                    28 USC 157                        3729(a))
    140 Negotiable Instrument            Liability         □ 367 Health Care/                                                                       INTELLECTUAL                 400 State Reapportionment
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D   151 Medicare Act               330 Federal Employers'        Product Liability                                                              830 Patent                       450 Commerce
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        (Excludes Veterans)
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    160 Stockholders' Suits        355 Motor Vehicle         371 Truth in Lending                          Act                                                                   485 Telephone Consumer
    190 Other Contract                  Product Liability    380 Other Personal                        720 Labor/Management                                                           Protection Act
    195 Contract Product Liability 360 Other Personal            Property Damage                           Relations                                                             490 Cable/Sat TV
    196 Franchise                       Injury             D 385 Property Damage                       740 Railway Labor Act                                                     850 Securities/Commodities/
                                   362 Personal Injury •         Product Liability                     751 Family and Medical                                                         Exchange
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                         440 Other Civil Rights
                                                             790 Other Labor Litigation
                                                             791 Employee Retirement
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                                                                                                                                                                                 893 Environmental Matters
    220 Foreclosure                     441 Voting                                                         Income Security Act                                                   895 Freedom oflnformation




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    230 Rent Lease & Ejectment          442 Employment                   510 Motions to Vacate                                                  870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                   443 Housing/                         Sentence                                                                  or Defendant)             896 Arbitration
    245 Tort Product Liability              Accommodations               530Gencral                                                             871 IRS-Third Party              899 Administrative Procedure
    290 All Other Real Property         445 Amer. w/Disabilities -       535 Death Penalty                                                             26USC 7609                     Act/Review or Appeal of
                                            Employment                   Other:                                                                                                       Agency Decision
                                        446 Amer. w/Disabilities -       540 Mandamus & Other                                                                                    950 Constitutionality of
                                            Other                        550 Civil Rights                                                                                            State Statutes
                                        448 Education                    555 Prison Condition

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V. ORIGIN (Place an 'X"inOneBox011ly)
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       Proceeding             State Court                            Appellate Court                Reopened                   Another District                Litigation -                 Litigation -
                                                                                                                               (specify)                       Transfer                     Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION 1-
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                                                             22_0_1 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                         Brief description of cause:

VII. REQUESTED IN                       0     CHECK IF THIS IS A CLASS ACTION                          DEMANDS                                       CHECK YES only if demanded in complaint:
        COMPLAINT:                            UNDER RULE 23, F.R.Cv.P.                                                                               JURY DEMAND:                IB]Yes      0 No
vm. RELATED CASE(S)
                                            (See instructions):
         IF ANY                                                       JUDGE                                                                     DOCKET NUMBER
DATE                                                                     SIONATURE OF ATTORNEY OF RECORD
2/3/2025                                                                 /s/ Charles L. Babock
FOR OFFICE USE ONLY

    RECEIPT#                      AMOUNT                                    APPLYING IFP                                      JUDGE                             MAG. JUDGE
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                                                                                                                     Page   of 2of 119
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows :

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county ofresidence of the "defendant" is the location of the tract ofland involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney ofrecord. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date ofremand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation -Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
